      Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 1 of 163



Brandon J. Mark (10439)
Alissa M. Mellem (13299)
Ruth Hackford-Peer (15049)
PARSONS BEHLE & LATIMER
201 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 532-1234
Facsimile: (801) 536-6111
Email: bmark@parsonsbehle.com
       amellem@parsonsbehle.com
       rhackford-peer@parsonsbehle.com
Attorneys for Relators


                      UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH


UNITED STATES OF AMERICA ex rel.
KATIE BROOKS and NANNETTE                     Case No. 2:15-cv-00119-CW-EJF
WRIDE,

       Plaintiffs,
                                                    THIRD AMENDED
vs.                                                   COMPLAINT

STEVENS-HENAGER COLLEGE, INC., a
Utah Corporation; CALIFORNIA                     JURY TRIAL DEMANDED
COLLEGE SAN DIEGO, INC., a Utah
Corporation; COLLEGEAMERICA
DENVER, INC., a Colorado Corporation;
COLLEGEAMERICA ARIZONA, INC., a
Colorado Corporation; CENTER FOR
EXCELLENCE IN HIGHER
EDUCATION, INC., an Indiana
Corporation; CARL BARNEY, an
individual; SHAW, MUMFORD & CO.,
P.C., an expired Utah Professional
Corporation; SHAW & CO., P.C., a Utah
Professional Corporation;
PRICEWATERHOUSECOOPERS LLP, a
Delaware Limited Liability Partnership;
WEWORSKI & ASSOCIATES, a
California Accountancy Corporation; and
DOES 1-500, Inclusive,

        Defendants.
     Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 2 of 163



      Relators and Plaintiffs Katie Brooks and Nannette Wride (collectively,

“Relators”), on behalf of themselves and the United States of America, complain as

follows:

I.    INTRODUCTION

      1.    Relators incorporate by reference the United States of America’s

Complaint in Intervention (ECF No. 41) dated May 2, 2014.

      2.    This Third Amended Complaint alleges facts relating to and

supporting the United States of America’s Complaint in Intervention, in addition to

other and separate claims. To the extent this Third Amended Complaint alleges

facts relating to claims the government has intervened in, Relators acknowledge the

primacy of the government’s complaint.

      3.    This action arises from false statements and claims that Defendant

Stevens-Henager College (“SHC”), its affiliated schools listed in the caption

(collectively “Defendant Schools”), and their owner, Carl Barney (“Barney”),

knowingly presented to, or caused to be presented to, the United States and the

United States Department of Education in violation of the federal False Claims Act,

31 U.S.C. §§ 3729-33 (“FCA”).

      4.    Defendant Schools and Barney knowingly presented and/or made, or

caused to be presented or made, the false claims and statements at issue in order to

participate in the federal student aid programs authorized pursuant to Title IV of

the Higher Education Act of 1965, as amended, 20 U.S.C. § 1070 et seq. (“Title IV,

HEA programs”). Title IV, HEA programs, which are administered by the United

States Department of Education (“Department of Education”), provide students
                                     2
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 3 of 163



with financial aid in the form of, among other things, federal Pell Grants, federal

direct student loans, and loans guaranteed by the federal government. Defendant

Schools and Barney presented and/or made numerous false claims and statements

in order to obtain eligibility to participate in Title IV, HEA programs.

      5.       On information, Relators believe that from at least January 1, 2002, to

at least 2011, Defendant Schools and Barney knowingly submitted, or caused to be

submitted, numerous claims for payment to the Department of Education based on

these false certifications and statements. Relators further believe that since at least

January 1, 2002, to at least 2011, Defendant Schools and Barney have fraudulently

induced the Department of Education into granting Defendant Schools eligibility to

participate in Title IV, HEA programs when, in fact, Defendant Schools were

ineligible to participate in those programs.

      6.       From approximately January 1, 2002, to January 1, 2013, Defendant

Schools and/or students enrolled in Defendant Schools received over $660 million

($660,000,000.00) in federal funds through Title IV, HEA programs. Neither

Defendant Schools nor students attending the schools were eligible to receive any of

these funds.

      7.       Because Defendant Schools pay or have paid bonuses, commissions,

and other forms of incentive compensation to employees in the admissions

departments based directly and indirectly on the number of students that these

employees enroll (or “start”) in Defendant Schools, Defendant Schools’ compensation

system, as actually implemented and practiced, violates the incentive compensation


                                           3
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 4 of 163



ban applicable to schools that participate in Title IV, HEA programs. Additionally,

Defendant Schools’ compensation system for admissions personnel was not eligible

for any of the regulatory safe harbors that were applicable during certain relevant

periods. Instead, the bonuses and commissions that Defendant Schools paid to

admissions personnel for recruiting students were exactly the types of incentive

compensation barred by the applicable statutes and regulations.

      8.    Even if Defendant Schools’ compensation system for admissions

personnel, as designed, was eligible for a regulatory safe harbor, which it was not,

Defendant Schools’ compensation system, as implemented and practiced, did not

comply with the incentive compensation ban or regulatory safe harbors. For

example, Defendant Schools’ compensation system paid bonuses and commissions to

admissions personnel for recruiting students, which bonuses and commissions were

paid on a monthly or semi-monthly basis. Therefore, such bonuses and commissions

were not a “fixed annual salary or a fixed hourly wage,” and they were “adjusted up

or down more than twice during any twelve month period.” 34 C.F.R.

§ 668.14(b)(22)(ii)(A) (July 1, 2010). Additionally, because the bonuses and

commissions were based directly and indirectly on recruiting students, they were

not “based upon students successfully completing their educational programs, or

one academic year of their educational programs.” 34 C.F.R. § 668.14(b)(22)(ii)(E)

(July 1, 2010). Despite knowing that their compensation system, as implemented,

did not comply with Title IV of the HEA and its regulatory safe harbors, Defendant

Schools and Barney falsely represented and certified to the federal government


                                         4
       Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 5 of 163



their compliance with Title IV of the HEA and submitted, or caused their students

to submit, claims for payment pursuant to Title IV, HEA programs. Accordingly,

Defendant Schools’ and Barney’s conduct violates the FCA.

II.     JURISDICTION AND VENUE

        9.    This Court has subject-matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331, 1345, and 31 U.S.C. §§ 3730, 3732.

        10.   This Court has personal jurisdiction over Defendants pursuant to 31

U.S.C. § 3732(a), which authorizes nationwide service of process, because

Defendants transact business and are found in this District and because acts

proscribed by 31 U.S.C. § 3729 occurred in this District.

        11.   Venue is proper in this District pursuant to 31 U.S.C. § 3732(a), and

under 28 U.S.C. §§ 1391(b) and 1395(a), because Defendant Schools maintain and

operate numerous campuses in this District wherein the alleged violations occurred

on a regular basis.

III.    PARTIES

        12.   Relator and Plaintiff Katie Brooks is a resident and citizen of the State

of Utah. From March 2009 to approximately March 2011, Ms. Brooks was one of the

highest performing Admissions Consultants (“AC”) at SHC’s Orem, Utah, campus.

In this position, Ms. Brooks became aware of Defendant Schools’ compensation

practices for ACs and Financial Aid Officers (“FAOs”), as well as other material

information. Defendant Schools employ numerous ACs at each campus location to

recruit new students into their programs. In her position, Ms. Brooks also became


                                           5
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 6 of 163



aware of certain practices relating to SHC’s reporting of student grades and

attendance to the Department of Education and its accrediting agency.

      13.    Ms. Brooks brings this action for violations of the federal FCA on

behalf of herself and the United States of America. Ms. Brooks, through her work as

an AC, has personal knowledge of the false records, statements, and claims

presented to the government by and for the Defendant Schools named herein and of

Defendant Schools’ fraudulent certification, billing, and auditing practices.

      14.    Relator and Plaintiff Nannette Wride is a resident and citizen of the

State of Utah. From July 2009 to June 2011, SHC’s Orem campus employed Ms.

Wride as a part-time AC and part-time executive assistant to various manager

agents of SHC. In the various positions she held, Ms. Wride became aware of

Defendant Schools’ compensation practices for ACs and FAOs. Additionally,

through her work at Defendant SHC’s Orem campus, Ms. Wride learned about

certain false statements and representations that Defendant SHC had made, and

continued to make, to SHC’s accrediting agency. In her position, Ms. Wride also

became aware of certain practices relating to SHC’s reporting of student grades and

attendance to the Department of Education and its accrediting agency.

      15.    Ms. Wride brings this action for violations of the federal FCA on behalf

of herself and the United States of America. Ms. Wride, through her work as an AC

and executive assistant, has personal knowledge of the false records, statements,

and claims presented to the government and third parties (who, in turn, submitted

false records and statements to the government) by and for the Defendant Schools


                                          6
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 7 of 163



named herein and of Defendant Schools’ fraudulent certification, billing, and

auditing practices.

      16.    As required under the FCA, 31 U.S.C. § 3730(b)(2), Relators have

provided the United States Attorney and the United States Attorney General with

written disclosures of substantially all material evidence and information

supporting the allegations herein.

      17.    Relators are “original sources” as that term is defined in the FCA. 31

U.S.C. § 3730(e)(4)(B). Relators have independent, material, and first-hand

knowledge of the information on which the allegations of fraudulent misconduct are

based. Relators voluntarily provided such information to the Office of the Inspector

General of the Department of Education and the United States Attorneys for the

Districts of Idaho and Utah on October 16, 2012, June 7, 2013, and May 13, 2014.

Additionally, Ms. Wride orally provided information to the Department of

Education at various prior times, including in approximately May 2011.

      18.    The United States of America is named as a plaintiff because funds of

the United States of America were awarded and paid to Defendant Schools in

connection with their participation in Title IV, HEA programs, which participation

is the result of the false claims alleged in this Complaint.

      19.    Defendant Schools operate for-profit (or “proprietary”) postsecondary

educational schools throughout the western United States. On or about December

31, 2012, all Defendant Schools merged into an Indiana nonprofit corporation by the

name of Center For Excellence in Higher Education, Inc. (“CEHE”). CEHE


                                           7
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 8 of 163



continues to operate the schools under the same trade names as before. On

information, Relators believe that Defendant Schools merged into CEHE, at least in

part, to evade certain regulatory requirements that apply to for-profit schools but

not to not-for-profit schools, particularly the requirement that for-profit schools

derive at least ten percent (10%) of their revenues from sources other than Title IV,

HEA programs. For the sake of simplicity and ease of reference, this Third

Amended Complaint will refer to all corporate school entities as “Defendant

Schools” except where a specific reference to a specific institution is necessary.

      20.    A substantial portion of Defendant Schools’ revenues came (and still

come) from funds provided through Title IV, HEA programs. Defendant Schools

offer associate’s, bachelor’s, and master’s degree programs in various disciplines.

      21.    Barney is the former sole shareholder of the corporate entities that

operated Defendant Schools. Until their merger into CEHE on December 31, 2012,

the corporate entities that operated Defendant Schools were all privately owned by

Barney. Because Defendant Schools were not public companies, specific information

about ownership, control, and management structure was not publicly available.

Barney is a resident of Nevada. Barney continues to manage and control Defendant

Schools through CEHE. Barney is chairman of CEHE and the sole statutory

member of CEHE. As the sole member, Barney has the power to appoint members

of CEHE’s governing board. In 2012, Barney worked 40 hours per week on CEHE

business. Barney has an arrangement or relationship with CEHE, either personally

or through other entities he controls, through which he receives substantial


                                           8
     Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 9 of 163



compensation from CEHE. In 2012, CEHE reported that it owes Barney over

$431,000,000.00 and that it leases office space from entities owned by Barney.

       22.    Until December 31, 2012, Defendant SHC was a Utah corporation with

its principal place of business in Murray, Utah. Defendant SHC operated a number

of campuses in the intermountain west, including in Idaho (Boise and Nampa) and

Utah (Salt Lake City/Murray, Logan, Odgen, Layton, Lehi, Provo/Orem,1 and St.

George). The SHC campuses have been assigned at least the following identification

codes by the Office of Postsecondary Education (“OPEID Codes”)2: 00367400,

00367401, 00367403, 00367405, and 00367406. On information, Relators believe

that CEHE continues to operate these campuses under the “Stevens-Henager

College” trade name.

       23.    Additionally, Defendant SHC operated and controlled Independence

University (“IU”), an Internet-based, distance-learning institution. On information,

Relators believe that IU was, or was treated as, an operating division of SHC. IU

has been assigned at least the following OPEID Code: 00367409. On information,

Relators believe that CEHE continues to operate IU under the “Independent

University” trade name and that IU continues to have a strong affiliation with the

campuses operating under the “Stevens-Henager College” trade name.

       24.    Until December 31, 2012, Defendant California College San Diego, Inc.

(“CCSD”), was a Utah corporation with its principal place of business in Salt Lake

1
  Although most SHC materials refer to the campus where Relators worked as the “Provo”
campus, it was actually located in Orem, Utah.
2
  The Department of Education and other agencies transact business, collect and report data, and
track school performance using OPEID Codes, among other methods.
                                             9
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 10 of 163



City, Utah. Defendant CCSD operated three campuses in southern California (San

Diego, National City, and San Marcos). The CCSD campuses have been assigned at

least the following OPEID Code: 02110800. On information, Relators believe that

CEHE continues to operate these campuses under the “California College San

Diego” trade name.

      25.    Until December 31, 2012, Defendant CollegeAmerica Denver, Inc.

(“CAD”), was a Colorado corporation with its principal place of business in Denver,

Colorado.

      26.    Until December 31, 2012, Defendant CollegeAmerica Arizona, Inc.

(“CAA”), was a Colorado corporation with its principal place of business in Flagstaff,

Arizona.

      27.    Defendants CAD and CAA operate eight campuses in four states: two

in Arizona (Flagstaff and Phoenix), four in Colorado (Denver, Colorado Springs,

South Colorado Springs, and Fort Collins), one in Wyoming (Cheyenne), and one in

Idaho (Idaho Falls).

      28.    Defendants CAD and CAA hold themselves out to the public as a single

operating entity under the name “CollegeAmerica.” For example, CAD and CAA

jointly operate a website that lists all eight campuses and makes no distinction

between the two corporate entities. The CollegeAmerica campuses have been

assigned at least the following OPEID Codes: 03120300, 03120301, 03120302,

02594300, 02594301, 02594302, and 02594303. On information, Relators believe




                                         10
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 11 of 163



that CEHE continues to operate these campuses under the “CollegeAmerica” trade

name.

        29.   Until December 31, 2012, Defendants SHC, CCSD, CAD, and CAA

advertised and held themselves out to the public as related and affiliated schools.

For example, Defendants SHC, CCSD, CAD, and CAA published and used a single

unified catalog of courses for students, which displayed the names and trademarks

of each such Defendant School prominently on the cover. Additionally, the

homepages of the websites belonging to Defendants SHC, CCSD, CAD, and CAA

were virtually identical, except for the change in the name of the school. The

homepages of the websites for CCSD and CAD/CAA explained that “[o]nline

programs are offered by our affiliated college, Stevens-Henager College Salt Lake

City/Murray.” (See http://www.collegeamerica.edu/ (last visited Oct. 31, 2012);

http://www.cc-sd.edu/ (last visited Oct. 31, 2012).)

        30.   Since the merger of Defendant Schools into CEHE, the connection

between the schools has become even more apparent. The websites for each of the

schools now states that the schools’ trade names are “a registered mark of Center

for Excellence in Higher Education, Inc.”

        31.   CEHE is an Indiana nonprofit corporation with its principal place of

business in Salt Lake City/Murray, Utah—at the same address as the former

headquarters for both SHC and CCSD. As the corporate successor to Defendant

Schools, CEHE is liable for the acts and omissions of Defendant Schools. Insofar as

the merger of Defendant Schools into CEHE has caused or resulted in the


                                            11
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 12 of 163



dissipation of corporate assets with the purpose or effect of defrauding creditors,

including potential judgment creditors, or attempting to make such assets

inaccessible to potential judgment creditors, other entities and individuals may also

face liability.

       32.    On information, Relators believe that despite the merger of the

separate schools into CEHE, the schools continue to operate more or less as they did

prior to the merger. On information, Relators believe and allege that the merger of

the schools into CEHE, a nonprofit, was intended to evade certain regulations and

requirements that apply to for-profit schools but not nonprofit schools, such as the

requirement that at least ten percent (10%) of Defendant Schools’ revenue come

from non-government sources (“the 90-10 Rule”). See 20 U.S.C. § 1094(a)(24), 24

C.F.R. § 668.14(b)(16). As detailed further below, that Defendant Schools have

created and used falsified records in order to meet the 90-10 Rule.

       33.    Defendant Shaw, Mumford & Co., P.C. (“Shaw Mumford”), is an

expired Utah professional corporation. Shaw Mumford conducted the required

compliance audits of Defendant Schools, described further below, for the audit years

2007 and 2008. On information, Relators believe and allege that Shaw Mumford is

the predecessor-in-interest to Defendant Shaw & Co, P.C.

       34.    Defendant Shaw & Co, P.C. (“Shaw & Co.”), is a Utah professional

corporation. On information, Relators believe and allege that Shaw & Co. is the

successor-in-interest to Shaw Mumford.




                                         12
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 13 of 163



      35.    Defendant PricewaterhouseCoopers LLP (“PwC”) is a Delaware limited

liability partnership. PwC conducted the required compliance audit of Defendant

Schools for the 2009 audit year.

      36.    Defendant Weworski & Associates (“Weworksi”) is a California

Accountancy Corporation located in San Diego, California. Weworski conducted the

required compliance audits of Defendant Schools for the 2010 and 2011 audit years.

Collectively, Shaw Mumford, Shaw & Co., Weworksi, and PwC are referred to

herein as “Defendant Auditors.”

      37.    Relators are unaware of the true names and capacities of the

defendants sued as Does 1 through 500 (collectively with Defendant Schools and

Defendant Auditors, “Defendants”). Relators will amend their complaint when the

true names and capacities have been ascertained. Each Doe Defendant is

responsible in some actionable manner for the events, occurrences, injuries, and

damages alleged herein.

      38.    The terms “Defendants,” “Defendant Schools,” and “Defendant

Auditors” will refer to the Defendants identified herein acting by and through their

managerial employees, and each of them.

      39.    Managerial employees of the Defendants, in doing the acts and things

described in this Complaint, were acting within the course and scope of their

respective agencies and/or employment with the Defendants, and each of them, with

the knowledge and consent of the Defendants, and each of them, unless otherwise

indicated.


                                        13
      Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 14 of 163



        40.   At all relevant times, each Defendant was the authorized agent of each

other Defendant.

IV.     FEDERAL FALSE CLAIMS ACT

        41.   For violations occurring prior to May 20, 2009, the false claims

provision of the FCA, at 31 U.S.C. § 3729(a)(1)(1986), provides in pertinent part

that a person is liable to the United States government for each instance in which

the person “knowingly presents, or causes to be presented, to an officer or employee

of the United States Government . . . [a] false or fraudulent claim for payment or

approval.”

        42.   For violations occurring on or after May 20, 2009, the false claims

provision of the FCA, at 31 U.S.C. § 3729(a)(1)(A) (2009), as amended by the Fraud

Enforcement and Recovery Act of 2009 (“FERA”), provides in pertinent part that

any person who “knowingly presents, or causes to be presented, a false or

fraudulent claim for payment or approval” shall be liable to the United States

Government.

        43.   The FCA defines the term “claim” to mean

              any request or demand, whether under a contract or
              otherwise, for money or property and whether or not the
              United States has title to the money or property, that (i)
              is presented to an officer, employee, or agent of the United
              States; or (ii) is made to a contractor, grantee, or other
              recipient, if the money or property is to be spent or used
              on the Government’s behalf or to advance a Government
              program or interest, and if the United States Government
              (I) provides or has provided any portion of the money or
              property requested or demanded; or (II) will reimburse
              such contractor, grantee, or other recipient for any portion
              of the money or property which is requested or
              demanded . . . .
                                            14
     Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 15 of 163



31 U.S.C. § 3729(b)(2)(A) (2009).

       44.   The false statements provision of the FCA, prior to the FERA

amendments, provides that a person is liable to the United States Government for

each instance in which the person “knowingly makes, uses, or causes to be made or

used, a false record or statement to get a false or fraudulent claim paid or approved

by the Government.” 31 U.S.C. § 3729(a)(2) (1986). As amended by FERA, the false

statements provision of the FCA makes liable any person who “knowingly makes,

uses, or causes to be made or used, a false record or statement material to a false or

fraudulent claim.” 31 U.S.C. § 3729(a)(1)(B) (2009).

       45.   The FCA, as amended by FERA, defines “material” as “having a

natural tendency to influence, or be capable of influencing, the payment or receipt of

money or property.” 31 U.S.C. § 3729(b)(4) (2009).

       46.   The FCA defines the terms “knowing” and “knowingly” to mean that a

person, with respect to information: (1) “has actual knowledge of the information”;

(2) “acts in deliberate ignorance of the truth or falsity of the information”; or (3)

“acts in reckless disregard of the truth or falsity of the information.” 31 U.S.C.

§ 3729(b) (1986); 31 U.S.C. § 3729(b)(1)(A) (2009). The FCA further provides that

“no proof of specific intent to defraud” is required. 31 U.S.C. § 3729(b) (1986);

31 U.S.C. § 3729(b)(1)(B) (2009).

V.     TITLE IV OF THE HIGHER EDUCATION ACT OF 1965

      A.     General Provisions

       47.   Under Title IV of the Higher Education Act of 1965 (“HEA”), 20 U.S.C.

§§ 1070 et seq., Congress established various student loan and grant programs,
                                         15
      Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 16 of 163



including but not limited to the Federal Pell Grant Program (“Pell Grant program”),

the Federal Family Education Loan Program (“FFELP”),3 and the Federal Direct

Loan Program (“FDLP”) (collectively “Title IV funding”) in order to financially assist

eligible students in obtaining a post-secondary education.

         48.    Although the mechanism by which Title IV funding is disbursed to

eligible students under the Title IV, HEA programs varies by program, each Title

IV, HEA program requires compliance with specific conditions and obligations, and

certification of compliance with such conditions and obligations, as a prerequisite to

earning and obtaining Title IV funding.

         49.    In order to become eligible to receive Title IV funding under programs

such as the Pell Grant program, FFELP, or FDLP, or to have its students receive

Title IV funding, a post-secondary educational institution must first enter into a

program participation agreement (“PPA”) with the Department of Education. 20

U.S.C. § 1094(a); 34 C.F.R. § 668.14.

         50.    Each PPA expressly conditions a school’s initial and continuing

eligibility to receive funds under Title IV, HEA programs on compliance with

specific statutory requirements, including 20 U.S.C. § 1094 and 34 C.F.R. § 668.14.

        B.     Incentive Compensation Ban

         51.    Section 487(a)(20) of Title IV of the HEA explicitly requires that in

order to be eligible to receive Title IV funding, schools “[w]ill not provide any

commission, bonus, or other incentive payment based directly or indirectly on



3
    No new loans were made under FFELP after July 1, 2010.
                                              16
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 17 of 163



success in securing enrollments or financial aid to any persons or entities engaged

in any student recruiting or admission activities or in making decisions regarding

the award of student financial assistance.” 20 U.S.C. § 1094(a)(20) (“Incentive

Compensation Ban”). Title IV of the HEA expressly conditions the initial and

continuing eligibility of schools to obtain Title IV funding on the requirement that

the schools comply with the Incentive Compensation Ban.

         52.   The Department of Education’s regulations further reiterate that

schools must comply with the Incentive Compensation Ban in order to be eligible to

receive Title IV funding and that schools must expressly agree to the Incentive

Compensation Ban in PPAs. 34 C.F.R. § 668.14(b)(22) (“Incentive Compensation

Regulations”).

         53.   In 2002, the Incentive Compensation Regulations accompanying the

Incentive Compensation Ban were amended to clarify that certain types of

compensation did not violate the Incentive Compensation Ban. These regulatory

safe harbors were intended to “provide guidance to institutions so they may adopt

compensation arrangements that do not run afoul of the incentive compensation

prohibition contained in section 487(a)(20) of the HEA.” Adjustments to Employee

Compensation (Section 668.14(b)(22)(ii)(A)), 67 Fed. Reg. 67054, 67055 (Nov. 1,

2002).

         54.   Relevant to this Third Amended Complaint, the 2002 amendments to

the Incentive Compensation Regulations included a safe harbor allowing schools to

pay “fixed compensation, such as a fixed annual salary or a fixed hourly wage, as


                                        17
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 18 of 163



long as that compensation is not adjusted up or down more than twice during any

twelve month period, and any adjustment is not based solely on the number of

students recruited, admitted, enrolled, or awarded financial aid.” 34 C.F.R.

§668.14(b)(22)(ii)(A) (July 1, 2010) (“Regulatory Safe Harbor A”).

      55.    With respect to the Regulatory Safe Harbor A, in the Preamble to the

Notice of Proposed Rulemaking for the safe harbor, the Secretary of the Department

of Education reminded post-secondary educational institutions that salary

adjustments based solely on the number of students recruited, admitted, enrolled,

or awarded financial aid do not fall within the safe harbor, that the Regulatory Safe

Harbor A was not intended to protect salary adjustments that are formulated to

circumvent the statutory prohibition against incentive compensation, and that

salary adjustments based on success in securing enrollments remain prohibited.

Program Participation Agreement (Section 668.14), 67 Fed. Reg. 51722, 51723 (Aug.

8, 2002).

      56.    Also relevant to this Complaint, the 2002 amendments to the Incentive

Compensation Regulations included a safe harbor permitting schools to pay

“[c]ompensation that is based upon students successfully completing their

educational programs, or one academic year of their educational programs,

whichever is shorter.” 34 C.F.R. § 668.14(b)(22)(ii)(E) (“Regulatory Safe Harbor E”).

      57.    With respect to the Regulatory Safe Harbor E, in the Preamble to the

Notice of Proposed Rulemaking for the safe harbor, the Secretary of the Department

of Education explained that the Incentive Compensation Ban was intended, in part,


                                          18
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 19 of 163



“to prevent institutions from enrolling students into a program without regard to

their qualifications or likelihood of completing the program,” that “completion of the

program or . . . the completion of the first academic year is a reliable indicator that

the student was qualified for the program,” and, as a result, the safe harbor allows

schools to make payments that are “based upon students’ successful completion of

their educational program, or one academic year for a longer program.” Program

Participation Agreement (Section 668.14), 67 Fed. Reg. 51722, 51724 (Aug. 8, 2002).

        58.   In each PPA, a school certifies that “[t]he execution of this Agreement

by the Institution and the Secretary is a prerequisite to the Institution’s initial or

continued participation in any Title IV, HEA Program.” (See PPA at 1, attached

hereto as Exhibit 1.) The PPA further states that a school’s participation in Title IV,

HEA programs is “subject to the terms and conditions set forth in this Agreement.”

(Id.)

        59.   The PPA further provides, among other things, that

              [b]y entering into this Program Participation Agreement,
              the Institution agrees that . . . (22) It will not provide, nor
              contract with any entity that provides, any commission,
              bonus, or other incentive payment based directly or
              indirectly on success in securing enrollments or financial
              aid to any persons or entities engaged in any student
              recruiting or admission activities or in making decisions
              regarding      the  awarding        of    student     financial
              assistance . . . .

(Id. at 4, 6.) This certification is a critical prerequisite for a school’s eligibility to

request and receive Title IV funding.

        60.   Congress enacted the prohibition against paying commissions,

bonuses, or other incentive payments based on success in recruiting students
                                     19
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 20 of 163



because such payments were associated with high loan default rates, which in turn

resulted in a significant drain on program funds. When Congress amended the HEA

in 1992 to prohibit schools from paying these incentives, it did so based on evidence

of serious program abuses, including the payment of incentive compensation to

motivate admissions personnel to enroll students without regard to the students’

ability to benefit from the education. S. Rep. No. 58, 102d Cong., 1st Sess., at 8

(1991) (“Abuses in Federal Student Aid Programs”) (noting testimony “that contests

were held whereby sales representatives earned incentive awards for enrolling the

highest number of students for a given period”); H.R. Rep. No. 447, 102d Cong., 2d

Sess., at 10, reprinted in 1992 U.S.C.C.A.N. 334, 343 (noting new provisions that

“include prohibiting the use of commissioned sales persons and recruiters”). The

U.S. Senate committee with oversight responsibility recently acknowledged that

systemic fraud and abuse continues unabated among for-profit colleges. S. Comm.

on Health, Education, Labor, and Pensions, 112th Cong., For Profit Higher

Education: The Failure to Safeguard the Federal Investment and Ensure Student

Success (Comm. Print July 30, 2012).

      61.    In June 2010, the Department of Education proposed to eliminate

many of the regulatory safe harbors, including Regulatory Safe Harbor A and

Regulatory Safe Harbor E. The Department explained that the elimination of the

safe harbors was necessary because “[s]ince [the adoption of the regulatory safe

harbors], the Department’s experience demonstrates that unscrupulous actors

routinely rely upon these safe harbors to circumvent the intent of section 487(a)(20)


                                         20
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 21 of 163



of the HEA.” Incentive Compensation (§ 668.14(b)), 75 Fed. Reg. 34816, 34817 (June

18, 2010). The Department concluded that “rather than serving to effectuate the

goals intended by Congress through its adoption of section 487(a)(20) of the HEA,

the safe harbors have served to obstruct those objectives.” Id.

      62.    In particular, the Department of Education observed that while many

schools had adopted compensation practices that complied with the regulatory safe

harbors “on paper,” “in practice” those same schools had used compensation

practices that directly violated the Incentive Compensation Ban and failed to

comply with both the letter and spirit of the safe harbor provisions. Id.

      63.    The   Department      of   Education   promulgated     final   regulations

eliminating the regulatory safe harbors, including Regulatory Safe Harbor A and

Regulatory Safe Harbor E, on October 29, 2010, effective July 1, 2011. Program

Integrity Issues, 75 Fed. Reg. 66832, 66832 (October 29, 2010); 34 C.F.R.

§ 668.14(b)(22) (2011).

     C.     Audit Requirement

      64.    In order to maintain its eligibility to receive Title IV funding, each year

a school participates in any Title IV, HEA program, it also must provide the

Department of Education with an annual compliance audit of its administration of

Title IV, HEA programs, as well as an audit of the school’s general purpose

financial statements, prepared by independent auditors. 20 U.S.C. § 1094(c)(1)(A);

34 C.F.R. §§ 668.23(a)(2), (a)(4). For-profit educational institutions, including

Defendant Schools, must conduct their annual financial statements and compliance


                                          21
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 22 of 163



audits in accordance with the Department of Education Office of Inspector General’s

Audit Guide.

       65.     The Department of Education uses the results of the compliance and

financial statements audits in part to determine whether schools receiving Title IV

funding are adhering to applicable requirements for Title IV, HEA programs,

including the Incentive Compensation Ban, and whether to allow the schools to

continue participating in the programs. As part of the annual audits, Defendant

Schools are required to certify, in the form of written “Required Management

Assertions,” that, among other things, they are complying with the requirements for

eligibility to participate in Title IV, HEA programs, including the Incentive

Compensation Ban. (See Department of Education Audit Guide (“Audit Guide”) at

II-3, attached hereto as Exhibit 2.) Specifically, Defendant Schools must certify in

their “Required Management Assertions” regarding “Institutional Eligibility and

Participation” that they have “[n]ot paid to any persons or entities any commission,

bonus, or other incentive payment based directly or indirectly on success in securing

enrollments, financial aid to students, or student retention [34 C.F.R. §

668.14(b)(22)].” (Id. at p. II-4.)

      D.     90-10 Rule

       66.     In order to be eligible to receive Title IV funding, schools must not

“derive less than ten percent of [their] funding from sources other than [Title IV]

funds.” 20 U.S.C. § 1094(a)(24) (referred to hereafter as the (“90-10 Rule”)).

       67.     The Department of Education’s regulations further reiterate that

schools must comply with the 90-10 Rule in order to be eligible to receive Title IV
                                      22
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 23 of 163



funding and that schools must expressly agree to abide by the 90-10 Rule in PPAs.

34 C.F.R. § 668.14(a) & (b)(16).

      68.    Additionally, the schools must report their calculations under the 90-

10 Rule in their annual financial audits. 34 C.F.R. § 668.23(d)(3).

      69.    The relevant statutes and regulations specify exactly how schools must

compute their revenues for the purpose of calculating compliance with the 90-10

Rule. 20 U.S.C. § 1094(d); see also Appendix C to Subpart B of Part 668 of Title 34 of

the Code of Federal Regulations—90/10 Revenue Calculation.

     E.     Accreditation Requirement

      70.    As a condition to be eligible to participate in Title IV, HEA programs

and to earn and receive Title IV funding, schools must also “meet the requirements

established by . . . accrediting agencies or associations.” 20 U.S.C. § 1094(a)(21)

(“Accreditation Requirement”).

      71.    The accreditation process ensures that before a school receives Title IV

funding, the school has effective educational programs and has met high standards

of quality. The accrediting agencies, by rigorously investigating the schools and

their educational programs and determining whether they meet the Department of

Education’s and the agencies’ standards, help guarantee that the federal

government, the Department of Education, and taxpayers are receiving a valuable

educational product in exchange for the Title IV funding.

      72.    The PPAs that all schools must sign in order to participate in Title IV,

HEA programs, and to be eligible to receive Title IV funding, explicitly provide that

the schools “will meet the requirements established pursuant to part H of Title IV of
                                         23
      Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 24 of 163



the    HEA     by . . . nationally   recognized   accrediting   agencies.”   34   C.F.R.

§ 668.14(b)(23).

        73.    “[F]or purposes of student assistance programs,” the HEA defines

“proprietary institution of higher education,” which is the category to which

Defendant Schools belong, as a school that, among other things, “is accredited by a

nationally recognized accrediting agency or association recognized by the

Secretary.” 20 U.S.C. § 1002(b)(1).

        74.    In order to be recognized by the Secretary of Education as an

accrediting agency, an agency must establish “sufficiently rigorous” “standards for

accreditation” that include provisions for, among other areas, “faculty.” 34 C.F.R.

§ 602.16(a).

        75.    Before accrediting a school or program, an accrediting agency must

“[c]onduct[] at least one on-site review of the institution or program during which it

obtains sufficient information to determine if the institution or program complies

with the agency’s standards.” 34 C.F.R. § 602.17(c).

        76.    Defendant Schools’ accrediting agency is the Accrediting Commission

of Career Schools and Colleges (“ACCSC”). According to Defendant Schools, ACCSC

is a “quasi-governmental body recognized by the United States Secretary of

Education.” Defendant Schools have explained that ACCSC’s “quasi-governmental”

status derives from the “oversight authority granted through its recognition by the

United States Secretary of Education.”




                                            24
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 25 of 163



      77.    ACCSC must “provide written notice of its accrediting decisions to the

Secretary,” including about “[a] decision to renew an institution’s or program’s

accreditation.” 34 C.F.R. § 602.26.

      F.     Attendance-Taking and Refund Requirement

      78.    Schools participating in Title IV, HEA programs are required to

carefully and accurately track and report student attendance for a number of

reasons.

      79.    If a student enrolls at a school but fails to attend class, the school is

obligated to refund any Title IV funding received for that student to the

Department of Education within a specified period of time. 34 C.F.R. § 668.21(a),

(c); 20 U.S.C. § 1091b.

      80.    Similarly, if a student enrolls and attends some classes but then

subsequently stops attending classes, the school is obligated to calculate the amount

of Title IV funding the student earned and to refund any Title IV funding the school

received in excess of the amount earned to the Department of Education. 34 C.F.R.

§ 668.22(a)(1) (Schools are obligated to “determine the amount of title IV grant or

loan assistance that the student earned as of the student’s withdrawal date.”); 34

C.F.R. § 668.22(a)(4) (The “difference between these amounts must be returned to

the title IV programs.”); see also 20 U.S.C. § 1091b; 34 C.F.R. §§ 668.22(b), (g), (i).

      81.    Under the applicable regulations, “a student is considered to have

withdrawn from a payment period or period of enrollment” if, in the case of a

program measured in credit hours (as are Defendant Schools’ programs), “the

student does not complete all the days in the payment period or period of
                                    25
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 26 of 163



enrollment    that      the   student   was    scheduled   to   complete.”    34   C.F.R.

§ 668.22(a)(2)(i)(A).

       82.    The applicable regulations also dictate exactly how schools must

determine a student’s withdrawal date. For “an institution that is required to take

attendance,” “the student’s withdrawal date is the last date of academic attendance

as determined by the institution from its attendance records.” 34 C.F.R. § 668.22(b).

       83.    A school is “required to take attendance if” either an “outside entity

(such as the institution’s accrediting agency or a State agency) has a requirement

that the institution take attendance” or “[t]he institution itself has a requirement

that its instructors take attendance.” 34 C.F.R. § 668.22(b)(3)(i)(A), (B).

       84.    As discussed above, ACCSC is Defendant Schools’ accrediting agency.

(A copy of ACCSC’s Standards of Accreditation is attached hereto as Exhibit 3.)

       85.    ACCSC’s accrediting standards require accredited schools, including

Defendant Schools, to create, publish, and enforce attendance policies that “must

promote sufficient levels of student attendance such that the required knowledge,

skills, and competencies can be reasonably achieved.” (See generally ACCSC

“Standards of Accreditation,” Ch.2, Sec. VII.)

       86.    Indeed, Defendant Schools’ written policies also require the taking of

attendance. (See, e.g., Defendant Schools’ Combined Course Catalog 2012 at 78.)

       87.    When schools enter into PPAs with the Department of Education, all

schools must certify they are complying and will continue to comply with the

statutes and regulations relating to attendance-taking and refund calculations.


                                              26
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 27 of 163



      88.    Because a student’s withdrawal date is determined from the school’s

attendance records and because the determination of the withdrawal date directly

affects how much money a school must refund to the Department of Education

following a withdrawal, it is important that the school accurately record and report

student attendance so that the correct refund amount is calculated. However,

because schools may retain more money if the withdrawal date is postponed, schools

have a strong financial incentive to misreport the attendance of students who

withdraw.

      G.    Academic Progress Requirements

      89.    Schools participating in Title IV, HEA programs must also create and

enforce reasonable standards of academic performance.

      90.    Under applicable regulations, “[a]n institution must establish a

reasonable satisfactory academic progress policy for determining whether an

otherwise eligible student is making satisfactory academic progress in his or her

educational program and may receive assistance under the title IV, HEA

programs.” 34 C.F.R. § 668.34(a); see also 20 U.S.C. § 1091(a)(2) (requiring students

to make satisfactory progress); 20 U.S.C. § 1091(c) (defining satisfactory academic

progress); 34 C.F.R. § 668.14(b)(24); 34 C.F.R. § 668.16(e)(2)(i).

      91.    Such a policy must include “the grade point average (GPA) that a

student must achieve at each evaluation” in order to remain eligible to receive Title

IV funding. 34 C.F.R. § 668.34(a)(4)(i).

      92.    Furthermore, ACCSC must require that all schools that it accredits

establish standards regarding “[s]uccess with respect to student achievement,” 34
                                        27
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 28 of 163



C.F.R. § 602.16(a)(1)(i); 20 U.S.C. § 1099b(a)(5), and Defendant Schools must follow

those standards to be eligible to receive Title IV funding, 34 C.F.R. § 668.14(b)(23).

      93.     Indeed, the ACCSC’s Standards of Accreditation include such

requirements. (See generally ACCSC “Standards of Accreditation,” Ch. 2, Sec. VII,

Exhibit 3.)

      94.     When schools enter into PPAs with the Department of Education, all

schools must certify they are complying and will continue to comply with the

statutes and regulations relating to academic performance.

      95.     As with the attendance-tracking requirement, it is required that the

schools establish and enforce reasonable academic performance standards and to

actually and genuinely grade student performance based on reasonable standards.

However, since schools lose revenue when a student’s Title IV funding eligibility is

suspended due to poor grades, schools have a strong financial incentive to

misrepresent students’ academic performance to keep them eligible to receive Title

IV funding.

     H.       Claims for Payment under Title IV, HEA Programs

      96.     After a school becomes eligible to receive Title IV funding by entering

into a PPA, claims for payment of those funds can be made in various ways. Under

the Pell Grant program and FDLP, for example, students submit requests for

funding directly to the Department of Education, or to the Department of Education

with the assistance of schools. Under FFELP, students and schools jointly

submitted requests to private lenders for loans that were guaranteed by state


                                          28
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 29 of 163



agencies that were, in turn, insured by the Department of Education, which paid in

the event of a default.

      97.    With respect to all Title IV, HEA programs, the disbursement of Title

IV funding depends on a school’s statements and certifications of eligibility that are

necessary for requests for payment to be considered.

      98.    For all Title IV, HEA programs, students who are interested in

receiving federal student aid must complete a “Free Application for Federal Student

Aid,” known as a “FAFSA.”

                             Title IV Grant Programs

      99.    Under the Pell Grant program, which provides federal funds to assist

postsecondary school students with demonstrated financial need, 20 U.S.C. § 1070a;

34 C.F.R. § 690.1, the student initiates the process by submitting a FAFSA to the

Department of Education to have her expected family contribution (“EFC”)

calculated in order to receive an accurate amount of Pell Grant program funds. 34

C.F.R. § 690.12(a). The student either sends the FAFSA directly to the Department

of Education or provides it to a school for the school to transmit it to the

Department of Education on the student’s behalf. 34 C.F.R. § 690.12(b).

      100.   The Department of Education sends the student’s application

information and EFC to the student on a Student Aid Report (“SAR”) and sends

each school the student has designated an Institutional Student Information Record

(“ISIR”) for that student. 34 C.F.R. § 690.13.

      101.   The school uses the above-described information, including the EFC, to

calculate the student’s eligibility for all aid and to assemble a “financial aid award
                                            29
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 30 of 163



package” for the student borrower. The financial aid package may include Pell

Grants, FDLP loans, or Campus-Based Aid (which in turn includes Federal

Supplemental Educational Opportunity Grants, Federal Work-Study, and Federal

Perkins Loans), as well as other scholarships or aid for which the student may be

eligible.

       102.   The student can accept all or part of the financial aid award package.

       103.   If the student accepts a Pell Grant, an FDLP loan (for which the

Department of Education is both lender and guarantor), or both a Pell Grant and a

FDLP loan, the school creates an electronic “origination” record that the school

submits to a Department of Education computerized database called the Common

Origination and Disbursement (“COD”) system. The origination record includes

student demographic data, the award or payment period, the award amount, and

disbursement dates and amounts. The COD database, in turn, links the information

in the origination record to another Department of Education database, called CPS,

which compares the information in the origination record to the information on the

student’s SAR and ISIR.

       104.   Provided that the information submitted by the school is consistent

with the information possessed by the Department of Education, the Department of

Education makes funds available for the school to electronically draw down from a

computerized system known as “G5.”

       105.   Schools must electronically certify in G5 prior to drawing down the

funds that “by processing this payment request . . . the funds are being expended


                                          30
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 31 of 163



within three business days of receipt for the purpose and condition[s] of the

[Program Participation] agreement.” (See Example of G5 Certification, attached

hereto as Exhibit 4.)

      106.   In addition to the Pell Grants themselves, the Department of

Education also pays to the school an annual administrative cost allowance of $5.00

for each student who receives a Pell Grant, to be used to pay the costs of

administering the Pell Grant and other Title IV, HEA federal student aid programs.

20 U.S.C. § 1096; 34 C.F.R. § 690.10.

                          FDLP and FFELP Loan Programs

      107.   The FDLP, through which the Department of Education makes loans

directly to eligible students and parents, “enables an eligible student or parent to

obtain a loan to pay for the student’s cost of attendance at [an eligible] school.” 34

C.F.R. § 685.101(a)(1).

      108.   Under the FFELP, which included subsidized and unsubsidized

Stafford Loans, private “lenders use their own funds to make loans to enable a

student or his or her parents to pay the costs of the student’s attendance at

postsecondary schools.” 34 C.F.R. § 682.100(a). “[A] guaranty agency guarantees

[the private] lender against losses due to default by the borrower on a FFEL loan,”

and “the guaranty agency is reimbursed by the [Department of Education] for all or

part of the amount of default claims it pays to lenders.” 34 C.F.R. § 682.100(b)(1). In

this way, the government is ultimately called upon to satisfy claims for payment.

      109.   No new loans were made under FFELP after July 1, 2010. See Health

Care and Education Reconciliation Act of 2010 (P.L. 111-152).
                                        31
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 32 of 163



      110.   Like the Pell Grant program, students seeking to obtain a FDLP or

FFELP loan begin by completing and submitting a FAFSA. 34 C.F.R. § 685.201(a);

34 C.F.R. § 682.102(a).

      111.   In order to participate in the FDLP and FFELP, as opposed to a grant

program, a student also completes a Master Promissory Note (“MPN”) and submits

the MPN to the educational institution. 34 C.F.R. § 685.201; 34 C.F.R. § 682.102.

      112.   Parents may also borrow money through the FDLP and FFELP, in the

form of a Parent PLUS loan, to help pay tuition and other related costs of education

for their children. 34 C.F.R. § 685.200(c); 34 C.F.R. § 682.102(c). A parent borrower

commences the loan process by completing and submitting a Direct PLUS MPN for

a Parent Direct PLUS loan, 34 C.F.R. § 685.201(b), or an application for a PLUS

loan under FFELP, 34 C.F.R. § 682.102(c).

      113.   For student loans, schools participating in the FDLP must at a

minimum create a loan origination record and ensure that the loan is supported by

a completed MPN.      34 C.F.R. § 685.201(a)(2)(i), (ii). For parent direct loans, a

participating school must complete and submit its portion of the PLUS MPN. 34

C.F.R. § 685.201(b)(3).

      114.   A school participating in the FDLP or FFELP must determine and

certify that the student is eligible to receive the loan and must provide information

regarding student eligibility to the Department of Education. 34 C.F.R.

§ 85.301(a)(1), (2); 34 C.F.R. § 682.102(a); 34 C.F.R. § 682.603(a). Among other

requirements, to be eligible to receive proceeds from a FDLP or FFELP loan, a


                                         32
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 33 of 163



student must be enrolled, or accepted for enrollment, at a school eligible to receive

Title IV funding. 34 C.F.R. § 685.301(a)(2)(i); 34 C.F.R. § 685.200(a)(1)(ii); 34 C.F.R.

§ 668.32(a)(1)(i); 34 C.F.R. § 682.201(a); 34 C.F.R. § 682.603(a).

         115.   As described above, for a school to be eligible to participate in Title IV,

HEA programs, thereby making students attending the school eligible for FDLP

and FFELP loans, a school must comply with the Incentive Compensation Ban. By

certifying that any student is eligible to receive a FDLP or FFELP loan, the school

is certifying its own eligibility to participate in the programs, including its

compliance with the Incentive Compensation Ban.

         116.   Additionally, for a student to be eligible to receive a FDLP or FFELP

loan, the school, as well as the specific program of study, must be accredited by the

appropriate accrediting agency. 20 U.S.C. § 1094(a)(21); Department of Education,

Direct          Loans      School       Guide,        at      1-3,      available       at

http://www.direct.ed.gov/pubs/schoolguide.html.

         117.   As described above, a school participating in the FDLP also determines

the amount of each type of FDLP loan (subsidized or unsubsidized), as well as other

types of financial aid, that the student is eligible to receive based on information

provided by the student in the FAFSA and from other available sources. 34 C.F.R.

§ § 685.301(4), (5). The school submits this information to the COD system.

         118.   Schools must verify that a student remains eligible to receive FDLP

and FFELP loan proceeds at the time of disbursement. Direct Loans School Guide




                                             33
       Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 34 of 163



at 5-66; Department of Education, Federal Student Aid Handbook at 3-135 (2010-

11).

         119.   Schools receive the proceeds of FDLP loans for disbursement through

the G5 system. As described above, schools must electronically certify in G5 prior to

drawing down the funds that “by processing this payment request . . . the funds are

being expended within three business days of receipt for the purpose and

condition[s] of the [Program Participation] agreement.” (G5 Certification, Exhibit 4

hereto.)

         120.   Under FFELP, the school submits the MPN to the lender. Upon

approval by the lender, the lender obtains a loan guarantee from a guarantee

agency. 34 C.F.R. § 682.102. The loan is made in reliance upon the accuracy of the

information provided by the school.

         121.   The lender transfers the FFELP funds directly into the school’s

account. Upon receiving the FFELP funds, the school credits a student’s account at

the school for education-related expenses, such as tuition, fees, books, and supplies.

         122.   For subsidized Stafford loans, the government pays the interest on the

student’s behalf during the time the student is enrolled in school on at least a half-

time basis, and during the student’s grace period before repayment commences. 34

C.F.R. § 682.102(d)(2).

         123.   In the event of default on a FFELP loan, the Department of Education

pays to the guarantee agency all or part of the unpaid principal and accrued

interest, as well as a variety of administrative costs. 34 C.F.R. § 682.404.


                                           34
      Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 35 of 163



VI.     FACTUAL ALLEGATIONS

        124.   Defendant Schools knowingly made false statements, certifications,

and claims regarding compliance with the Incentive Compensation Ban in order to

become and remain eligible to receive Title IV funding. Defendant Schools’

statements were false when made, and caused the Department of Education to pay

various claims under Title IV, HEA programs that Defendant Schools were not

eligible to receive.

        125.   Defendant Schools knowingly made false statements, certifications,

and claims regarding compliance with the Accreditation Requirement in order to

become and remain eligible to receive Title IV funding. Defendant Schools’

statements were false when made, and caused the Department of Education to pay

various claims under Title IV, HEA programs that Defendant Schools were not

eligible to receive. Additionally, Defendant Schools knowingly made false

statements and certifications to their accrediting agency in order to induce and

cause the accrediting agency to accredit Defendant Schools even though they did not

comply with the relevant accrediting standards.

       A.      Defendant Schools’ Submission of Program             Participation
               Agreements to the Department of Education.

        126.   Defendant Schools sign and submit PPAs to the Department of

Education in order to become eligible to participate in Title IV, HEA programs. All

Defendant Schools are currently operating under approved PPAs and have been

since at least January 1, 2002.




                                         35
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 36 of 163



      127.   In each PPA, each Defendant School certifies that “[i]t will comply with

all statutory provisions of or applicable to Title IV of the HEA, all applicable

regulatory provisions prescribed under that statutory authority, and all applicable

special arrangements, agreements, and limitations entered into under the authority

of statutes applicable to Title IV of the HEA.”

      128.   In each PPA, each Defendant School further certifies that “[i]t will not

provide, nor contract with any entity that provides, any commission, bonus, or other

incentive payment based directly or indirectly on success in securing enrollments or

financial aid to any persons or entities engaged in any student recruiting or

admission activities or in making decisions regarding the awarding of student

financial assistance.”

      129.   In their PPAs, Defendant Schools also certify that they “will meet the

requirements established” by a “nationally recognized accrediting agenc[y].”

      130.   In addition to the certifications they make in the PPAs, Defendant

Schools also make, or cause to be made, additional certifications as part of their

annual compliance audits and as part of the student financial aid process, including

but not limited to Required Management Assertions, G5 Certifications, Master

Promissory Notes, and their accompanying school certifications.

      131.   Defendant Schools submitted a variety of claims to the government for

Title IV funding that they knew to be false based upon their non-compliance with

the Incentive Compensation Ban.




                                          36
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 37 of 163



      132.   Defendant Schools submitted a variety of claims to the government for

Title IV funding that they knew to be false based upon their submission of false

information and certifications to their accrediting agency for the purpose of

obtaining accreditation for which they are not eligible.

     B.      Title IV Funding Received by Defendant Schools.

      133.   According to information available from the Department of Education,

Defendant Schools have received more than $660 million in Title IV funding since

the 2002-2003 academic award year. This figure includes amounts received under

FDLP, FFELP, and Pell Grant program, as well as smaller amounts received

pursuant to Academic Competitiveness and National SMART Grant programs and

campus-based financial aid (Federal Work Study, Perkins Loans, Federal

Supplemental Educational Opportunity Grants).

      134.   For example, during the 2009-2010 award year, which ran from July 1,

2009 to June 30, 2010, Defendant Schools received over $127 million in Title IV

funding.

      135.   During the 2010-2011 award year, Defendant Schools received over

$139 million in Title IV funding.

      136.   Defendant Schools receive a large portion of their total revenues from

Title IV, HEA programs. For example, in 2009-2010, the percentage of Defendant

Schools’ total revenues derived from Title IV, HEA programs were as follows:

Defendant SHC: 77%; Defendant CAA: 85.5%; Defendant CAD: 82.8%; and

Defendant CCSD: 79.3%. See Department of Education, Proprietary School 90/10

Revenue Percentages from Financial Statements with Fiscal Year Ending Dates
                                     37
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 38 of 163



Between 7/1/2009 and 6/30/2010, available at http://studentaid.ed.gov/about/data-

center/school/proprietary.

      137.   In 2010-2011, the percentage of Defendant Schools’ total revenues

derived from Title IV, HEA programs were as follows: Defendant SHC: 80%;

Defendant CAA: 85.1%; Defendant CAD: 81.4%; and Defendant CCSD: 69.3%. See

Department of Education, Proprietary School 90/10 Revenue Percentages from

Financial Statements with Fiscal Year Ending Dates Between 7/1/2010 and

6/30/2011,         available         at        http://studentaid.ed.gov/about/data-

center/school/proprietary.

     C.      Defendant Schools’ Violations of the Incentive Compensation
             Ban.

      138.   Throughout their employment with SHC, SHC paid Ms. Brooks and

Ms. Wride incentive compensation that violated the Incentive Compensation Ban.

SHC and the other Defendant Schools have paid incentive compensation to ACs

that violates the Incentive Compensation Ban since at least July 1, 2002, and SHC

and the other Defendant Schools continued to pay incentive compensation to ACs

that violates the Incentive Compensation Ban up to at least 2011.

      139.   Defendant Schools deliberately cultivated a corporate culture that

prizes and rewards enrollment of students above all else. This “boiler room” style

sales culture has made recruiting and enrolling students the sole focus of ACs and

others involved in the recruitment and enrollment processes, including FAOs.

      140.   Through their compensation system and compensation practices, the

representations and certifications they make to the federal government in their

                                          38
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 39 of 163



PPAs, in connection with annual compliance audits, and in other documents,

Defendant Schools knowingly violated and continue to violate Title IV of the HEA’s

Incentive Compensation Ban, as well as its accompanying and implementing

regulations.

                            Admissions Consultants

      141.     An AC’s primary objective at Defendant Schools is to “enroll

students.” (Defendant School’s Admissions Consultant Manual at 21 (emphasis in

original) (“Manual”), attached hereto as Exhibit 5.) (Defendant Schools provide a

written policy manual to their ACs on an annual basis. The copy of the Manual in

Relators’ possession was provided to an AC on or about September 2010 and states

on the title page: “Copyright 2006, 2007, and 2008 by Carl Barney.” Prior versions

of the Manual were similar in form and content to the version attached as Exhibit 5

to this Complaint. At the bottom of the title page of the Manual, the following

schools are identified: CollegeAmerica, CCSD [California College San Diego],

Stevens-Henager College, and Independence University.)

      142.     ACs enroll students by developing leads through various events,

promotions, and networking activities and through referrals generated by

Defendant Schools’ call center and marketing campaigns.      ACs meet with these

leads and referrals, usually in person, at Defendant Schools’ campuses and attempt

to persuade them to enroll as students in Defendant Schools’ programs. According

to Defendant Schools, the sole “purpose” of ACs is to “motivate, enroll, and start

students.” (Id. at 22.) The Defendant Schools’ joint Manual reminds ACs that


                                        39
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 40 of 163



“[t]he AC’s job is to enroll every person they possibly can” and that “no salary

increases occur unless Admissions enrolls more students.” (Id. at 15.)

      143.   ACs are the primary contact that prospective students have with

Defendant Schools during the recruitment process. The recruiting process often

involves hours of personal contact between the AC and prospective student.

Typically, ACs will accompany potential recruits to meetings with FAOs, where

financial aid options are discussed.

      144.   Defendant Schools provide regular training to the ACs in various sales

techniques. For example, ACs are instructed to tell prospective students that “[f]or

their tuition [they] get in return a quality job with much more money to help

them pay for their hopes and dreams,” and that Defendant Schools “do this in half

the time of many other colleges and universities.” (Id. at 20 (emphasis in original).)

               Defendant Schools’ Written Compensation Policy

      145.   Defendant Schools issued frequent written statements concerning their

compensation policies, including for ACs. The revisions often related to the portions

of the Manual covering AC compensation. Many of these written policies were

contradictory and inconsistent. As will become apparent, Relators are informed and

believe that Defendant Schools’ actual compensation practices deviated from their

written policies, that the written policies were issued merely to satisfy regulators,

and that the deviations from the written policies further violated Title IV

regulations and requirements.

      146.   In addition to Manuals, Defendant Schools issued various types of

“directives” to their employees, including directives to their admissions department
                                          40
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 41 of 163



staff. These communications took the form of “Procedure Directives” and

“Information Letters.”

      147.   In one such Procedure Directive, dated both November 15, 2007, and

November 17, 2008, that Defendant SHC provided to Ms. Brooks, Defendant

Schools   appeared    to   set   down   new    policies   for    “Admissions   Consultant

Compensation.” (Procedure Directive at 2, attached hereto as Exhibit 6.)

      148.   The Procedure Directive was issued by Carl Barney, as “Chairman,” to

Admissions Consultants, Directors of Admission (DoAs), and Campus Directors.

      149.   The     Procedure    Directive    discusses        the   Defendant   School’s

“compensation plan based upon students who complete 36 credits and are thus

likely to graduate” and makes explicit reference to Regulatory Safe Harbor E.

(Procedure Directive 1-2.)

      150.   The Procedure Directive explains that each student who completes 36

credits entitles the AC who enrolled that student to a “Completion Certificate” if,

and only if, the completing “student ha[s] a value at completion of 36 credits as show

in Appendix 1.” (Procedure Directive 2 (emphasis in original).)

      151.   “Appendix One” to the Procedure Directive contains a chart showing

“Admission Consultant Potential Compensation.” The chart provides the “value at

completion” referenced previously.

      152.   The chart contains a range of money values—from $100 up to $600.




                                          41
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 42 of 163



      153.   The first column in the chart is titled “Packaged Starts.” The lowest

value shown in the row is 5 packaged starts—there are no values for anything less

than 5 starts.

      154.   The top row of the chart lists “Intconversion%.” The lowest value in the

row is “>33%”—there are no values for anything less than 33%.

      155.   Notes to the chart explain that “Intconversion%” is calculated by

“[t]otal[ing] the last three modules’ starts and interviews” and dividing the total

number of starts by the total number of interviews.

      156.   According to the chart in Appendix One of the Procedure Directive,

which is consistent with actual practice (as described below), before an AC could

receive a bonus for a completing student, the AC had to (1) start at least 5 students

per module, and (2) convince at least one out of every three potential students he or

she met with to enroll in the school. Based on the compensation systems set forth in

the Procedure Directive, if an AC failed to meet either of these two enrollment-

related requirements, the AC was ineligible to receive a bonus, regardless of how

many students the AC was responsible for starting who completed 36 credit hours.

      157.   At the other end of the scale, Appendix One provides great incentives

for ACs to start more students and convince greater numbers of potential students

to enroll. An AC that has an interview-to-start rate greater than 50% is eligible to

receive $600 per completing student. An AC with 20 starts and an interview-to-start

rate of 50% would receive a total of $12,000.




                                          42
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 43 of 163



      158.   Appendix One of the Procedure Directive also states that for “each

start from personally developed interviews, the completion certificate is valued at

an additional $500.”

      159.   The Procedure Directive contains an Appendix Two, which appears to

set forth AC compensation for personally developed leads. (Appendix Two is not

referenced anywhere in the Procedure Directive.) Appendix Two contains a chart

that is identical to the chart in Appendix One, except that all of the values are

higher. Under that chart, an AC must still first (1) start at least 5 students, and (2)

achieve an interview-to-start rate of 33% to be eligible for any bonus, regardless of

the number of students they started who completed 36 credit hours.

      160.   Under that chart, the values based on the number of starts and

interview-to-start rate ranged from $500 to $3,000 per student (or more).

      161.   The    Procedure      Directive    acknowledges   that    the   incentive

compensation plan is designed to ensure that ACs “contribute to admissions goals.”

(Procedure Directive at 1.)

      162.   The Defendant Schools’ joint Manual also ostensibly sets forth the

schools’ compensation policies and plan for ACs. (See Manual at 21-37, Exhibit 5.)

Although much of the text of Procedure Directive is also set forth in the Manual, the

two policies are very different.

      163.   Like the Procedure Directive, the Manual acknowledges that the

payment of incentive compensation based directly or indirectly on starts is

prohibited under applicable regulations and accrediting standards. (Manual at 33.)


                                           43
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 44 of 163



These acknowledgements demonstrate that Defendant Schools knew (and know)

that compensation practices resulting in the payment of incentive compensation

based directly or indirectly on enrolling (or starting) students was strictly

prohibited.

      164.    While Defendant Schools’ written compensation plan appears to

implicate several regulatory safe harbors, the precise terms of the compensation

plan are less than clear. It appears that Defendant Schools attempted to exploit this

ambiguity and vagueness by implementing and using a different compensation

system than what is set forth in the Manual.

      165.    As written, the compensation plan set forth in the Manual appears to

confuse and muddle several of the regulatory safe harbors for the Incentive

Compensation Ban, even though each of the regulatory safe harbors has separate

and distinct provisions and requirements. (See, e.g., Manual at 33 (combining the

elements of several regulatory safe harbors under the same numbered item).)

Although the Manual purports to refer ACs to the Manual’s appendices for more

information about the “safe harbors,” no additional information about the safe

harbors is contained in the appendices. (Id.)

      166.    The Manual states that that “ACs will receive a salary commensurate

with their experience (Appendix 1 – see attached)” and that the compensation “plan

will not be adjusted more than twice annually” (Manual at 25; see also Procedure

Directive 1), in apparent reference to Regulatory Safe Harbor A, which required,

among other things, the “payment of fixed compensation, such as a fixed annual


                                          44
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 45 of 163



salary . . . , as long as that compensation [wa]s not adjusted up or down more than

twice during any twelve month period,” 34 C.F.R. § 668.14(b)(22)(ii)(A) (July 1,

2010). (Notably, however, Appendix 1 does not reveal salary information but only

shows example of “Additional Compensation” that ACs can earn under Defendant

Schools’ incentive bonus program.)

      167.   The Manual also describes an incentive bonus program, explaining

that the “Department of Education allows colleges to compensate ACs for students

who successfully complete an academic year.” (Manual at 25.) The Manual then

purports to set forth Regulatory Safe Harbor E in its entirety, although the

quotation contains several errors. (Id.)

      168.   The Manual next explains Defendant Schools’ incentive bonus

program: “the college has developed a compensation plan based upon students who

complete 36 credits” (“Completion Bonus”). (Manual at 25.)

      169.   The Completion Bonus plan, like the plan stated in the Procedure

Directive, provides that

             ACs will be issued Completion Certificates (CCs – see
             attached) for each student having a value at completion of
             36 credits as shown in Appendix 1. When a student
             named on a CC completes, the AC may redeem the
             CC. . . . Compensation is paid only for students who
             successfully complete 36 credits.

(Manual at 25 (emphasis in original).)

      170.   The Manual makes clear that the Completion Bonuses associated with

the “[C]ompletion [C]ertificates are not part of regular compensation.” (Manual at

28 (emphasis in original); see also Procedure Directive at 6.)

                                           45
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 46 of 163



      171.   The Manual vaguely explains that the Completion Certificates “must

be earned by meeting or exceeding each of the requirements outlined in the

program” and that if the ACs “fail to meet each of the performance criteria, . . . all

Complete Certificates will become null and void and of no value.” (Manual at 28.)

      172.   The only “requirements” and “performance criteria” relating to the

Completion Bonuses contained in the Manual provide that “ACs must be employed

by the college at the time a student completes 36 credits” and “must have provided

support functions such as corresponding on a regular basis with the student after

enrollment, checking on the student’s progress, and helping students with any

question they might have during the duration of the program.” (Manual at 25; see

also Procedure Directive at 2.) The Manual also states that ACs must (1) complete

“Interview Surveys” and (2) accurately enter information relating to inquiries,

referrals, interviews, and enrollments in Defendant Schools’ computer system in

order to earn a Completion Certificate. (Manual at 29-30.)

      173.   No   other   requirements   for   earning   or   redeeming   Completion

Certificates are stated in the Manual.

      174.   The Manual vaguely explains Defendant Schools’ system for assigning

a monetary value for each of the bonus Completion Certificates. (Manual at 30.)

      175.   The written system for assigning a monetary value to the Completion

Certificates bases the assigned value directly on the number of students an AC has

succeeded in starting (or enrolling) at Defendant Schools.          (Manual at 30.)

Specifically, the Manual contains a chart that assigns a “Completion Value” that is


                                         46
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 47 of 163



based on each AC’s “Avg. Starts.” (Manual at 30.)4 The notes to the chart explain

that the relevant “Average” is “the last 3 modules’ performance” in terms of starts.

(Id. (emphasis in original).) Thus, an AC with a three-module average of five (5)

starts per module5 would receive $50 for each Completion Certificate associated

with a student enrolled in a bachelor’s degree program, while an AC with a three-

module average of eighteen (18) starts would receive $700 for each Completion

Certificate. If an AC failed to achieve a minimum three-module average of five (5)

starts per module, the Completion Certificate was worth nothing. Thus, the Manual

itself shows that the “completion” bonus would not be awarded unless an AC

achieved start-related quotas that have nothing to do with the completion of an

academic year of study by a student. Defendant Schools’ written policy therefore

attempted to hide impermissible incentive bonus compensation based on

enrollments within an ostensibly permissible compensation system relating to

students’ completion of one academic year of study.

       176.   If Defendant Schools actually followed the written policies stated in

the Procedure Directive or in the Manual, they would have violated the Incentive

Compensation Ban because they would have paid incentive compensation based

directly on success in securing enrollments. Although Defendant Schools’ written

policy suggested that such bonus compensation related to students’ completion of

one academic year of study, in reality the bonuses were tied directly to

4
  Note the significant differences between the chart contained in the Manual and the charts
contained in the Procedure Directive.
5
 Defendant Schools use their academic “module” as the relevant time period for measuring AC
performance. Each module is approximately one month long.
                                            47
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 48 of 163



enrollments—the bonuses were only paid if ACs achieved certain start quotas.

Defendant Schools’ Completion Bonus plans merely used students who completed

an academic year of study as a convenient way to hide bonuses tied to the

enrollment of other students.

       177.   As explained below, Defendant Schools did not actually pay

compensation pursuant to their written compensation plans.

       178.   On information, Relators believe and allege that Defendant Schools’

written compensation plan was (and is) drafted to deceive the Department of

Education and Defendant Schools’ accrediting agency concerning Defendant

Schools’ compensation practices and to provide cover for Defendant Schools’ actual

compensation practices, which more obviously violate the Incentive Compensation

Ban.

              Ms. Brooks’ Experience with Incentive Compensation

       179.   Ms. Brooks began working at SHC as an AC on March 2, 2009.

       180.   Ms. Brooks was paid a base salary of $42,000 per year,6 and she was

ostensibly eligible to receive bonuses for those students that she enrolled who

completed 36 credit hours (“Potential Bonus Students”).

       181.   While Defendant SHC’s written compensation plan, described above,

stated that Ms. Brooks would receive a Completion Bonus for each and every

student that Ms. Brooks enrolled who completed 36 credit hours of study, SHC




6
  Ms. Brooks’ starting salary was $38,000 per year, which was increased to $42,000 in
September 2009.
                                          48
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 49 of 163



imposed three additional requirements on Ms. Brooks in order to receive these

bonuses.

      182.   Specifically, to receive a “completion” bonus, Ms. Brooks and the other

ACs had to (1) start a total of five (5) students in the same module as the Potential

Bonus Student started, (2) achieve a three-module average of five (5) starts per

module, calculated using the modules before and after the module in which the

Potential Bonus Student started, and (3) attain an interview-to-start ratio

(“conversion rate”) of at least thirty-three percent (33%) in the same module that

the Potential Bonus Student started (collectively, “the Enrollment-Related

Requirements”).

      183.   As a result, SHC’s bonus compensation system, as actually practiced

and carried out, provided incentive payments based directly and indirectly upon Ms.

Brooks’ and the other ACs’ success in securing enrollments. Therefore, SHC’s

compensation system violated the ban on the payment of incentive compensation by

schools receiving Title IV funding, 20 U.S.C. § 1094(a)(20); 34 C.F.R. §

668.14(b)(22)(i), and did not qualify under the then-existing safe-harbor regulations,

34 C.F.R. § 668.14(b)(22)(ii) (July 1, 2010), including Regulatory Safe Harbor A, 34

C.F.R. § 668.14(b)(22)(ii)(A) (July 1, 2010), and Regulatory Safe Harbor E, 34 C.F.R.

§ 668.14(b)(22)(ii)(E) (July 1, 2010).

      184.   Jesse Hafen, the Director of Admissions at Defendant SHC’s Orem

campus, told Ms. Brooks when she began working as an AC that she had to meet

the three Enrollment-Related Requirements in order to receive a single


                                         49
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 50 of 163



“completion” bonus. Mr. Hafen and his assistant applied these Enrollment-Related

Requirements when determining Ms. Brooks’ eligibility for bonuses. Mr. Hafen was

Ms. Brooks’ direct supervisor during her entire tenure at SHC.

      185.   Ms. Brooks was aware from the statements of Mr. Hafen and others

that she would not receive any “completion” bonuses for her Potential Bonus

Students unless she met the three Enrollment-Related Requirements in every

module.

      186.   Ms. Brooks recalls that the version of the Manual that she received

when she first started working for Defendant SHC in March 2009 included a chart

that showed how Defendant SHC determined ACs’ bonuses. That chart associated

particular bonus awards with an AC’s number of starts and three-module average

number of starts. In mid- to late-2009, Defendant SHC demanded that all ACs

surrender all copies of the Manual to management. Defendant SHC then issued a

revised version of the Manual that omitted the chart directly connecting starts to

bonuses. The new version of the Manual that Ms. Brooks and the other ACs

received had been scrubbed of all references connecting start-related performance

measures to bonuses. Even though the Manual omitted such terms and conditions,

in practice, Defendant SHC continued to use starts and other start-related

measures to determine ACs’ bonuses.

      187.   Ms. Brooks was a top performing AC at SHC’s Orem campus. Ms.

Brooks received significant bonus payments, which SHC paid to Ms. Brooks semi-

monthly, or twice a month, with and in addition to her regular paycheck as they


                                        50
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 51 of 163



were earned. Because the bonus payments fluctuated from paycheck to paycheck,

Ms. Brooks’ total monthly compensation also changed from month to month.

         188.   SHC denied Ms. Brooks bonuses for numerous Potential Bonus

Students who satisfied the credit-hour requirement due to her failure to achieve the

Enrollment-Related      Requirements.   For   example,   SHC   denied   Ms.   Brooks

“completion” bonuses for Potential Bonus Students who started in December 2009

because she had an interview-to-start conversion ratio of thirty-two percent (32%),

which was 1% below SHC’s required minimum of thirty-three percent (33%). In

another case, SHC denied Ms. Brooks “completion” bonuses because she only had

three (3) starts in March 2010, below SHC’s required quota of five (5) starts. If Ms.

Brooks had successfully enrolled and started more students during the months in

question, she would have been paid bonuses for all of the Potential Bonus Students

who had started those months. As such, SHC’s bonus system, as actually practiced

and implemented, was structured to maximize the ACs’ enrollment of students.

Because of the way SHC structured the bonus system, the single greatest factor

that determined whether an AC would receive a bonus was the number of students

the AC enrolled and started. All other factors were relatively inconsequential,

including whether any given student completed the required number of credit

hours.

         189.   SHC paid Ms. Brooks numerous bonuses for meeting the Enrollment-

Related Requirements. Ms. Brooks’ bonuses ranged from $300 to $1100 per student.

The amount of the bonus Ms. Brooks received depended on two factors: (1) her


                                         51
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 52 of 163



conversion rate for the module in question—the higher the conversion rate, the

larger the bonus—which is itself an indirect measurement of enrollment (interviews

divided by starts), and (2) whether Ms. Brooks personally generated the potential

student lead on her own, for which she was paid more than if she received it from

another source, such as the call center.

      190.   The bonuses that Ms. Brooks received for meeting the Enrollment-

Related Requirements were substantial. Often, the semi-monthly bonus payments

equaled or exceeded Ms. Brooks’ base salary. For example, on her check from the

pay period December 1 through December 15, 2010, Ms. Brooks’ year-to-date wages

were $31,618.50 (net of taxes and withholdings) while her year-to-date bonuses

were $31,450.00.

      191.   Thus, the bonuses provided a significant incentive to Ms. Brooks and

the other ACs to meet the Enrollment-Related Requirements by enrolling and

starting more students. On information, Relators believe and allege that Ms.

Brooks’ experiences with the bonus compensation system were typical of other ACs

working for Defendant SHC and Defendant Schools generally.

      192.   Defendant SHC’s management communicated start quotas for each

module to each of the campuses, and on information, Relators believe and allege

that administrative officials, including but not limited to Mr. Hafen, were promised

and paid incentives for meeting the start quotas. On information, Relators believe

and allege that the same practices occurred at the other Defendant Schools.




                                           52
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 53 of 163



      193.   On at least three occasions, Ms. Brooks personally received a bonus

because the Orem campus, where she worked, met its overall start goal for the

module.   These   incentive   compensation    payments     violated   the   Incentive

Compensation Ban and do not even potentially qualify for a safe harbor.

      194.   Similarly, SHC and its administrative officials provided each AC with

a personal start goal for each module. On information, Relators believe and allege

that the individual start goals were tailored to each AC in such a way that the goals

always pushed the AC to enroll and start more students. For example, if an AC

routinely started 5 students in a module, SHC would set that AC’s goal as 7 starts;

if an AC routinely started 7 students in a module, SHC would set that AC’s goal as

9 starts. ACs were always expected to enroll and start more students.

      195.   To further incentivize ACs to meet their start quotas, Mr. Hafen would

periodically offer prizes to the ACs for achieving certain numbers of enrollment or

starts (“non-‘completion’ bonuses”). Mr. Hafen would award these prizes through

contests that were based on enrolling or starting new students at SHC. The prizes

usually consisted of cash payments or expensive consumer electronics products. Mr.

Hafen would offer and pay these incentives at least monthly, if not more frequently.

      196.   As an example of one of these “contests,” in or about March 2010, Mr.

Hafen communicated to the ACs at SHC, including Ms. Brooks, that any AC that

met his or her individual goal on the start list would receive an extra $250 on their

paycheck. Further, Mr. Hafen communicated to the ACs at SHC’s Orem campus




                                         53
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 54 of 163



that any AC that met his or her individual goal on the start list would be eligible for

a drawing for a 32” flat screen television.

         197.   On other occasions, Mr. Hafen ran similar contests where he gave

Ipods as prizes. Ms. Brooks, among other ACs, received an Ipod for achieving her

start goals.

         198.   In addition and on many occasions, Mr. Hafen gave free movie tickets

to ACs who met certain goals relating to enrollments, including best interview-to-

start conversion rates or highest starts or enrollments, despite the fact that he

knew that such bonuses are strictly prohibited under federal law. Ms. Brooks, as

well as other ACs, were given free movie tickets for achieving the specified start

goals.

         199.   Additionally, Mr. Hafen would from time to time provide cash

incentives, such as a $20 bill, to the first AC so set up a certain number of

interviews on a particular day or to the first AC to reach a certain number of

enrollments on a particular day.

         200.   Mr. Hafen also ran a contest where the incentive to the ACs for

attaining a certain number of starts and a certain conversion rate was a night’s stay

at a resort in Park City, Utah. Mr. Hafen awarded this prize to another AC.

         201.   Ken Plant, the Executive Director of SHC’s Orem campus, and Dr.

Stephen Babb, the Dean of Education at the campus, openly referred to the

admissions department as the “cesspool” because of the cutthroat competition that

existed between the ACs over the enrollment-related contests.


                                              54
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 55 of 163



      202.   Ms. Brooks is also aware that SHC’s Orem campus paid bonuses to its

FAOs for obtaining financial aid for prospective students. On information, Relators

also believe and allege that the FAOs at Defendant Schools’ other campuses

received large bonuses for completing financial aid award files for students. Such

bonuses also violate the Incentive Compensation Ban. See 20 U.S.C. § 1094(a)(20)

(banning incentive compensation for securing financial aid); 34 C.F.R. §

668.14(b)(22)(i) (same).

      203.   The Department of Education was scheduled to audit SHC’s Orem

campus, where Ms. Brooks worked as an AC, in approximately March 2011. Prior to

the Department of Education’s audit, Barbara Thomas, SHC’s Chief Operations

Officer, “coached” Ms. Brooks and the other ACs to provide acceptable responses to

questions concerning SHC’s enrollment practices. For example, Ms. Thomas made

sure that the ACs were prepared to answer “No” to the question: “Are you pressured

to enroll or start prospective students in any way?” Ms. Thomas worked closely with

Barney and took her instructions directly from him.

      204.   Several times a year, all ACs, FAOs, and directors of admission who

work for SHC and the other Defendant Schools gather at a convention in Las Vegas,

Nevada, to discuss tactics to boost enrollment, among other topics.

      205.   Ms. Brooks attended several Las Vegas conferences in 2009 and 2010.

At these conferences, she met ACs and FAOs from SHC’s other campuses, as well as

from the campuses of the other Defendant Schools. At these conferences, SHC and

the other Defendant Schools would distribute written policy manuals to their ACs.


                                         55
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 56 of 163



      206.   At   these    approximately      quarterly    conferences,   upper-level

management of Defendant Schools specifically reminded ACs from all Defendant

Schools about the requirements for earning bonuses, including the Enrollment-

Related Requirements. All Defendant Schools used the Enrollment-Related

Requirements to determine whether ACs were eligible for bonuses.

      207.   During the conferences, Defendant Schools conveyed a clear message

that enrolling students was the most important measure of success for ACs. One of

the most important awards given out during the Las Vegas conferences is the “rock”

trophy, which is awarded to the campus with the highest three-month average

conversion rate. This award contributes to a corporate culture that prizes any

enrollments or starts, regardless of whether the students who are enrolled are

capable of completing the academic program or can benefit from the education

offered by Defendant Schools.

      208.   Other awards given out to ACs during the Las Vegas conferences are

for the most enrollments or starts by an individual AC and the highest interview-to-

enrollment conversion ratio by an AC. These awards also contribute to a corporate

culture that (1) prizes any enrollments or starts, whether those enrollments or

starts are by qualified students who can benefit from the education offered by

Defendant Schools; and (2) prizes an AC’s ability to convert a potential student into

a tuition-paying student, whether or not the potential student is qualified or can

benefit from the education offered by Defendant Schools.




                                         56
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 57 of 163



      209.   Periodically, the top performing ACs (and their directors) from the

various campuses of Defendant Schools are provided an all-expenses-paid vacation

for “elite” training. Defendant Schools measure performance for this incentive bonus

based on conversion rates, which is a measure of starts. ACs are continually

competing for these top positions. When ACs failed to enroll enough students to

qualify for this benefit, it would motivate them to enroll more students in

subsequent periods so they could qualify for the later trips.

      210.   Relevant to Ms. Wride’s experiences, set forth below, several SHC

faculty members and other employees admitted to Ms. Brooks that many of SHC’s

faculty members did not meet the qualification requirements of the accrediting

standards.

      211.   In approximately March 2011, Ms. Brooks resigned her employment

with SHC after SHC was unable accommodate her with a flexible work schedule,

which she needed in order to care for her two children.

             Ms. Wride’s Experience With Incentive Compensation

      212.   Ms. Wride was hired on or about July 10, 2009, by David Sambrano,

Dean of the Graduate School for SHC’s Orem campus, as an AC for the graduate

school and as an executive assistant to Mr. Sambrano.

      213.   At the time she was hired, Ms. Wride was also a student at SHC,

having enrolled on or about February 25, 2009, in SHC’s respiratory therapy

program.




                                          57
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 58 of 163



      214.   When SHC hired Ms. Wride, Mr. Sambrano and Mr. Hafen told her

that she would receive a bonus for each student that she enrolled in the graduate

school who completed fifteen (15) credit hours of coursework.

      215.   Because there were not enough prospects for the graduate school, Ms.

Wride soon began recruiting students for SHC’s undergraduate programs as well.

      216.   At the time, Mr. Hafen told Ms. Wride that she would also receive a

bonus for each student that she enrolled in SHC’s undergraduate-level programs

who completed thirty-six (36) credit hours.

      217.   Ms. Wride was successful in enrolling students in both SHC’s graduate

and undergraduate schools. Consistent with the statements of SHC’s management

concerning bonuses, Ms. Wride carefully tracked the credit-hour progress of the

students that she enrolled.

      218.   After the first group of the students that Ms. Wride enrolled into

SHC’s undergraduate programs completed thirty-six (36) credit hours in

approximately summer 2010, Ms. Wride went to Mr. Hafen to request her bonuses.

Ms. Wride took the transcripts for the relevant students to Mr. Hafen to

demonstrate that the students completed the requisite credit hours.

      219.   Mr. Hafen filled out a “Certificate of Completion” on behalf of Ms.

Wride and Ms. Wride signed the Certificate, thereby officially requesting

“completion” bonuses.

      220.   Mr. Hafen then took the information to Ken Plant, Executive Director

of the Orem Campus of SHC and regional director of SHC’s southern region.


                                         58
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 59 of 163



      221.   About a week later, Mr. Hafen told Ms. Wride that she would receive

bonuses for some, but not all, of the students that she enrolled. When she asked

Mr. Hafen why she was not receiving bonuses for all of the students she enrolled,

Mr. Hafen told her she had to discuss the matter with Mr. Plant.

      222.   Ms. Wride went to Mr. Plant to discuss the issue and asked why she

was not receiving bonuses for all of the students that she enrolled, as she was

promised.

      223.   Mr. Plant told her that she was not eligible to receive the “completion”

bonuses because she had not met all the requirements to receive them. Mr. Plant

informed her that there were other Enrollment-Related Requirements for receiving

bonuses that applied to all of the other ACs and that she also had to meet those

requirements in order to receive a bonus.

      224.   Specifically, Mr. Plant told Ms. Wride that she was not eligible for

bonuses on the other students because she had not met the required number of

starts. Mr. Plant told Ms. Wride that the reason she did not receive a bonus for the

some of the students she enrolled who completed the required number of credit

hours is because she “didn’t meet the starts that everybody else has to meet” and

failed to meet the three-module start average requirement that applied to all other

ACs’ bonuses.

      225.   Mr. Plant referred Ms. Wride back to Mr. Hafen to discuss the

Enrollment-Related Requirements in detail. Mr. Hafen told Ms. Wride that in order

to receive a “completion” bonus, she also had to achieve a certain number of starts


                                            59
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 60 of 163



in the same module as the Potential Bonus Student started. Specifically, Mr. Hafen

told Ms. Wride that she had to start at least six (6) students per module in order to

qualify for the bonus. In addition, Mr. Hafen told Ms. Wride that she also had to

have a three-module average of six (6) starts. Mr. Hafen told Ms. Wride that she

had to achieve these other requirements during the same module as the Potential

Bonus Student had started. (Ms. Wride believes that SHC did not impose the

conversion-rate requirement on her because she was not a full-time AC and split

her time as an administrative assistant. Because Ms. Wride did not have regular

“interviews” with potential students, like the other ACs, SHC could not compute a

conversion rate for her.)

      226.   This same process—in which Ms. Wride would demonstrate that

students she enrolled had completed the required number of credit hours to Mr.

Hafen, and Mr. Hafen would confer with Mr. Plant about whether Ms. Wride met

the other Enrollment-Related Requirements—continued for several months.

      227.   Ms. Wride did receive bonus payments when she met the Enrollment-

Related Requirements, which SHC paid her semi-monthly, with and in addition to

her regular paycheck as they were earned. Because the bonus payments fluctuated

from paycheck to paycheck, Ms. Wride’s total monthly compensation also changed

from month to month.

      228.   Over the course of her employment with SHC, Ms. Wride received four

(4) or five (5) bonus payments, each totaling from $1,200 to $4,000. Because Ms.

Wride’s base salary was approximately $33,000 per year when she started (which


                                         60
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 61 of 163



SHC later increased to $37,000 per year), the bonus payments she received were

large relative to her base salary. Occasionally, the bonus payments exceeded Ms.

Wride’s base semi-monthly salary.

          229.   Ms. Wride received these “completion” bonuses only because she met

the Enrollment-Related Requirements of six (6) total starts in the same module that

the Potential Bonus Student started, as well as a three-module average of six (6)

starts.

          230.   Ms. Wride is aware that SHC paid bonuses on a similar basis to the

other ACs.

          231.   Additionally, several ACs also served as FAOs when needed. Ms.

Wride is aware that FAOs were paid large bonuses based on the number of students

“pushed through” the financial aid system. Such bonuses violate the Incentive

Compensation Ban.

          232.   Ms. Wride is also aware of the non-“completion” bonuses offered to ACs

to motivate them to enroll students. On at least a monthly basis, Mr. Hafen would

offer bonuses to ACs for attaining certain enrollment-related goals, such as best

interview-to-start conversion rate, the first AC to achieve a certain number of

enrollments in a given time period, or for the most number of starts or enrollments

in a certain period of time, despite the fact that he knew that such bonuses are

strictly prohibited under federal law. Mr. Hafen was constantly trying to find prizes

for his bonus contests. These bonuses usually took the form of cash payments or

expensive consumer electronics products, such as Ipods. On one occasion, Mr. Hafen


                                            61
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 62 of 163



raffled a big-screen television as the prize. ACs were only eligible to participate in

the raffle if they attained certain enrollment objectives.

      233.   On many occasions, Mr. Hafen gave free movie tickets to ACs who met

certain goals, including best interview-to-enrollment conversion rates or the most

starts or enrollments.

      234.   Mr. Hafen told the ACs not to tell anyone about these bonuses because

he admitted that he could get in trouble for them.

      235.   Ms. Wride also attended many of the Las Vegas conferences in 2009

and 2010, where Defendant Schools emphasized that enrolling students was the

most important measure of success for ACs, regardless of whether the students who

were enrolled were capable of completing the academic program or could benefit

from the education.

        Bonuses Paid To Admissions Consultants at Other Campuses

      236.   Consistent with the experiences of Relators, as set forth above, the

other campuses of Defendant Schools paid bonuses to ACs based on starts and/or

their interview-to-start ratio—the “conversion rate,” which is also a measure of

success in enrolling students. Numerous ACs at Defendant Schools’ other campuses

received such bonuses over various years.

      237.   Defendant Schools’ other campuses paid the bonuses to the ACs on

substantially the same basis as Relators received them. For example, if the ACs

failed to satisfy the Enrollment-Related Requirements, they were not paid bonuses

for students who completed the requisite number of credits, just like Relators.


                                           62
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 63 of 163



      238.   During certain periods, the Director of Admissions over the Boise and

Nampa, Idaho, campuses would fill out the value of the “Completion Certificates,”

described further herein, based on starts and/or interview-to-start rate. If the AC

failed to achieve the enrollment-related requirements, the Director of Admissions

would put a zero value on the Completion Certificates. On information, Relators

believe and allege that the Campus Director over the Idaho Falls campus of

Defendant Schools adopted the same AC compensation practices.

      239.   ACs at Defendant Schools’ Wyoming and Colorado campuses were also

paid bonuses based on the interview-to-start rate, or the conversion rate, and the

number of starts.

      240.   On information, Relators believe and allege, for the reasons set forth

elsewhere in this Third Amended Complaint, that ACs at all of Defendant Schools’

campuses were paid bonuses based on their success in enrolling students on

essentially the same basis as Relators.

      241.   On information, Relators believe and allege that some ACs at

Defendant Schools’ campuses were paid as much as $50,000.00 to $60,000.00 per

year in bonuses.

      242.   On information, Relators believe and allege that it was “common

knowledge” among employees at Defendant Schools’ campuses, including among the

ACs, that bonuses were paid based on the number of starts (and similar measures

of enrollment success), not based on the quality of the potential student enrolled or

whether the student actually graduated.


                                          63
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 64 of 163



                 Defendant Schools Closely Track ACs’ Starts

      243.   Defendant Schools closely monitor and track the starts of each AC on a

daily, weekly, and annual basis. Each AC’s enrollment activity was (and is) included

in “Daily Admissions Reports” and monthly “Admissions Performance Reports,”

which, on information and belief, were (and are) distributed to the ACs of

Defendant Schools. Because these reports list the performance of other ACs, ACs

are invited to compare the number of students they enrolled with the numbers

achieved by other ACs and to compete to enroll the most students. Those ACs who

enrolled the most students received special recognition and valuable rewards.

      244.   Defendant Schools emphasize the importance of enrollments and starts

to the ACs by providing these performance reports to ACs on a regular basis. For

example, each day, Defendant SHC provided a Daily Admissions Report to each of

its ACs. This report showed the number of starts that each AC at each of Defendant

Schools had obtained during the module and invited ACs to compare their starts

against other ACs. On information, Relators allege and believe that all Defendant

Schools provide the Daily Admissions Reports to all ACs on a daily basis to foster

competition among the ACs over the number of the starts they generate.

      245.   Defendant Schools identify three “Top Achievers” across all Defendant

Schools on the Admissions Performance Reports that are circulated to each AC at

each Defendant School after each module. The “Top Achievers” identified on these

reports are selected based on the number of starts generated during the module in

question.


                                        64
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 65 of 163



      246.   The Procedure Directive mentions that a “Company-wide Top

Achievers report,” which “ranks the results of all currently employed Admissions

Consultants and enrolling Directors of Admission,” is distributed to all Campus

Directors and Directors of Admission. (Procedure Directive at 5, Exhibit 6.)

      Enrollment-Related Bonuses Paid to Supervisors and Managers

      247.   In addition to bonuses paid to ACs and FAOs, Defendant Schools also

paid bonuses to Campus Directors, Deans, Assistant Deans, and Directors of

Admission for achieving certain enrollment-related quotas or goals. For example,

Campus Directors were paid bonuses on a quarterly basis according to “Bonus

Plans” issued by Defendant Schools. Campus Directors were allowed to allocate

possible bonus money in their Bonus Plans to several performance criteria set by

Defendant Schools. The criteria included in the Bonus Plans included the following

enrollment-related categories: interview conversion (interview-to-start ratio),

retention, and upgrades. The “Upgrade” category referred to the number of students

the campus convinced to enroll in a more advanced degree. For example, turning an

associate’s degree student into a bachelor’s degree student was considered an

“upgrade.” All three of these criteria are a direct or indirect measure of success in

enrolling students, and the Incentive Compensation Ban prohibits the payment of

any type of bonus relating to such measures.

      248.   Campus Directors, including the former Campus Director at the

Wyoming campus of Defendant Schools, received bonuses for successfully achieving

benchmarks that were directly and indirectly tied to enrolling students. On

information, Relators believe and allege that the Campus Directors over the Boise
                                        65
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 66 of 163



and Nampa campuses in Idaho and over the Phoenix campus in Arizona also

received bonuses based on the interview conversion rate of their recruiters. These

bonuses did not even ostensibly qualify for any regulatory safe harbor and violated

the Incentive Compensation Ban.

      249.   On information, Deans and Assistant Deans were also paid based on

Bonus Plans that included criteria tied to enrollments—specifically retention and

upgrades. These bonuses did not even ostensibly qualify for any regulatory safe

harbor and violated the Incentive Compensation Ban.

      250.   On information, Relators believe and allege that Defendant Schools

paid bonuses to Directors of Admission for achieving certain enrollment-related

quotas or goals. These bonuses did not even ostensibly qualify for any regulatory

safe harbor and violated the Incentive Compensation Ban.

             The Effects of Defendant Schools’ Unlawful Practices

      251.   Defendant Schools’ incentive compensation practices and emphasis on

enrollments, regardless of a student’s ability to benefit from the education, resulted

in ACs enrolling students who were incapable of benefitting from the educational

programs. For example, Ms. Brooks and Ms. Wride observed other ACs enrolling

students with severe cognitive disabilities, as well as others with severe mental

disabilities. One such student spent class time talking to inanimate objects.

Relators are also aware that at least one AC affirmatively recruited “students” from

known homeless populations, persuading them to enroll by telling them that taking

classes would give them a warm place to go during poor weather.


                                         66
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 67 of 163



      252.   These are not isolated incidents. At Defendant Schools’ Colorado

Springs campus, the Schools’ administration ensured that a student with severe

cognitive disabilities was allowed to enroll, over the objections of lower-level

employees. According to sworn testimony from a former employee and relatives of

the student, this student had a “mental disability” that was readily apparent even

to children who interacted with him; would routinely express “incoherent” thoughts;

had “delayed and choppy” speech; would ask the same questions repeatedly in a

conversation, with no apparent recollection of the earlier answers; and, according to

the dean of the school, “shouldn’t have been in school” at Defendant Schools. Even

though the student, due to his cognitive disabilities, lived with parents, Defendant

Schools failed to even disclose to his parents that the student was taking classes

and incurring “an exorbitant amount in student loans”—in excess of $50,000. It

appears that someone at Defendant Schools even went so far as to ghost write a

letter for the student in order to allow him to continue taking classes, so the Schools

could continue receiving funding from Title IV, HEA Programs for the student, after

he failed numerous classes and was placed on academic probation.

      253.   Similarly, an instructor at Defendant Schools’ Ft. Collins, Colorado,

campus from January 2008 to October 2010, stated under oath that she “had

several mentally challenged students who were unable to pass their classes and

eventually dropped out.” However, “[b]efore those students eventually dropped out,

[she] was counseled by the Dean of Education and then the President of the campus,

Joel Scimeca, to pass those students along even though they were failing.”


                                          67
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 68 of 163



      254.   On information, Relators believe and allege that at certain times

relevant to this Third Amended Complaint, some of Defendant Schools’ Idaho ACs

specifically targeted their recruiting efforts at single mothers at government

assisted daycare facilities and visitors to payday lending and government assistance

offices. These recruiting techniques were authorized by Jesse Hafen when he was

acting as Regional Director.

      255.   On information, Relators believe and allege that the Idaho campuses of

Defendant Schools enrolled homeless students, including students who lived in

vehicles outside of the campus, so that certain ACs would hit their start quotas to

be eligible for bonuses. On information, Relators believe and allege that Defendant

Schools’ Salt Lake City/Murray campus enrolled students who were obviously

homeless.

      256.   At Defendant Schools’ Denver campus, prospective students receiving

food stamps and other government assistance were enticed to enroll in the Schools

with promises of tuition “discounts” that still required them to incur tens of

thousands of dollars in debt from Title IV, HEA Programs.

      257.   When ACs did not receive bonuses for failing to achieve the

Enrollment-Related Requirements, they would focus on achieving those numbers in

subsequent periods. The bonus structure motivated ACs to focus on starts and,

particularly, starting every prospect.

      258.   The incentives to enroll students caused ACs to misrepresent facts to

potential students. As one AC explained in sworn testimony, “[m]any admission


                                         68
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 69 of 163



representatives would tell prospective students anything to get them enrolled in the

school in order to make their quotas to earn bonuses.”

      259.   It was a common practice among ACs at Defendant Schools’ Salt Lake

City/Murray campus and their campuses throughout Colorado to recruit students

into the Medical Specialties program by telling the students they could upgrade to

the nursing program. However, only a very small percentage of graduates from the

Medical Specialties program were accepted into nursing programs—a fact that was

hidden from the prospective students.

      260.   This is just one example of the misleading information that ACs used

to recruit students to enroll for the purpose of obtaining bonuses. Indeed, Defendant

Schools have been found to have engaged in misleading advertising by the Board of

the Colorado Department of Private Occupational Schools. In 2012, the Board

determined that Defendant Schools’ Colorado campuses had used “student aid as an

inducement to enroll in violation of the deceptive sales and trade provision[s]” of

Colorado law.

      261.   Similarly, Defendant Schools’ incentive compensation practices, which

motivate ACs to use high-pressure sales tactics, resulted in ACs unduly influencing

and persuading prospective students with serious misgivings about enrolling in

school and assuming significant debt to pay for school to enroll in Defendant

Schools. For example, although many prospective students who “interviewed” at

Defendant SHC’s Orem campus expressed a desire to enroll in academic programs

that Defendant SHC’s Orem campus did not offer, ACs at the Orem campus were


                                         69
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 70 of 163



instructed to convince the prospective students that they should study one of the

four programs that the Orem campus offered. Defendant Schools’ pressured

enrollment of students has resulted in numerous students dropping out of the

programs and defaulting on loans provided under the Title IV, HEA programs.

      262.   For example, Defendant SHC’s FY2008 three-year cohort default rate

was 24.25%. The FY2008 three-year cohort default rates for the other Defendant

Schools were as follows: Defendant CAA: 39.74%; Defendant CAD: 32.02%; and

Defendant CCSD: 30.67%. See Department of Education, FY2008 Cohort Default

Rates (Updated April 2011), Column: “Trial 3-Year Default Rate,” available at

http://studentaid.ed.gov/about/data-center/student/default.

      263.   The 2010 two-year cohort default rate for Defendant SHC’s students

was 19.7%. The 2010 two-year cohort default rates for the other Defendant Schools

were as follows: Defendant CAA: 19.9%; Defendant CAD: 26.2%; and Defendant

CCSD: 15.3%. See Department of Education, Official 2-Year Cohort Default Rate

Search for Postsecondary Schools (Fiscal Years 2010, 2009, 2010), available at

http://www.nslds.ed.gov/nslds_SA/defaultmanagement/search_cohort _2yr.cfm.

      264.   The high-pressure sales tactics that Defendant Schools teach their ACs

and incentivize through illegal bonuses have resulted in an astonishing dropout

rate at Defendant Schools. For example, according to Defendant CollegeAmerica’s

own data, more than 70% of students who enroll at the school dropout before

graduating, 26% dropout within 90 days of the beginning of their term, and 46% of




                                         70
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 71 of 163



all students dropout within 180 days. Almost all of these students incur debt from

Title IV, HEA programs, often tens of thousands of dollars in debt.

      265.   Graduation rates at Defendant Schools are dismal. For example, for

the 2010-11 academic year, the mean graduation rate among Defendant Schools

was a scant 40%. (Information reported from the mean across all reporting

Defendant Schools; information derived from data available from Department of

Education’s Integrated Postsecondary Education Data System.)

      266.   Defendant Schools’ use of the interview-to-start conversion rate as the

measure of performance for many, if not most, of their incentive compensation

programs has a particularly perverse effect on ACs’ recruiting practices. Whereas

pure start-based quotas do not punish AC’s for determining that a particular

prospect is not genuinely interested in Defendant Schools’ programs or cannot

benefit from the education that Defendant Schools provide, the conversion rate

measures ACs on their ability to convince each and every prospect to enroll,

regardless of whether the student really desires to attend or can actually benefit

from the education. The use of the conversion rate as a measure of AC

performance—and determining eligibility for bonuses based on that measure—

punishes ACs for determining that, for example, a prospective student cannot

benefit from Defendant Schools’ programs or does not want to study the programs

offered at a particular campus. Because the conversion-rate metric punishes ACs

who determine a prospective student is not a good fit for the school, it deters ACs




                                         71
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 72 of 163



from even attempting to elicit information from a prospective student that might

reveal the student is not a good fit.

Defendant Schools Have the Same Management and Policies, Which Were
                     Formulated by Carl Barney

      267.   Until January 1, 2013, when Defendant Schools merged into CEHE,

Carl Barney was the sole shareholder and owner of Defendant Schools. As the sole

shareholder of Defendant Schools, Barney was motivated to maximize the Schools’

revenues and profits. In 2010, Barney received a distribution from the Schools of

$23,864,000.00. This was in addition to the $28,954,000.00 that Defendant Schools

paid to CollegeAmerica Services, Inc., another company wholly owned by Barney, as

well as $3,485,000.00 that Defendant Schools paid to companies owned by Barney

associated with leasing real estate.

      268.   Similarly, in 2011, Barney received a shareholder distribution from

Defendant Schools of $39,356,000.00. This was in addition to the $30,809,000.00

that Defendant Schools paid to Barney’s company CollegeAmerica Services, Inc., as

well as $4,323,000.00 that Defendant Schools paid to companies owned by Barney

associated with leasing real estate.

      269.   On information, Relators believe and allege that Barney was a

corporate director of each Defendant School until their merger. On information,

Relators believe and allege that Barney continues to maintain a central

management role in CEHE and the individual schools that are now part of CEHE.

Barney has played and continues to play an active and central role in all significant



                                         72
     Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 73 of 163



management decisions of Defendant Schools, including their policies and practices

relating to compensation.

       270.   On information, Relators believe and allege that Barney was the

corporate president of each Defendant School until their merger or held that

position with each Defendant School in the recent past.

       271.   Barney helped to formulate the policies and practices of all Defendant

Schools, particularly policies and practices related to AC compensation. According

to   Defendant   Schools’   Chief   Executive   Officer’s   sworn   testimony,   “[t]he

compensation plans at issue in this case relating to [Defendant Schools’] Admissions

Consultants were created in-house with the primary involvement of Carl Barney

(Chairman and formerly the sole shareholder) and Barbara Thomas (Chief

Operating Officer at the time)” and “[t]he compensation plans were primarily

created by Mr. Barney.”

       272.   Barney also personally authored and sent numerous “Procedure

Directives,” “Management Memos,” and “Information Letters”—categories of official

corporate communication he devised—to campus directors, deans, and other

employees, including ACs. These messages were mostly sent from Barney’s personal

email address. Often, Barney would require employees to acknowledge their receipt

of his communications by requiring written confirmation from them, and he would

track whether the employees had sent their acknowledgments. As a result of

Barney’s personal involvement in establishing business policies and practices for

each Defendant School, Defendant Schools have (and had at all times relevant to


                                         73
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 74 of 163



this Third Amended Complaint) identical policies and practices with respect to

employee compensation and bonuses.

      273.   Barney personally signed PPAs for Defendant Schools at various

times, including the 2001 PPA for Defendant SHC.

      274.   Defendants Schools collectively used CollegeAmerica Services, Inc.,

another company owned, managed, and operated by Barney, to provide centralized

management and operational support to each of Defendant Schools. CollegeAmerica

Services, through Barney, may have also played a role in establishing collective

policies and practices for all Defendant Schools, including policies and practices

relating to AC compensation. As of January 1, 2013, CollegeAmerica Services also

merged into CEHE. According to Barney’s sworn testimony, CollegeAmerica

Services “continues to provide the same services . . . as a division of CEHE.”

      275.   All Defendant Schools compile information about the performance of

ACs at each of their campuses into a single report, which, on information and belief,

all Defendant Schools distribute to each of their ACs. On some of these reports,

Defendant Schools rank their ACs based on the number of starts, and the ACs from

all Defendant Schools are ranked on the same scale and compared with one

another. These reports specifically recognize the achievement of the top three ACs,

measured in terms of starts during the last module, from across all Defendant

Schools. Thus, the top three achieving ACs for any given report could be from

different Defendant Schools. Such practices serve to highlight how Defendant




                                          74
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 75 of 163



Schools employ collective policies and standards for ACs and, particularly, for

measuring ACs’ performance.

      276.   All Defendant Schools collectively publish a single course catalog for

distribution to students and prospective students.

      277.   All Defendant Schools prepare a single employment manual for ACs

(i.e., the Manual), which, on information and belief, all Defendant Schools provide

to all new ACs.

      278.   Defendant Schools use the same application form for employees and

share human resource functions.

      279.   All Defendant Schools send their ACs to the same conventions in Las

Vegas on approximately a quarterly basis. At these conventions, ACs from all

Defendant Schools are provided the same instruction and training—including

instruction about Defendant Schools’ compensation system for ACs and the

Enrollment-Related Requirements for bonuses. At these combined conventions,

Defendant Schools also collectively recognize the top achievers among all Defendant

Schools, which recognition is typically based on the number of starts.

      280.   Defendant Schools have shared policies and practices for almost all

aspects of their businesses, including for employee compensation and bonuses.

Because Defendant Schools use the same compensation practices, Relators’

experiences at Defendant SHC’s Orem campus are materially similar to the

experiences of ACs at Defendant SHC’s other campuses and at all other Defendant

Schools. Likewise, the experiences of other employees, including campus directors,


                                         75
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 76 of 163



at certain campuses were materially similar to the experiences of other similarly

situated employees at other compauses

      D.     Defendant Schools’ Compensation Practices Did Not Qualify for
             Regulatory Safe Harbor

      281.   As previously set forth in this Complaint, in 2002, the Department of

Education issued regulations accompanying the Incentive Compensation Ban to

clarify that under regulatory safe harbors, schools could pay certain types of

compensation without violating the Incentive Compensation Ban. The Department

of Education eliminated these regulatory safe harbors in 2011.

      282.   Under Regulatory Safe Harbor A, schools were allowed to pay “fixed

compensation, such as a fixed annual salary or a fixed hourly wage, as long as that

compensation [wa]s not adjusted up or down more than twice during any twelve

month period, and any adjustment [wa]s not based solely on the number of students

recruited,   admitted,     enrolled,     or   awarded   financial   aid.”   34   C.F.R.

§ 668.14(b)(22)(ii)(A) (July 1, 2010).

      283.   Defendant Schools’ above-described conduct, however, did not fall

within the purview of, or satisfy, Regulatory Safe Harbor A for several reasons.

      284.   First, Defendant Schools’ compensation system, as practiced, was not

eligible for Regulatory Safe Harbor A because the compensation at issue was not

“fixed compensation” within the meaning of Regulatory Safe Harbor A. Instead of a

permissible “fixed annual salary” or “fixed hourly wage,” the compensation at issue

was a form of incentive compensation—bonuses. Indeed, Defendant Schools

themselves stated that the bonus payments were “not part of regular

                                              76
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 77 of 163



compensation.” The bonuses were not “fixed compensation” because they constantly

fluctuated in value—worth anywhere from nothing to many thousands of dollars.

Additionally, the bonuses were not an hourly wage—they did not depend on the

number of hours worked. Nor were they a form of salary—they were not regular

payments of a certain amount.

      285.   Second, because Defendant Schools paid the “completion” bonuses

semi-monthly with and in addition to the regular paycheck, as the ACs earned the

bonuses, the bonus payments caused ACs’ compensation to fluctuate paycheck to

paycheck. Stated otherwise, Defendant Schools adjusted ACs’ compensation up or

down twice each month—much more than twice during any twelve-month period.

      286.   Third, with respect to the non-“completion” bonuses that Defendant

SHC offered and paid to ACs, such bonuses were based solely and exclusively on

enrollments. Such bonuses ran afoul of Regulatory Safe Harbor A, which expressly

required that “any adjustment” in an ACs compensation “not [be] based solely on

the number of students recruited, admitted, [or] enrolled.”

      287.   Under Regulatory Safe Harbor E, schools were permitted to pay

“[c]ompensation that [wa]s based upon students successfully completing their

educational programs, or one academic year of their educational programs,

whichever is shorter.” 34 C.F.R. § 668.14(b)(22)(ii)(E).

      288.   Defendant Schools’ above-described conduct, however, did not fall

within the purview of, or satisfy, Regulatory Safe Harbor E for several reasons.




                                          77
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 78 of 163



      289.   First, Defendant Schools did not pay the “completion” bonuses “based

upon” a student’s success in completing one academic year of study but instead paid

bonuses to ACs for achieving the Enrollment-Related Requirements.        Defendant

Schools structured the “completion” bonus requirements so that the Enrollment-

Related Requirements determined whether an AC received a bonus. Unless an AC

had met the minimum Enrollment-Related Requirements, the AC would receive no

bonuses at all, irrespective of the number of students who had completed the

required credit hours. Under Defendant Schools’ compensation practices, an AC

responsible for dozens of completing students would receive no bonus compensation

if she failed to meet the Enrollment-Related Requirements, while another AC who

had just one completing student could receive a substantial bonus for meeting the

Enrollment-Related Requirements. The “completion” bonus was not “based upon”

completions—the completions were just an administratively expedient way to try to

hide the real criteria for the bonuses: the Enrollment-Related Requirements.

      290.   Because the Enrollment-Related Requirements were far more difficult

for ACs to attain, meeting the Enrollment-Related Requirements motivated AC

activity. Although Regulatory Safe Harbor E was expressly designed to motivate

recruiters, such as ACs, to focus on the quality of a potential student recruitment,

rather than on the sheer number of students recruited, Defendant Schools’

“completion” bonus system, by imposing the Enrollment-Related Requirements,

returned the focus to the sheer number of students each AC enrolled.




                                        78
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 79 of 163



      291.   For example, under Defendant Schools’ “completion” bonus program,

an AC who, in a given module, carefully recruits four (4) students who each

complete their first year of study receives no bonuses, while another AC who uses

high-pressure sales tactics to recruit eight (8) students of dubious quality, only two

(2) of which complete their first year of study, receives substantial bonuses. Because

the average student at Defendant Schools receives at least some form of Title IV

funding assistance, in both cases the Department of Education is likely paying

significant sums to help the students pay for tuition at Defendant Schools. In the

first case, the Department of Education has received good value for its investment—

four students who are likely to graduate. In the latter case, the Department of

Education has not received a good value for its investment—it paid for eight

students, but received only two who were likely to graduate. However, Defendant

Schools financially benefit more from the latter recruiter, who has generated eight

students paying tuition using Title IV funding, than from the first recruiter, who

has only generated four tuition-paying students. Defendant Schools’ compensation

system was designed to encourage the latter, even though it is contrary to the letter

and spirit of Regulatory Safe Harbor E.

      292.   Second, none of the regulatory safe harbors, other than Regulatory

Safe Harbor A, permitted schools to consider an employee’s success in enrolling

students as any part of the compensation decision. As a result, Defendant Schools’

use of the Enrollment-Related Requirements as part of the “completion” bonus




                                          79
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 80 of 163



program removed such compensation from the protections afforded by Regulatory

Safe Harbor E.

      293.   Third, none of non-“completion” bonuses that Defendant SHC offered

and paid to ACs qualified for protection under Regulatory Safe Harbor E because

none of those bonuses was related in any way to a student’s completion of one year

of study. Instead, all of the non-“completion” bonuses were directly tied to the ACs’

success in enrolling and starting students.

      294.   Consequently, Defendant Schools’ compensation system, as practiced,

violated the Incentive Compensation Ban and did not qualify for protection under

the regulatory safe harbors.

 Defendant Schools Knowingly Violated the Incentive Compensation Ban

      295.   Under the False Claims Act,

             the terms “knowing” and “knowingly”—

             (A) mean that a person, with respect to information—

             (i) has actual knowledge of the information;

             (ii) acts in deliberate ignorance of the truth or falsity of
             the information; or

             (iii) acts in reckless disregard of the truth or falsity of the
             information; and

             (B) require no proof of specific intent to defraud.

31 U.S.C. § 3729(b)(1).

      296.   Defendant Schools knew that their compensation practices violated the

Incentive Compensation Ban and did not qualify for any regulatory safe harbors.

Consequently, when Defendant Schools made statements and certifications in their

                                           80
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 81 of 163



PPAs and other documents, such as compliance audit Management Assertions, G5

Certifications, school certifications associated with FDLP and FFELP loans, and

MPNs, regarding their compliance with the Incentive Compensation Ban and

eligibility for Title IV funding, those statements were knowingly false. Defendant

Schools’   compensation    practices   are    inconsistent   with   Defendant   Schools’

statements and certifications of compliance in their PPAs, compliance audit

Management Assertions, and other documents.

      297.   At the time that Defendant Schools stated in their PPAs and other

documents that they would not make incentive payments to admissions personnel

based on their success in securing enrollments, Defendant Schools knew that they

were paying, and planned to continue to pay, admissions personnel incentive

payments based directly on their success in securing enrollments.

      298.   Defendant Schools knew that their misrepresentations regarding

compliance with the Incentive Compensation Ban would result in the payment of

federal funds and that a reasonable and foreseeable consequence of such

misrepresentations was that such funds would be paid out.

      299.   Defendant Barney, who personally authored Defendant Schools’

compensation policies, has in the past admitted knowing that the relevant

“regulations . . . prohibit any kind of incentive, bonus, commission, payable to

admissions personnel based on recruiting students.” (emphasis added). Barney has

explained that the Inventive Compensation Ban is so fundamental, “[i]t’s known by

everybody . . . who has student federal financial aid.”


                                             81
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 82 of 163



      300.   Barney has in the past admitted that he understands that payment of

incentive compensation for recruiting students is a “serious violation” that carries

with it “adverse consequences” for schools that engage in the practice. Barney has

stated that he is aware that the payment of incentive compensation “is a violation of

federal regulations” of a “serious nature.”

      301.   Defendant Schools’ Manual discusses the Incentive Compensation Ban

in detail, including the requirements for the regulatory safe harbors. Defendant

Schools’ Manual states that “[a]ccording to Federal Regulations [sic] . . . bonuses,

commissions or other incentive payments may not be paid to any employee based,

directly or indirectly, on starts. (Manual at 33 (emphasis in original), Exhibit 5.)

The Manual then sets forth the pertinent parts of the Incentive Compensation Ban

in full. (Id.) The Manual concludes that “according to the regulation, incentives

relating to enrolling students is generally prohibited.” (Id.)

      302.   The Manual also explains and summarizes, generally correctly, the

applicable regulatory safe harbors. The Manual attempts to explain how Defendant

Schools’ written compensation plan falls within Regulatory Safe Harbor E.

However, Defendant Schools’ actual compensation practices are materially different

from their written compensation plan. These differences remove Defendant Schools’

compensation practices from the protection afforded by Regulatory Safe Harbor E,

as well as all other regulatory safe harbors.

      303.   That Defendant Schools knew their compensation practices violate the

Incentive Compensation Ban is demonstrated by the material differences between


                                           82
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 83 of 163



Defendant Schools’ written compensation plan, as set forth in Manual, and

Defendant Schools’ actual compensation practices. On information, Relators believe

and allege that Defendant Schools prepared the written compensation plan for the

Manual to demonstrate to the Department of Education and ACCSC that its

“official” compensation plan complied with the Incentive Compensation Ban and

applicable regulatory safe harbors. On information, Relators believe and allege that

Defendant Schools failed to include their actual compensation practices in the

Manual because they knew that such practices violated the Incentive Compensation

Ban and failed to qualify for protection under the regulatory safe harbors.

      304.    That Defendant Schools knew that their compensation practices

violated the Incentive Compensation Ban and did not qualify under any of the

regulatory safe harbors is also demonstrated by the fact that in 2009, Defendant

Schools retrieved (or attempted to retrieve) all copies of their Manual that

contained charts and other possible information revealing that Defendant Schools

determined ACs’ bonuses based, at least in part, on the number of students each AC

started and each AC’s three-module average number of starts. Although Defendant

Schools did not modify their compensation practices in any material way when they

revised the Manual—and specifically continued to base AC bonuses on start-related

performance    measures,   specifically   the   Enrollment-Related   Requirements—

Defendant Schools removed all references to such practices in their written Manual

because they knew that such practices were unlawful.




                                          83
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 84 of 163



      305.   Defendant SHC’s Director of Admissions for the Orem campus

admitted knowing that Defendant SHC’s non-“completion” bonuses were not lawful.

      306.   Additionally,   as   described   above,   Defendant   Schools’   senior

management “coached” ACs at Defendant SHC’s Orem campus about how to

respond to inquiries from auditors from the Department of Education concerning

the propriety of Defendant SHC’s enrollment practices, demonstrating that

Defendant Schools knew their enrollment practices were inappropriate.

      307.   In another example of Defendant Schools’ most senior management

coaching ACs to lie to regulators about the bonuses—and specifically about whether

the bonuses were tied to enrollments—Cristi Brougham, who was an AC at

Defendant Schools’ Denver campus, was told by Defendant Schools’ Chief Operating

Officer, Barbara Thomas, and other senior management to lie to regulators from the

Colorado Board of Education about how bonuses were paid at the Schools. Ms.

Brougham understood that the bonuses were based on the ACs’ starts and interview

conversion rate, as alleged elsewhere herein. When regulators from the Board of

Education visited the Denver campus in February 2011, Ms. Brougham was

selected to participate in what was supposed to be a confidential interview with the

regulators. Before she went into the room with the regulators for the interview, Ms.

Thomas and the campus’s director, Nathan Larson, took her aside. Ms. Thomas and

Mr. Larson told Ms. Brougham how to respond to questions about AC bonuses,

specifically telling her that if asked about bonuses, she should tell them “we don’t

give bonuses based on enrollments.” They told her to avoid suggesting bonuses were


                                         84
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 85 of 163



based on starts, even though they were. As Ms. Brougham explained in sworn

testimony, “I was instructed to lie to the auditors about the bonuses received by

admissions representatives.” After the meeting, which was supposed to be

confidential, Ms. Thomas and Mr. Larson took Ms. Brougham aside and asked her

what questions she was asked by the regulators and what answers she had given

them.

        308.   Ms. Brougham also recalls that white boards in the office where the

ACs worked, which had the recruitment statistics for all of the ACs listed, were

erased just before regulators and accreditors visited the campus.

        309.   On information, Relators believe and allege that Defendant Schools’

management had similar discussions with ACs and employees of other campuses to

cover up Defendant Schools’ true compensation practices.

        310.   In 2012, ACCSC scheduled a “surprise” visit to various campuses of

Defendant Schools. Although the visits were considered unannounced, Defendant

Schools actually received several days’ notice of the inspections. The day before the

ACCSC’s visit to the Salt Lake City/Murray campus, the written bonus policy for

ACs was altered, the new version was printed and distributed, and employees were

told to destroy the copies of the existing bonus policy so that ACCSC could not

review them. Defendant Schools’ Chief Operating Officer, Barbara Thomas, who

came to the campus to supervise ACCSC’s visit became irate when she found out

that an employee still had a copy of the replaced bonus policy—changed the day

prior—on her desk. Ms. Thomas berated the Campus Director, Robert Salmon,


                                         85
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 86 of 163



about the fact the employee had the replaced policy where ACCSC could potentially

view it.

       311.   In another case, Barbara Thomas went to the Defendant Schools’ Boise

campus just before, and during, an ACCSC audit. Just before the audit, Ms. Thomas

told the ACs to take their manuals home so that auditors could not see the manuals,

which, on information, contained information on how ACs could achieve bonuses

and how these bonuses were based on enrollment statistics.

      E.      Defendants Schools’ Violation of the 90-10 Rule

       312.   The 90-10 Rule specifically applies only to for-profit colleges. It

requires that for-profit schools receive at least ten percent (10%) of their revenues

from non-governmental sources.

       313.   At various times, Defendant Schools have falsified records to show

themselves in compliance with the 90-10 Rule, when, in fact, they were not.

       314.   On information, including sworn testimony from a former dean of

Defendant Schools, Relators believe and allege that Defendant Schools use a

scheme involving student textbooks to inflate their revenue from non-governmental

sources for 90-10 Rule purposes. The relevant statute dictates precisely how schools

are to treat “amount[s] charged for books, supplies, and equipment” as part of their

90-10 Rule calculations, requiring schools to exclude such revenues from their

calculations, with some narrow exceptions. 20 U.S.C. § 1094(d)(1)(F)(v). Although

numerous former employees of Defendant Schools have provided sworn testimony,

and the Colorado Attorney General’s undercover investigation has revealed, that

Defendant Schools represent to prospective students that their tuition includes the
                                       86
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 87 of 163



costs of textbooks and suggest that they get to keep the books without additional

charges, Defendant Schools actually only allow students to borrow the books. If

students fail to return them, which often happens when students drop out,

Defendant Schools charge the students for the books, and those revenues are

counted toward non-government sources for 90-10 Rule purposes.

      315.    One reason that Relators believe and allege that the Defendant schools

used a scheme involving student textbooks is because Barbara Thomas, the Schools’

former Chief Operating Officer, told employees to hide the existence of one of the

Defendant Schools’ book rooms, where books were checked out and returned by

students, during an ACCSC inspection of the Cheyenne, Wyoming, campus. On

approximately April 25, 2012, just prior to the inspection, Ms. Thomas specifically

told the campus’s staff that she did not want ACCSC to see the book room because

it might cause the accrediting body to raise questions about Defendant Schools’

compliance with the 90-10 Rule. Indeed, there is no other apparent reason to hide

the existence of a book room from ACCSC other than irregularities that involve the

90-10 Rule.

      316.    As a former employee of Defendant Schools has stated under oath,

“CollegeAmerica attempts to manipulate the Title IV funding requirements to

maximize Title IV funds beyond the 90% limit. An example of this is where Ms.

Thomas attempted to hide the existence of a textbook room from an accrediting

body survey” because “Ms. Thomas indicated that the textbook loan program might




                                         87
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 88 of 163



detrimentally affect CollegeAmerica’s 90% federal funding limit under Title IV and

she did not want the accrediting body to know about it.”

      317.   On information, Relators believe and allege that one or more campuses

of Defendant Schools have created false student records for the purposes of

complying with the 90-10 Rule. For example, on information, Relators believe and

allege that in approximately January 2014, certain closed student files from the

Salt Lake City/Murray campus—that is, files for students who graduated or were no

longer attending the campus—were changed to show that those students had

instead attended one of the Arizona campuses of Defendant Schools. The students’

files were reviewed, selected, and altered over a weekend by a number of employees

called into work for the purpose, including Michelle Romney, Gina Seats, and

Robert Anderson. On information, Relators believe and allege that the student files

were selected to make the Arizona campus’s statistics appear better than they

actually were for purposes of the 90-10 Rule.

      318.   Presently, Defendant Schools are attempting to convert to not-for-

profit status under the Department of Education’s regulations, which would exempt

them from the 90-10 Rule.

     F.      Defendant Schools’ Violation of Attendance-Taking and Refund
             Requirements

      319.   Through their work, Ms. Brooks and Ms. Wride became aware of

certain practices at SHC’s Orem campus relating to the falsification of attendance

records by both faculty and administration. Both faculty and administrative



                                         88
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 89 of 163



personnel were known to mark students present on official attendance forms when

students did not, in fact, attend classes.

      320.   Similarly, faculty and administrative officials would alter attendance

reports to show that certain students had attended classes when the students had

not actually done so.

      321.   In one example, a professor recorded a student as having perfect

attendance even though the student had given birth during the module in a

different part of the state and had not been to the campus since that time.

      322.   In another example, a professor submitted a grade change form for a

grade that another professor had given the student. The grade change form

indicated that the “reason” for the grade change was that a “death in the family”

had resulted in “almost no attendance.” However, the original attendance records

for the class indicated that the student had perfect attendance.

      323.   In another example, an instructor submitted an attendance reporting

sheet during the first week of an externship that was completely filled out and that

indicated the student had perfect attendance for the module that had only just

begun.

      324.   As an additional example, a professor was found “incorrectly

report[ing] attendance,” including “record[ing] student attendance when the student

was actually not in the building or completing a documented assignment in

replacement of attendance,” because of the instructor’s “drive to qualify for bonus

dollars.” Email communications between the instructor, Dr. Stephen Babb, the


                                             89
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 90 of 163



Dean of Education at SHC’s Orem Campus, Austin Collier, the registrar, and others

document several examples of an instructor marking students present when the

students had not, in fact, attended the classes in question.

      325.   Defendant SHC’s own internal communications demonstrate the school

was aware of the consequence of falsely reporting student attendance. In one such

email communication, Dr. Babb wrote that “the attendance roll and grade sheet are

official documents . . . that when they are signed by the instructor, they represent

legal documents that are used to draw down federal funds.” The communication

notes that “we have to be able to certify their accuracy.”

      326.   Nevertheless, if Defendant SHC’s records at the end of a disbursement

period indicated that SHC was required to reimburse Title IV funds to the

Department of Education because a student had failed to attend class, Defendant

SHC’s administration would ask the instructor who had marked the student absent

whether the attendance records could be modified so that SHC would not have to

return Title IV funds. Mr. Collier observed the administration put “lots of pressure”

on instructors to change the attendance records.

      327.   Other employees reported similar attendance-reporting issues at other

campuses of Defendant Schools. For example, according to Joshua Allen, who was a

faculty member and an associate dean at Defendant Schools’ Denver campus from

November 2009 to October 2013, the campus had “‘Last Day Attended’ meetings in

which [the deans] reached out to students who weren’t showing up and encouraged

them to log on to their student account so [Defendant Schools] wouldn’t have to


                                          90
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 91 of 163



count them as ‘dropped.’” As Mr. Allen explained in sworn testimony, it was his

“most important duty” to encourage students to appear to be attending classes by

logging into their accounts because Defendant Schools “needed the students to have

‘attendance’ so [they] wouldn’t have to drop them.”

      328.   As a former CollegeAmerica employee explained in sworn testimony,

“in terms of holding a student,” the Schools “could change that last day of

attendance without [the student] even knowing it,” which could change student’s

financial aid eligibility as well. Defendant Schools could “draw things out a little bit

longer if [they] wanted to” by “not showing [the student] as dropping as soon.” In

other words, by changing the attendance records, Defendant Schools were able to

obtain more money from Title IV, HEA Programs for students who had actually

withdrawn from school.

      329.   By reporting a student as having attended classes when he or she did

not, Defendant Schools either (i) delayed the applicable withdrawal date, 34 C.F.R.

§§ 668.22(b)(1) (“[T]he student’s withdrawal date is the last date of academic

attendance as determined by the institution from its attendance records.”), thereby

fraudulently inflating the amount of Title IV funds the student appeared to have

earned and lowering the amount SHC was obligated to return to the Department of

Education, or (ii) completely avoided reporting a student as having withdrawn (i.e.,

having ceased attending classes), thereby fraudulently avoiding any obligation to

return unearned Title IV funds to the Department of Education. By recording

students as having attended classes that they did not attend, Defendant Schools


                                          91
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 92 of 163



falsely represented that the students had earned more Title IV funding than they

actually had earned, even though Defendant Schools were legally obligated to

refund the unearned funds to the Department of Education.

     G.      Defendant   Schools’      Violation       of   Academic    Progress
             Requirements

      330.   Through their work, Ms. Brooks and Ms. Wride became aware of

certain practices at SHC’s Orem campus relating to the falsification of grades by

both faculty and administration. Faculty and administrative staff would falsify

students’ grades by various means, including employing grading standards that

guaranteed students would receive passing grades or by simply giving students

grades they did not earn.

      331.   Because faculty members were paid bonuses both based on the number

of students who “successfully” completed their courses and based on students’

evaluations, faculty members had an incentive to ensure that all students received

passing scores—regardless of merit.

      332.   Specifically, both Ms. Brooks and Ms. Wride are aware that SHC’s

Orem campus registrar, Austin Collier, was directed to change a student’s grade

from a failing grade (“F”) to a passing grade by the Director of the Orem campus’s

Financial Aid Office, Mary Jo Barratt, so that the School could “order more money

[from the Department of Education] for the student.”

      333.   In another example, Dr. Bryan Thayn, an instructor, attempted to

change a student’s grade two years after the grade was first reported in order to



                                        92
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 93 of 163



make the student eligible for Title IV funding and so that the school could obtain

that funding on behalf of the student.

      334.   In another example, a student that only attended two classes during

the entire module was given an 88% for attendance, was given credit for a paper

that she never wrote, and was given a passing grade by the instructor.

      335.   As another example, a professor submitted a grade change form for a

student—from a D to a C+ —for a class the student had not yet taken and that was

scheduled to begin in the future. This grade change was submitted for the same

student, described above, who had recently given birth and was unable to attend

classes because of her distance from the campus.

      336.   As an additional example, it appeared that a professor submitted

grades for an externship that the students never actually participated in.

      337.   On information, Relators believe and alleged that instructors at SHC’s

Salt Lake City/Murray campus also engaged in grade falsification. For example,

instructors in the business school regularly “rubber stamped” perfect grades (100%)

for all of their students, regardless of actual performance.

      338.   Defendant Schools’ faculty was paid bonuses based on the number of

students who “successfully completed” their courses. Instructors were not given

bonuses for students given failing grades. Instructors would receive larger bonuses

as greater percentages of the students in their classes “successfully completed” their

courses. For example, according to sworn testimony from a former dean, “Nathan




                                          93
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 94 of 163



Larson, the president of the Denver Campus, gave bonuses for instructors who had

a 90% pass rate.”

      339.   Mr. Collier was aware that instructors submitted passing grades for

students who had failed to complete all of the necessary course work based on the

assumption that the students would complete make-up work in lieu of work they

had missed but prior to the make-up work actually being completed.

      340.   Furthermore,   correspondence    between    Mr.     Collier   and   faculty

members documents the faculty members’ use of grading scales that guaranteed

that every student would receive a passing grade in the class.

      341.   If Defendant SHC’s records at the end of a disbursement period

indicated that SHC was required to reimburse Title IV funds to the Department of

Education because a student had failed to make satisfactory academic performance,

Defendant SHC’s administration would ask the instructor who had given the

student failing grades whether the grade could be modified so that SHC would not

have to return Title IV funds. Mr. Collier observed the administration put “lots of

pressure” on instructors to change grades.

      342.   This happened at other campuses of Defendant Schools as well. At

Defendant Schools’ Colorado Springs campus in the period from July 2010 to March

2011, Defendant Schools allowed students to pass a class and advance in their

programs so long as they had a D- or better grade even though faculty members

teaching the courses expected students to achieve a grade of at least a C to pass the

course.


                                         94
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 95 of 163



      343.   According to the sworn testimony of Jean Lesmeister, a former faculty

member at Defendant Schools’ Denver campus from November 2010 to August

2011, “the administrators, Kacey Jechura and Nathan Larson, encouraged faculty

to do whatever it took to keep students enrolled. That policy basically meant that

students needed passing grades to stay enrolled.” Indeed, “faculty members were,

without fail, called into Kacey’s office every time they gave failing grades.”

      344.   Even though some students who took Ms. Lesmeister’s course “could

not write papers” and “were unable to create a cogent sentence,” “Kacey [Jechura]

saw that failing grades could lead to upset students threatening to drop or academic

suspensions from low GPAs. Either way, failing grades meant losing money” in the

administration’s view. Ms. Lesmeister is personally aware of another faculty

member changing a student’s grade from failing to passing due to the pressure

exerted by the campus’s administrators.

      345.   On another occasion, Ms. Lesmeister “gave a student an F due to his

excessive absences.” When the student complained to the administration, Defendant

Schools’ management took him out of her class “and switched to an independent

study.” However, because it “was too late in the semester for him to withdraw,” Ms.

Lesmeister “gave him an F as his final grade.” “The next time [Ms. Lesmeister]

looked at the class’s grades, [she] saw the student’s F was changed to an A-” without

her knowledge or consent.

      346.   In March 2011, a former faculty member at Defendant Schools’

Colorado Springs campus, Kellie Hayes, submitted final grades for one of her


                                           95
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 96 of 163



classes. She gave one of her students, who “had not attended a single class and had

not completed any assignments,” a failing grade for the course. According to Ms.

Hayes’ sworn testimony, the faculty member’s supervisor, Dr. Garcia, “instructed

[Ms. Hayes] to call this student and work with her to see if [Ms. Hayes] could get

her grade up to a D-.” Even though Ms. Hayes explained to her supervisor that the

student had not attended a single class or even bothered to make contact with her,

“Mr. Garcia responded that [she] needed to work with her to get her to a passing

grade.”

      347.   Defendant Schools punished faculty members who gave failing grades

or failed to change students’ grades from failing to passing. For example, according

to sworn testimony of Dale Greenfell, who was a faculty member at Defendant

Schools’ Fort Collins campus from July 2009 to approximately July 2011, faculty

members were told that if they “had three successive classes with a certain

percentage of failing students, then the instructor could lose his or her job because

there was pressure from corporate for higher numbers of passing and graduating

students.” (emphasis added). Mr. Greenfell personally “heard other instructors

express concern, anger, and frustration about passing students who were struggling

academically.” As related by Mr. Greenfell, “[t]he instructors felt like they were

being penalized for the students not being able to or choosing not do the academic

work required to pass their classes.”

      348.   According to the sworn testimony of Joshua Allen, a faculty member

and dean at Defendant Schools’ Denver campus from November 2009 to October


                                         96
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 97 of 163



2013, “instructors had regular meetings with associate deans” and at “these

meetings, [they] talked about completion rates, attendance rates, and admissions

rates.” “The associate deans told [the instructors] that [they] needed to keep [their]

completion and attendance rates up so [they] would meet the graduation

requirements of CollegeAmerica’s accreditor.” The deans told the instructors that

“the school would lose money and [the instructors] could lose [their] jobs if [they]

didn’t keep [their] pass rates high enough.” Indeed, “instructors who didn’t pass

enough students didn’t have their contracts renewed.”

      349.   Mr. Allen “felt pressured by [his] superiors to pass students who hadn’t

met [his] course requirements.” “A dean named Barbara Snyder told [Mr. Allen]

that ‘we all do it.’ Referring to the students, [Ms. Snyder] told [Mr. Allen] to ‘get ‘em

out of your hair’ and ‘pass ‘em along.’” Because of the pressure, the overt threats of

termination, and the advice of Defendant Schools’ management, Mr. Allen “set up

[his] courses so that if a student showed up, they passed,” even though he “thought

it was shameful to pass students along like this.”

      350.   Similarly, Ann Scott, who was an instructor at Defendant Schools’ Fort

Collins campus from January 2008 to October 2011, reported in sworn testimony

that “there was a great deal of pressure from the Dean of Education [and others] at

the Fort Collins Campus to pass students who failed a class three times because

students are not eligible to receive Federal student loans for continuing to take a

class the student previously failed three times.” (emphasis added).




                                           97
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 98 of 163



      351.   According to Ms. Scott’s sworn testimony, “[t]he Dean of Education

called [Ms. Scott] into her office to tell [her] that one of the students in [Ms. Scott’s]

Microbiology class needed to pass [Ms. Scott’s] class because the student had

already failed the class twice.” Ms. Scott “told the dean of students that [she] would

give the student the same test that every other student gets and [that she would]

tutor him if necessary.” However, the student failed the test. Incredibly, the “Dean

of Education told [Ms. Scott] to give the student another test that was easier, but

[Ms. Scott] refused to do that in fairness to the other students.” “After [Ms. Scott]

refused [to give the student an easier test], the dean . . . said that it was out of [Ms.

Scott’s] hands and gave the student another test, which the student passed with

flying colors.” Defendant Schools reported that the student had passed the class

based on the substitute test.

      352.   While Defendant Schools ostensibly have a formal appeals process to

address students who are failing to meet the academic performance standards, the

“appeal process was all lip service” according to sworn testimony from a former

CollegeAmerica dean and faculty member, Clay Goodwin. According to his sworn

testimony, Defendant Schools’ “policy was to keep students in school and do

whatever it took to finish them,” which meant “pressur[ing] faculty to pass students

along in classes and not fail them.”

      353.   Mr. Goodwin, who worked at Defendant Schools’ Colorado Springs

campus from 2006 to 2011, is personally aware of “other faculty members [who]

were giving students passing grades when they didn’t earn them.” Other


                                           98
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 99 of 163



“instructors would confide in [him] and tell [him] about a specific student who didn’t

do the work but was given a ‘C’” to placate Defendant Schools’ management.

      354.   Defendant Schools even went so far as to give students credit for

academic requirements that they never completed. For example, Andrea Brannan,

who attended CollegeAmerica in Colorado from May 2004 to May 2005 was given

credit for an externship—a required part of her medical specialties program—even

though she never completed an externship. As Ms. Brannan has explained in sworn

testimony, the Schools’ externship coordinator told Ms. Brannan in approximately

April 2005 that because she was unable to find her an externship, “she was going to

say that [Ms. Brannan] fulfilled all [her] hours to graduate,” even though she had

not. In fact, Ms. Brannan was honored as the class valedictorian despite not having

completed all of the hours to graduate.

      355.   According to sworn testimony from a former CollegeAmerica dean, the

pressure to give passing grades to students who were failing “was coming from

corporate. It was coming off the phone calls” between Defendant Schools’ central

management and their campus managers and deans.

      356.   By giving students grades they did not earn and by grading students

based on impossible-to-fail standards, Defendant Schools ensured that those

students would continue to take additional classes from the Schools that were paid

for using Title IV funds, even though the students were not eligible to take any

additional classes or utilize any additional Title IV funds.




                                          99
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 100 of 163



 Defendant Schools Knowingly Submitted False Attendance Records and
                              Grades

      357.   Defendant Schools knew that they were required to submit accurate

information concerning student attendance and grades, that their submission of

this information constituted a certification by the school to the Department that the

information they supplied was accurate, and that submitting false information

concerning attendance and grades was unlawful. Indeed, Defendant Schools were

well aware that they submitted such information to the Department of Education in

order to request additional Title IV funding—or, in the vernacular of Defendant

Schools, to “order more money” from the Department of Education

      358.   Indeed, ACCSC’s accreditation standards expressly require Defendant

Schools to accurately maintain grade and attendance records and enforce

reasonable academic performance requirements.

      359.   Additionally, Defendant Schools’ combined course catalog discusses the

importance of academic progress and attendance and the necessity of students

attending classes and meeting minimum academic performance standards.

      360.   Managerial-level employees at Defendant Schools’ various campuses

were often directly and personally involved in the violations of the attendance and

grading regulations.

     H.      Defendant Schools’ Violation of Accrediting Standards

      361.   In the summer of 2010, Ms. Wride changed jobs, becoming the

executive assistant to Dr. Stephen Babb, the Dean of Education at SHC’s Orem

Campus.

                                        100
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 101 of 163



      362.   Soon after she started working as Dr. Babb’s executive assistant, Dr.

Babb asked Ms. Wride to investigate each faculty member’s qualifications, including

education, work, and clinical experience, to ensure that each faculty member met

the minimum accrediting standards of ACCSC.

      363.   In the course of her investigation, Ms. Wride discovered that many

faculty members at SHC’s Orem campus did not have the required minimum

qualifications, as established by the ACCSC, to teach the courses that SHC had

assigned them to teach. For example, several faculty members lacked sufficient

academic degrees and/or related practical work experience to meet the ACCSC

accreditation standards for faculty members.

      364.   As an example, Ms. Wride discovered that Dr. Robert Roberts did not

have the minimum number of years of related practical work experience that the

ACCSC required him to have to be eligible to teach certain courses, including

medical and radiological courses, in the Medical Specialties and Health Care

Administration programs.

      365.   Ms. Wride discovered the deficiencies in Dr. Roberts’ background when

she reviewed the information in SHC’s “Faculty Personnel Report” for Dr. Roberts.

SHC prepares such Faculty Personnel Reports for the ACCSC to demonstrate that

the faculty members meet the minimum accreditation standards.         The Faculty

Personnel Reports specifically state: “By submitting this report to ACCSC, both the

school and the faculty member certify that the information contained herein,

attached hereto, and maintained on file with the school is correct and that the


                                       101
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 102 of 163



faculty member’s qualifications comply with the applicable Standards of

Accreditation.”

      366.    Ms. Wride found mistaken, misleading, or untrue representations in

Dr. Roberts’ Faculty Personnel Report. Indeed, Ms. Wride contacted the businesses

that Dr. Roberts claimed to serve as his required practical work experience and

found that Dr. Roberts had materially misrepresented the nature of his prior work

experience.

      367.    As a result, Dr. Roberts did not have the required minimum number of

years of practical work experience in the relevant subject area, as required by the

ACCSC’s accrediting standards, for him to teach the courses that SHC assigned him

to teach and that he was in fact teaching.

      368.    Ms. Wride found similar problems with the claimed qualifications and

credentials of numerous other faculty members at SHC’s Orem campus. For

example, through her investigation, Ms. Wride also discovered that Dr. Bryan

Thayn did not have sufficient education and related practical work experience to

meet the ACCSC accreditation standards for faculty members. In particular, Ms.

Wride discovered that Dr. Thayn had never practiced as a chiropractor and had no

related practical work experience and therefore did not have the minimum number

of years of related practical work experience required by the ACCSC to teach the

courses that SHC assigned him to teach and that he was in fact teaching.

      369.    Ms. Wride brought these deficiencies to the attention of Dr. Babb. Dr.

Babb informed Ms. Wride that he was already aware of the shortcomings in the


                                         102
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 103 of 163



qualifications and credentials of several of the faculty members. Dr. Babb told Ms.

Wride that when he previously brought the problems to the attention of SHC’s

upper management, he was nearly terminated for exposing the problems. Dr. Babb

asked Ms. Wride to “dig deeper” and report back to him.

      370.   After confirming her prior findings, Ms. Wride went back to Dr. Babb

with the information. Eventually, Dr. Babb went to Mr. Plant with the information.

On information, Relators believe and allege that SHC retaliated against Dr. Babb

for attempting to bring to light the fact that SHC had knowingly provided

materially false Faculty Personnel Reports to ACCSC by reprimanding Dr. Babb,

withholding bonuses he had earned, and sanctioning him with a three-day

involuntary leave of absence.

      371.   Shortly thereafter, Mr. Plant called Ms. Wride into his office and

demanded that she stop investigating faculty qualifications and to stop doing

anything more with respect to faculty issues, even though Ms. Wride was

specifically hired by Dr. Babb to track and document faculty qualifications and to

ensure that SHC’s faculty members complied with accrediting standards.

      372.   Ms. Wride showed documentary proof of the results of her

investigation to Mr. Plant during the meeting. In response, Mr. Plant told Ms.

Wride to “leave it alone” and to “never look at it again.”

      373.   Concerned about the information she had learned, Ms. Wride instead

reported the results of her investigation directly to Eric Juhlin, Defendant Schools’

Chief Executive Officer, and Barbara Thomas, the Chief Operating Officer.


                                          103
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 104 of 163



Specifically, Ms. Wride showed the documentary proof establishing the faculty

members’ deficiencies to both Mr. Juhlin and Ms. Thomas and discussed in detail

each item with them. Even though Mr. Juhlin and Ms. Thomas assured Ms. Wride

that they would address the issue, no corrective action was ever taken. Most, if not

all, of the faculty members that Ms. Wride discovered had insufficient qualifications

continue to teach courses at SHC that they are not eligible to teach pursuant to

ACCSC accreditation standards.

      374.   Additionally,   SHC   failed   to   correct   any   of   its   prior   false

representations to the ACCSC regarding the faculty members’ qualifications.

      375.   Instead, after Ms. Wride brought the materially erroneous information

to the attention of Defendant Schools’ most senior management, SHC continued to

submit the same false Faculty Personnel Reports to the ACCSC to maintain its

accreditation.

      376.   Additionally, for a certain period of time, Ms. Wride was responsible

for preparing the Faculty Personnel Reports that SHC provided to the ACCSC.

Generally speaking, the faculty member would provide information to prepare the

reports to Ms. Wride, who would investigate the information provided to determine

whether it was accurate and truthful. She would then prepare the written report for

the faculty member to sign. SHC management pressured Ms. Wride to provide false

information on many of the reports. Ms. Wride refused to complete any report that

SHC pressured her to falsify.




                                        104
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 105 of 163



      377.   After Mr. Plant learned that Ms. Wride had reported the results of her

investigation to Mr. Juhlin and Ms. Thomas, he stripped her of all responsibility

and excluded her from day-to-day operations in retaliation. Ms. Wride believes that

SHC did not want to risk firing her because of the information she had learned.

      378.   Ms. Brooks also believes that SHC stripped Ms. Wride of all

responsibilities because Ms. Wride brought the fact that SHC’s faculty lacked the

requisite qualifications to the attention of Defendant School’s upper-level

management.

      379.   The ACCSC conducted an audit of SHC’s Orem campus in

approximately spring 2011. SHC’s management forced Ms. Wride to “take the day

off” to make sure that Ms. Wride did not have any contact with the auditors and, in

particular, to prevent Ms. Wride from disclosing the results of her investigation

about insufficient faculty qualifications to the auditors.

      380.   In further retaliation for Ms. Wride’s report to Mr. Juhlin and Ms.

Thomas, Mr. Plant had Ms. Wride dropped from SHC’s respiratory therapy

program. At the time, Ms. Wride only needed six additional classes to complete her

bachelor’s degree.

      381.   When Ms. Wride contacted Ms. Thomas to complain of her treatment,

Ms. Thomas agreed to reinstate Ms. Wride and to waive her tuition and fees if Ms.

Wride agreed to be quiet about the faculty qualifications problems and to “just leave

things alone.”




                                          105
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 106 of 163



      382.   Ms. Wride resigned her employment with SHC on June 6, 2011, three

days after she graduated and after she found a job as a respiratory therapist.

      383.   Both before and after resigning her position at SHC, Ms. Wride

attempted to report the faculty qualifications problems to the Department of

Education and the ACCSC. Neither the Department of Education nor the ACCSC

ever responded to any of her reports.

      384.   Ms. Wride’s experience with reporting ACCSC violations to the most

senior management of Defendant Schools, only to have those concerns ignored, is

consistent with Defendant Schools’ open disregard for the ACCSC and its

accrediting standards.

      385.   Indeed, Barney and Mr. Juhlin, during a company meeting in

November 2011, stated that ACCSC standards would not prevent Defendant

Schools from taking a course of action, regardless of whether ACCSC standards

prohibited the practice. For example, when employees questioned whether certain

practices were permitted under ACCSC standards, Barney and Mr. Juhlin

responded, in effect, that Defendant Schools would do as they “please and ask for

forgiveness later.”

      386.   Barney later told a former Campus Director that he did not really care

about the ACCSC standards.

      387.   This corporate policy of open disregard for ACCSC standards

manifested itself in many ways. For example, before an ACCSC visit to the

Wyoming campus of Defendant Schools in 2012, Defendant Schools’ former Chief


                                         106
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 107 of 163



Operating    Officer,   Barbara   Thomas,      told   employees   to   deceive   ACCSC

representatives by failing to show them the room where textbooks were held. Ms.

Thomas also told employees to remove promotional materials relating to Defendant

Schools’ GED program so that ACCSC representatives would not see them.

      388.   Defendants Schools’ efforts to mislead and deceive ACCSC has caused

employees to resign. The former Campus Director at the Wyoming campus of

Defendant Schools quit after she was forced to engage in deceptive practices during

an ACCSC visit to the campus. That Campus Director applied for unemployment

benefits to the Wyoming Department of Workforce Services based on her forced

resignation. The Wyoming Department of Workforce Services allowed the

unemployment benefits and determined that the employee quit her job because she

was directed to lie to accrediting agencies regarding business practices. Defendant

Schools failed even to respond to the Wyoming Department of Workforce Service’s

request for information in response.

      389.   The former Campus Director at the Wyoming campus also disclosed all

of these facts directly to Barney, including those relating to Ms. Thomas instructing

her to mislead and deceive ACCSC. On information, Relators believe and allege that

Barney failed to take any corrective action after being informed of these facts.

      390.   Similarly, the former dean of CollegeAmerica’s campus in Wyoming,

Linda Carter, quit because Defendant Schools’ most senior management asked her

to lie to ACCSC. Ms. Carter applied for unemployment benefits after voluntarily

quitting because her “employer [CollegeAmerica] was having her lie to the


                                         107
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 108 of 163



accreditation team” from ACCSC. Defendant Schools contested Ms. Carter’s

unemployment benefits, appealing the issue to Division of Appeals of the Wyoming

Department of Workforce Services. After holding a hearing, the Division of Appeals

made the following findings of fact, which Defendant Schools did not further appeal:

         “claimant left her employment with the employer because the claimant

          was being asked to conceal information from an accreditation team”;

         “claimant proved, by a preponderance of the evidence, the employer’s

          customary working conditions involved deceit on the part of the

          employer”; and

         “claimant established she left her employment with the employer for good

          cause.”

      391.   Defendant Schools routinely create and provide false information to

ACCSC, their accrediting agency. Joshua Allen, who was an instructor and an

associate dean at Defendant Schools’ Denver campus beginning in approximately

November     2009,   was   personally   “involved   in   preparing   for   a   five-year

reaccreditation audit by CollegeAmerica’s accreditor, ACCSC.” As Mr. Allen has

explained in sworn testimony, because the Schools’ student files were out of

compliance with ACCSC standards, the Schools used students who were being paid

from work-study funds to fabricate compliant student files, making them appear in

compliance. He personally observed “several work study students and assistants at

a table with stacks of student files and blank forms.” When he “asked them what

they were doing,” they told him “they were filling in the forms that were missing


                                         108
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 109 of 163



from the student files and putting them in the files. These were forms that should

have been completed and signed by students prior to starting at CollegeAmerica.”

         392.   When the ACCSC auditors were on the Denver campus to complete the

audit, Mr. Allen was tasked with providing the auditors with specific student files

that they requested. After auditors asked for a specific file, but before Mr. Allen was

permitted to provide the file to the auditors, he was required to take the requested

file to another room where Defendant Schools’ management, including Chief

Operating Officer Barbara Thomas, were located. After Defendant Schools’ senior

management reviewed the file and realized it did not comply with ACCSC

requirements because it was missing an important form containing key student

information, Defendant Schools’ Chief Operating Officer, Barbara Thomas, told Mr.

Allen to complete the form “even though [he] hadn’t checked in with the student”

about the information and to “put the form in the student’s file” before giving the

file to the ACCSC auditor. Mr. Allen was later “praised” by Defendant Schools’

senior management, including Ms. Thomas, for the “great job” he had done on the

audit.

         393.   Defendant Schools have an openly hostile view of ACCSC and its

auditors and instruct their employees to do the same. The Schools’ current highest-

level compliance officer wrote a memorandum to all employees instructing them

that ACCSC “is not your friend” and telling them not to share “dirty laundry” or

their “frustrations” with ACCSC, apparently even if that “dirty laundry” or those

frustrations relate directly to accrediting issues within the purview of ACCSC.


                                         109
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 110 of 163



      394.   Other campuses of Defendant Schools have engaged in similar

practices of using teachers and faculty members who do not have the required

qualifications to teach classes for which they are unqualified.

      395.   For example, in approximately November 2009, when Joshua Allen

was hired as an instructor at Defendant Schools’ Denver campus and assigned to

teach Anatomy, Physiology, and Medical Terminology, he was, according to his

sworn testimony, “not at all qualified to teach these classes.” Mr. Allen was not even

provided with the textbooks for the course until the night before classes were

scheduled to begin. As Mr. Allen has explained in sworn testimony, “[t]he priority at

[Defendant Schools] was not the students. It was the money.”

      396.   At Defendant Schools’ Colorado Springs campus between April 2009

and August 2010, the Schools had recent graduates of the Schools teach classes.

Those recent graduates could not have had the requisite years of practical

experience required to teach those classes by virtue of the fact they had just

graduated in the fields they were teaching.

      397.   In another instance, at Defendant Schools’ Denver campus between

August 2006 and December 2007, the Schools had a current student, who only had a

high school diploma, teach a computer science class.

      398.   On information, Relators believe and allege that the Boise campus of

Defendants Schools hired a recent graduate of Defendant Schools to teach a

computer networking class despite the fact that ACCSC requires this type of class




                                         110
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 111 of 163



to be taught by a teacher with a certain number of years of experience in the field.

The new graduate had no such experience.

      399.   In another example, the Boise campus hired another recent graduate

(with a bachelor’s degree from Defendant Schools) to teach an English general

education class that was meant to teach students college success strategies. ACCSC

required such classes to be taught by a teacher with a master’s degree, which the

recent graduate did not have.

      400.   Further, the head of the medical department for the Boise and Nampa

campuses, and who taught classes in that department, was also a recent graduate of

Defendant Schools, and thus did not have the required years of experience in the

relevant field to teach the classes.

      401.   As another example, at the Salt Lake City/Murray campus, Defendant

Schools allowed instructors without the required years of experience to teach

medical coding and billing courses. That campus also allowed an instructor without

a background in the law to teach a business law course.

      402.   Similarly, Defendant Schools have circumvented ACCSC requirements

relating to faculty qualifications by formally assigning teachers with the required

qualifications to teach courses, but then substituting teachers without the proper

qualifications to do the actual instruction. For example, the Salt Lake City/Murray

campus told students and ACCSC that a professor with the required qualifications

was teaching a philosophy class, but then used a different teacher, without the

required qualifications, to actually teach it. Nevertheless, the name of the instructor


                                         111
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 112 of 163



with the required qualifications was included on all records associated with the

course, even though he never taught it.

      403.   Defendant Schools have engaged in a long-standing pattern and

practice of using unqualified teachers. As far back as the early 2000s, Defendant

Schools assigned unqualified instructors to teach courses. For example, at one Utah

campus, Defendant Schools assigned an instructor with an associate’s degree in

computer technology to teach an upper-level English course.

      404.   Defendant Schools have also violated ACCSC’s admission requirement

standards.

      405.   ACCSC standards require Defendant Schools to “develop[] admissions

criteria that are designed to admit only those students who are reasonably capable

of successfully completing and benefitting from the training offered.” (ACCSC

Standards, Section V, A.1.)

      406.   ACCSC standards further require Defendant Schools to                 “use

appropriate techniques to assess whether applicants have the skills and

competencies to benefit from the training provided at the undergraduate level.” (Id.

Section V.C.)

      407.   Defendant Schools have an “open admissions policy,” which permits

anyone with a high school diploma or equivalency certificate to enroll, regardless of

whether the potential student can benefit from the education. Defendant Schools

have no official screening practice for assessing a student’s ability to benefit, aside

from the requirement of a “personal statement” from the applicant. On information,


                                          112
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 113 of 163



Relators believe and allege that the personal statements are not genuinely used to

assess a potential student’s competencies.

      408.   As an instructor at Defendant Schools’ Denver campus from November

2010 to August 2011 explained in sworn testimony, “[t]he goal and the focus are

making money. There is no consideration of the student for acceptance into the

school. If the student is eligible for financial aid, the student is admitted.” (emphasis

added).

      409.   Similarly, an instructor and the Dean of Education at Defendant

Schools’ Colorado Springs campus from 2006 to 2011 explained in sworn testimony

that “[t]he truth is acceptance into CollegeAmerica is a business matter. If you can

get financial aid and have a diploma or GED, you get in. There is no assessment of

the capability of students to succeed in the programs.” (emphasis added).

      410.   This “open admission policy” violates ACCSC standards, which require

Defendant Schools to do more to determine whether students actually have the

necessary “skills and competencies to benefit” from the education. (Id.)

   Defendant Schools Knowingly Submitted False Information to ACCSC

      411.   On information, Relators believe and allege that Defendant SHC

knowingly prepared the false Faculty Personnel Reports before Ms. Wride became

responsible for preparing and verifying their accuracy. On information, Relators

believe and allege that Defendant SHC knowingly submitted these false Faculty

Personnel Reports to ACCSC to obtain accreditation.

      412.   Defendant SHC’s management knew that several Faculty Personnel

Reports that SHC has previously submitted to ACCSC to obtain accreditation were
                                     113
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 114 of 163



materially false. However, Defendant SHC did nothing to correct these false

submissions to ACCSC.

      413.    Ms. Wride specifically informed Defendant SHC’s senior management

that certain Faculty Personnel Reports that SHC had submitted to ACCSC were

materially false. Defendant SHC’s management took no corrective action in

response to this information.

      414.    Instead of taking corrective action, Defendant SHC’s management took

steps to cover up the problem, including reprimanding Dr. Babb, taking away all

responsibilities from Ms. Wride, demanding that Ms. Wride stop looking into the

issue and remain quiet about the results of her investigation, and removing Ms.

Wride from her program of study for refusing to stay quiet about the problems she

discovered.

      415.    Ms. Wride also specifically informed Defendant Schools’ senior

management that certain Faculty Personnel Reports that Defendant SHC had

submitted to ACCSC were materially false. Defendant Schools’ management took

no corrective action in response to this information.

      416.    Instead of taking corrective action, Defendant Schools’ senior

management attempted to cover up of the information that Ms. Wride had

discovered. For example, Defendant Schools’ senior management offered to allow

Ms. Wride to attend school for no cost in exchange for Ms. Wride agreeing to remain

quiet about the faculty qualification problems and false Faculty Personnel Reports.




                                         114
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 115 of 163



      417.   Even after Ms. Wride brought the materially false information to the

attention of Defendant SHC’s and Defendant Schools’ senior management,

Defendant SHC continued to make the false Faculty Personnel Reports available to

ACCSC as proof of the faculty members’ purported qualifications.

      418.   Even after Ms. Wride brought the materially false information to the

attention of Defendant SHC’s and Defendant Schools’ senior management,

Defendant SHC’s management asked Ms. Wride to prepare further false Faculty

Personnel Reports.

      419.   Knowing that the information Ms. Wride possessed about the false

Faculty Personnel Reports seriously jeopardized Defendant SHC’s accreditation,

Defendant SHC’s management told Ms. Wride to be absent from work on the day

that ACCSC’s auditors were scheduled to visit SHC’s Orem campus.

      420.   Defendant SHC knew that providing false Faculty Personnel Reports

to ACCSC would result in ACCSC accrediting Defendant SHC even though many of

its faculty members did not possess the minimum qualifications required under the

relevant ACCSC accreditation standards.

      421.   Defendant SHC knew that its misrepresentations concerning faculty

qualifications, which it knew would cause ACCSC to accredit Defendant SHC,

would result in the payment of federal funds and that a reasonable and foreseeable

consequence of such misrepresentations was that such funds would be paid out.

      422.   Defendant Schools’ management has pressured faculty at other

campuses to submit false information to ACCSC. Defendant Schools have a pattern


                                       115
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 116 of 163



and practice of submitting false information to accrediting agencies to obtain

accreditation.

     I.      Defendant Schools’ Submission of False Claims

      423.   Every request for a federal grant, every request for a loan under FDLP,

every request for a federally guaranteed loan under FFELP, every interest payment

on a subsidized Stafford Loan, and every government payment on a loan made on

behalf of a student attending Defendant Schools constitutes a separate false claim.

      424.   A large majority of students attending Defendant Schools receive Title

IV funding assistance in one form or another.

      425.   For example, during the 2010-2011 academic year, approximately 85%

of students attending Defendant Schools received some type of loan under a Title

IV, HEA program, while approximately 74% of students received a Pell Grant.

(Information reported from the mean across all reporting Defendant Schools;

information derived from data available from Department of Education’s Integrated

Postsecondary Education Data System.)

      426.   During the 2009-2010 academic year, approximately 87% of students

attending Defendant Schools received some type of loan under a Title IV, HEA

program, while approximately 74% of students received a Pell Grant. (Id.)

      427.   According to data reported by Defendant Schools to ACCSC in their

2011 annual reports (covering the period July 2010 to June 2011), 91% of students

received Title IV Financial Assistance at Defendant Schools’ Fort Collins, Colorado,

campus, 86% received Title IV Pell Grants, and 84% received Title IV Loans. At

Defendant Schools’ Denver campus, 99.2% of students received some sort of Title IV
                                      116
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 117 of 163



Financial Assistance, with 83.8% receiving Pell Grants and 98.1% receiving Title IV

Loans. At Defendant Schools’ Colorado Springs campus, 96% of students received

some type of Title IV Financial Assistance, with 85% receiving Pell Grants and 96%

receiving Title IV Loans.

       428.   Student A enrolled in Defendant SHC’s program on or about January

18, 2010.7 On information, Relators believe and allege that Student A received a

loan under a Title IV, HEA program and may have received a Pell Grant. Ms.

Brooks received a bonus for enrolling Student A because Ms. Brooks met the

Enrollment-Related Requirements.

       429.   Student B enrolled in Defendant SHC’s program on or about February

15, 2010. On information, Relators believe and allege that Student B received a loan

under a Title IV, HEA program and may have received a Pell Grant. Ms. Brooks

received a bonus for enrolling Student B because Ms. Brooks met the Enrollment-

Related Requirements.

       430.   Student C enrolled in Defendant SHC’s program on or about April 12,

2010. On information, Relators believe and allege that Student C received a loan

under a Title IV, HEA program and may have received a Pell Grant. Ms. Brooks

received a bonus for enrolling Student C because Ms. Brooks met the Enrollment-

Related Requirements.




7
  The students’ actual names have been withheld in accordance with the Family Educational
Rights and Privacy Act, 20 U.S.C. § 1232g; 34 CFR Part 99. The true names of the students can
be supplied upon request assuming appropriate safeguards are maintained.
                                             117
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 118 of 163



      431.   Additionally, on information, Relators allege that Defendant SHC

received Title IV funding for Student A, Student B, and Student C at a time when

the school was knowingly out of compliance with the (1) attendance-taking and

refund requirements, (2) the academic progress requirements, and (3) the faculty-

qualification accrediting standards.

      432.   Each grant award, disbursement of FDLP loans, and government

repayment of loan interest or defaulted loan principal was caused by Defendants’

false certifications and statements in the PPAs, compliance audit Management

Assertions, G5 Certifications, MPNs, school certifications, and other documents,

that Defendant Schools were in compliance with the Incentive Compensation Ban

and were therefore eligible to receive Title IV funding. Defendants made these false

certifications and statements despite the fact that they had actual knowledge of

their falsity. Each request for payment constitutes a false claim under the FCA.

      433.   Each grant award, disbursement of FDLP loans, and government

repayment of loan interest or defaulted loan principal to a student attending

Defendant Schools was caused by Defendant Schools’ false certifications and

statements to ACCSC. Defendant Schools made these false certifications and

statements despite the fact that they had actual knowledge of their falsity. Each

request for payment constitutes a false claim under the FCA.

     J.      Defendant Auditors’ Submission of False Statements

      434.   As stated above, to remain eligible to receive Title IV funding, a school

that participates in any Title IV, HEA program must each year provide the

Department of Education with an annual compliance audit of its administration of
                                    118
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 119 of 163



Title IV, HEA programs, and an audit of the school’s general purpose financial

statements, prepared by independent auditors. 20 U.S.C. § 1094(c)(1)(A); 34 C.F.R.

§§ 668.23(a)(2), (a)(4). Accountants preparing these audits for for-profit schools,

such as Defendant Schools, must conduct their annual financial statements and

compliance audits in accordance with the Department of Education Office of

Inspector General’s Audit Guide, among other applicable standards and guidelines.

      435.   The Department of Education relies on the certifications of the

auditors to determine whether the audited schools are complying with the specified

regulatory requirements of the Title IV, HEA Programs, including the Incentive

Compensation Ban. Without the representations of the auditors that the schools are

in compliance, the schools would not be eligible to participate in the Title IV, HEA

Programs and would not receive any funds provided by those programs. Id. Indeed,

the engagement agreements between Defendant Auditors and Defendant Schools

had to include an express “statement that both parties understand that [the

Department of Education] intends to use the [Defendant Auditors’] report to help

carry out its oversight responsibilities of the Title IV programs.” (Audit Guide at I-

5, Exhibit 2 hereto.)

      436.   Defendant Auditors and others conducted the annual compliance

audits for Defendant Schools from approximately July 1, 2002, to the present.

      437.   Defendant Auditors were required to comply with a variety of

standards and policies in conducting their audits of Defendant Schools, which are

specified in the Audit Guide. Indeed, as part of the engagement agreement with the


                                         119
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 120 of 163



audited institution, auditors of institutions receiving funding from Title IV, HEA

Programs must expressly agree to perform their work according to certain auditing

standards. In addition to following the specific audit requirements of the Audit

Guide itself, Defendant Auditors were required to perform the audits in accordance

with the standards for audits of the U.S. General Accounting Office’s Government

Auditing Standards (“GASs”), issued by the Comptroller General of the United

States, and the Statements on Standards for Attestation Engagements (“SSAEs”),

as amended by SSAE #9, issued by the American Institute of Certified Public

Accountants (“AICPA”). (Audit Guide at I-1, I-5, Exhibit 2 hereto.) SSAE #3, as

amended, provides “that an examination-level engagement includes ‘designing the

examination to detect both intentional and unintentional noncompliance that is

material to management’s assertion.’” (Id. at I-3.)

      438.   One of the primary objectives of the audit and attestation activities of

the Defendant Auditors was to “determine and report whether” the school under

investigation “complied with laws, regulations, and the provisions of contracts or

grant agreements which could have a direct and material effect on the financial

statements,” as well as “complied, in all material respects with specified compliance

requirements.” (Audit Guide at I-2.) Defendant Auditors were required to use “due

care to tailor the procedures so that the financial statement audit and compliance

attestation engagement objectives are achieved.” (Id.)

      439.   The   relevant   audit   requirements    specifically   require   auditors,

including Defendant Auditors, to “design and perform procedures to provide


                                         120
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 121 of 163



reasonable assurance of detecting significant illegal acts and to report . . . any

fraudulent act or indication of such acts.” (Id. at I-2.)

       440.   The Audit Guide specifically instructs auditors, such as Defendant

Auditors, to “be aware of fraud or high risk areas and recognize basic weaknesses in

internal control.” (Id. at I-2.) The Audit Guide provides some examples of “high

risk indicators” that trigger further obligations on the part of auditors. (Id.; id.

Appendix B.) The Audit Guide requires that “[u]pon discovery of a fraudulent act or

indication of such an act related to Title IV Federal programs, regardless of dollar

value,” an auditor must promptly report such information to the Department of

Education in writing. (Id. at I-4.)

       441.   The Audit Guide requires auditors to perform examination-level

verification of the following Required Management Assertion, among others: The

school did “[n]ot pa[y] to any persons or entities any commission, bonus, or other

incentive payment based directly or indirectly on success in securing enrollments,

financial aid to students, or student retention [34 CFR 668.14(b)(22)].” (Id. at II-3.)

The Audit Guide further explains that “the institution must have methods of

determining compliance with” this and the other eligibility requirements and

that the auditor must report any compliance failures. (Id. at II-5 (emphasis in

original).)   Additionally, the Audit Guide requires that “all instances of

noncompliance identified . . . by the [auditor] during his/her engagement must be

reported as a finding in the Schedule of Findings and Questioned Costs.” (Id. at I-

15.)


                                           121
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 122 of 163



       442.   In order to ensure that the Required Management Assertions are true

and correct, compliance auditors, such as the Defendant Auditors, must “[r]eview,

evaluate, and document the institution’s methodologies for determining compliance

with institutional eligibility and participation criteria.” (Id. at II-5.)

       443.   The Audit Guide specifically requires compliance auditors, such as

Defendant Auditors, to “[t]est payroll and other disbursement records to determine

whether the institution paid to any persons or entities any commission, bonus, or

other incentive payment based directly or indirectly on success in: securing

enrollments, financial aid to students or student retention.” (Id. at II-7.)

       444.   Furthermore, the Department of Education’s Audit Guide, with which

Defendant Auditors were required to comply, specifically points out that auditors

are required not only use to due care in planning, performing, and evaluating the

results of their investigation, they must exercise “the proper degree of professional

skepticism to achieve reasonable assurance that material noncompliance will be

detected.” (Id. at I-4 (quoting GAS, Paragraph 3.26).) In particular, the Audit Guide

“caution[s auditors] against ignoring basic weaknesses in internal control,

performing audit steps mechanically (auditing form over substance), and accepting

explanations for audit exceptions without competent evidence.” (Id.)

                                    Shaw Mumford

       445.   In 2008, Defendant Shaw Mumford completed its financial and

compliance audits of Defendant Schools for the year ending December 31, 2007,

which Defendant Schools submitted to the Department of Education to maintain

their eligibility to participate in Title IV, HEA Programs. Defendant Shaw Mumford
                                             122
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 123 of 163



specifically represented that it “conducted [its] audit in accordance with auditing

standards generally accepted in the United States of America and Government

Auditing Standards, issued by the Comptroller General of the United States.”

(Cover Letter from Shaw Mumford, June 17, 2008.)

      446.   Shaw Mumford further represented and certified to the Department of

Education that in “accordance with Government Auditing Standards, [Shaw

Mumford] also issued [its] report dated June 17, 2008 on . . . [Shaw Mumford’s]

tests of [Stevens-Henager College, Inc.’s] compliance with certain provisions of laws,

regulations, contracts and grant agreements and other matters.” (Id.) Shaw

recognized that its compliance audit “report is an integral part of an audit

performed in accordance with Government Auditing Standards.” (Id.)

      447.   With respect to the compliance portion of its audit, Shaw Mumford

represented and certified to the Department of Education that it “examined

management’s assertions, that Stevens-Henager College, Inc. complied with the

specified compliance requirements regarding Institutional Eligibility . . . listed in

Section II of the U.S. Department of Education’s Audit Guide, Audits of Federal

Student Financial Assistance Programs at Participating Institutions and Institution

Servicers, relative to participation in the Federal Student Financial Assistance

Programs during the year ended December 31, 2007.” (Report on Compliance with

Specified Requirements Applicable to the SFA Programs, June 16, 2008.)

      448.   Shaw    Mumford     specifically   represented   and   certified   to   the

Department of Education that its work “included examining, on a test basis,


                                         123
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 124 of 163



evidence        about   Stevens-Henager   College,   Inc.’s   compliance   with   those

requirements.” (Id.)

         449.    Shaw Mumford understood that the 2007 audit report was intended for

the benefit of the Department of Educations, that Defendant Schools would submit

the report to the Department of Education, and that the Department of Education

would rely on Shaw Mumford’s compliance audit findings to determine whether

Defendant Schools were eligible to participate in Title IV, HEA Programs. Indeed,

Shaw Mumford’s compliance audit reports twice specifically noted that they were

“intended solely for the information and use of the audit committee, management

and the U.S. Department of Education.” (Report on Internal Control Over Financial

Reporting and on Compliance and Other Matters, June 17, 2008; Report on

Compliance with Specified Requirements Applicable to the SFA Programs, June 16,

2008.)

         450.    On March 13, 2008, Shaw Mumford, through its representative Justin

Shaw, requested that Defendant Schools provide copies of various forms of payroll

reports, specifically payroll reports from Paychex (Defendant Schools’ payroll

service provider at the time) and quarterly payroll reports (Forms 941), for

Defendant Schools’ 2007 operations.

         451.    On information, Relators believe and allege that the payroll

information that Shaw Mumford received in response to its request disclosed that

Defendant Schools were paying substantial bonuses to employees whose primary




                                           124
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 125 of 163



responsibilities included recruiting students and obtaining financial aid, including

to ACs, FAOs, and Directors of Admission.

         452.   Even though the Audit Guide and other auditing standards specifically

required Shaw Mumford to, among other things, (1) report any “discovery of a

fraudulent act or indication of such an act related to Title IV Federal programs,” (id.

at I-4), (2) report “all instances of noncompliance identified . . . by the [auditor]

during his/her engagement” (id. at I-15), and (3) to avoid “accepting explanations for

audit exceptions without competent evidence” (id. at I-4), and despite having

information that Defendant Schools paid substantial bonuses to ACs and others

whose job responsibilities involved recruiting and enrolling students and obtaining

financial aid, Shaw Mumford failed to report such information to the Department of

Education.

         453.   On the contrary, Shaw Mumford certified to the Department of

Education that Defendant Schools “complied, in all material respects, with the

aforementioned requirements for the year ended December 31, 2007.” (Report on

Compliance with Specified Requirements Applicable to the SFA Programs, June 16,

2008.)

         454.   In 2009, Defendant Shaw Mumford completed its financial and

compliance audits of Defendant Schools for the year ending December 31, 2008,

which Defendant Schools submitted to the Department of Education to maintain

their eligibility to participate in Title IV, HEA Programs. Defendant Shaw Mumford

specifically represented that it “conducted [its] audit in accordance with auditing


                                          125
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 126 of 163



standards generally accepted in the United States of America and Government

Auditing Standards, issued by the Comptroller General of the United States.”

(Cover Letter from Shaw Mumford, July 28, 2010.).

      455.   Shaw Mumford further represented and certified to the Department of

Education that in “accordance with Government Auditing Standards, [Shaw

Mumford] also issued [its] report dated June 23, 2009 on . . . [Shaw Mumford’s]

tests of [Stevens-Henager College, Inc.’s] compliance with certain provisions of laws,

regulations, contracts and grant agreements and other matters.” (Id.) Shaw

recognized that its compliance audit “report is an integral part of an audit

performed in accordance with Government Auditing Standards.” (Id.)

      456.   With respect to the compliance portion of its audit, Shaw Mumford

represented and certified to the Department of Education that it “examined

management’s assertions, that Stevens-Henager College, Inc. complied with the

specified compliance requirements regarding Institutional Eligibility . . . listed in

Section II of the U.S. Department of Education’s Audit Guide, Audits of Federal

Student Financial Assistance Programs at Participating Institutions and Institution

Servicers, relative to participation in the Federal Student Financial Assistance

Programs during the year ended December 31, 2008.” (Report on Compliance with

Specified Requirements Applicable to the SFA Programs, June 18, 2009.)

      457.   Shaw    Mumford     specifically   represented   and   certified   to   the

Department of Education that its work “included examining, on a test basis,




                                         126
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 127 of 163



evidence        about   Stevens-Henager   College,   Inc.’s   compliance   with   those

requirements.” (Id.)

         458.    Shaw Mumford understood that the 2008 audit report was intended for

the benefit of the Department of Education, that Defendant Schools would submit

the report to the Department of Education, and that the Department of Education

would rely on Shaw Mumford’s compliance audit findings to determine whether

Defendant Schools were eligible to participate in Title IV, HEA Programs. Indeed,

Shaw Mumford’s compliance audit reports twice specifically noted that they were

“intended solely for the information and use of the audit committee, management

and the U.S. Department of Education.” (Report on Internal Control Over Financial

Reporting and on Compliance and Other Matters, June 23, 2009; Report on

Compliance with Specified Requirements Applicable to the SFA Programs, June 18,

2009.)

         459.    On January 20, 2009, Shaw Mumford, through its representative

Justin Shaw, requested that Defendant Schools provide copies of various forms of

payroll reports, specifically payroll reports from Paychex and quarterly payroll

reports (Forms 941), for Defendant Schools’ 2008 operations.

         460.    On information, Relators believe and allege that the payroll

information that Shaw Mumford received in response to its request disclosed that

Defendant Schools were paying substantial bonuses to employees whose primary

responsibilities included recruiting students and obtaining financial aid, including

to ACs, FAOs, and Directors of Admission.


                                           127
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 128 of 163



         461.   Even though the Audit Guide and other auditing standards specifically

required Shaw Mumford to, among other things, (1) report any “discovery of a

fraudulent act or indication of such an act related to Title IV Federal programs,” (id.

at I-4), (2) report “all instances of noncompliance identified . . . by the [auditor]

during his/her engagement” (id. at I-15), and (3) to avoid “accepting explanations for

audit exceptions without competent evidence” (id. at I-4), and despite having

information that Defendant Schools paid substantial bonuses to ACs and others

whose job responsibilities involved recruiting and enrolling students and obtaining

financial aid, Shaw Mumford failed to report such information to the Department of

Education.

         462.   On the contrary, Shaw Mumford certified to the Department of

Education that Defendant Schools “complied, in all material respects, with the

aforementioned requirements for the year ended December 31, 2008.” (Report on

Compliance with Specified Requirements Applicable to the SFA Programs, June 18,

2008.)

         463.   Shaw Mumford also represented and certified to the Department of

Education that the “results of [its] tests disclosed no instances of noncompliance.”

(Report on Internal Control Over Financial Reporting and on Compliance and Other

Matters, June 23, 2009.)

         464.   For both the 2007 and 2008 compliance audits, Shaw Mumford

represented to the Department of Education that with respect to “Institutional

Eligibility”    parameters,   which    includes   compliance   with    the   Incentive


                                          128
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 129 of 163



Compensation Ban, it applied a “0%” “error rate” “threshold . . . with respect to the

definition of material noncompliance.” (Report on Compliance with Specified

Requirements Applicable to the SFA Programs, June 18, 2008; Report on

Compliance with Specified Requirements Applicable to the SFA Programs, June 18,

2009.) In other words, Shaw Mumford told the Department of Education that for

violations of the Incentive Compensation Ban, any single violation would have been

reported. But Shaw Mumford reported none, even though it certified to the

Department of Education that it reviewed Defendant Schools’ payroll records, which

showed that Defendant Schools had paid large bonuses to numerous employees

engaged in recruiting students and securing financial aid during the years audited.

                            PricewaterhouseCoopers

      465.   In 2010, PwC completed its compliance audit of Defendant Schools’

             management’s assertion, included in its representation
             letter dated June 30, 2010, that, for the year ended
             December 31, 2009, Stevens-Henager College, Inc. (the
             “College”) complied with the requirements listed in
             Section II of the U.S. Department of Education’s Audit
             Guide, Audits of Federal Student Financial Assistance
             Programs at Participating Institutions and Institution
             Servicers, 2000 Revision (the “Audit Guide”), relative to
             participation in the Federal Student Financial Assistance
             Programs (the “Programs”) regarding[,]

among other things, “Institutional Eligibility and Participation.” (Cover Letter from

PwC, June 30, 2010.)

      466.   PwC understood that the audit report was intended for the benefit of

the Department of Education, that Defendant Schools would submit the report to

the Department of Education, and that the Department of Education would rely on

                                        129
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 130 of 163



PwC’s compliance audit findings to determine whether Defendant Schools were

eligible to participate in Title IV, HEA Programs. Indeed, PwC’s compliance audit

report specifically noted that the “report is intended solely for the information and

use of management and the U.S. Department of Education.” (Id.)

      467.   With respect to the 2009 compliance audit, which Defendant Schools

submitted to the Department of Education to maintain their eligibility to

participate in Title IV, HEA Program, PwC represented and certified that its

“examination was made in accordance with Government Auditing Standards, issued

by the Comptroller General of the United States; attestation standards established

by the American Institute of Certified Public Accountants; and the Audit Guide, and

accordingly, included examining, on a test basis, evidence about the College’s

compliance with Program requirements.” (Id.)

      468.   In connection with PwC’s compliance audit for 2009, on June 1, 2010,

PwC’s representative, Stewart McRae, requested that Defendant Schools provide

information relating to the payroll/compensation of the Schools’ recruiting

personnel in 2009, including information about how campus recruiting personnel

were compensated.

      469.   Defendant Schools provided some information in response to this

request later on June 1, 2010.

      470.   On June 3, 2010, PwC’s representative, Yair Katz, whose office is

located in Los Angeles, California, requested further payroll reports for Defendant

Schools’ 2009 operations.


                                        130
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 131 of 163



      471.   Defendant Schools provided the requested payroll reports to PwC’s

representative, Mr. Katz, on June 15, 2010. That information included payroll

information for ACs who had received bonuses in 2009.

      472.   From that information, PwC selected a sample of four ACs who

received bonuses in 2009, including Kiersten Murdoch, Hilary Baker, Hillary

Kirschman, and Caleb Garcia. PwC learned that several of these ACs received

substantial bonus amounts in 2009, including, in one case, more than $25,000,

which PwC knew from the information provided represented more than 36% of that

AC’s take home pay for 2009.

      473.   PwC never contacted Hilary Baker or Hillary Kirschman to discuss

why they were paid bonuses in 2009, even though PwC knew that both of them

received substantial bonuses for that year. Both Ms. Baker and Ms. Kirschman

were paid bonuses on the same basis as the other ACs, as described above,

including the Enrollment-Related Requirements. On information, Relators believe

and allege that PwC never contacted any of the other ACs identified by Defendant

Schools as having received bonuses in 2009 to inquire about why and how such

bonuses were awarded and paid.

      474.   Even though the Audit Guide and other auditing standards specifically

required PwC to, among other things, (1) report any “discovery of a fraudulent act

or indication of such an act related to Title IV Federal programs,” (id. at I-4), (2)

report “all instances of noncompliance identified . . . by the [auditor] during his/her

engagement” (id. at I-15), and (3) to avoid “accepting explanations for audit


                                         131
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 132 of 163



exceptions without competent evidence” (id. at I-4), and despite having knowledge

that Defendant Schools paid substantial bonuses to ACs whose job responsibilities

involved recruiting and enrolling students, PwC failed to report such information to

the Department of Education.

         475.    On the contrary, PwC’s concluded and certified that “the College

complied,       in   all   material   respects,   with   the   aforementioned      compliance

requirements contained in Section II of the Audit Guide for the year ended

December 31, 2009.” (Cover Letter from PwC, June 30, 2010.) Indeed, PwC told the

Department of Education that “[t]here were no findings for the audit period (year

ended December 31, 2009)” even though PwC was aware that numerous ACs were

paid bonuses during the relevant time period. (2009 Compliance Audit Report.)

                                  Weworksi & Associates

         476.    In Weworski’s audit reports for 2010 and 2011, Weworksi certified that

it had

                 examined management’s assertions that Stevens-Henager
                 College (the Institution) complied with the specified
                 compliance         requirements      regarding    Institutional
                 Eligibility . . . listed in Section II of the U.S. Department
                 of Education's Audit Guide, Audits of Federal Student
                 Financial       Assistance     Programs      at   Participating
                 Institutions and Institution Servicers, relative to
                 participation in the Federal Student Financial Assistance
                 Programs during the fiscal year ended December 31,
                 2010.

(Cover Letters to Independent Accountants’ Report on Compliance with Specified

Requirements Applicable to the FSFA Programs, June 16, 2011 & June 18, 2012.)




                                              132
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 133 of 163



        477.   In its 2010 and 2011 audit reports, Weworksi also specifically certified

to the Department of Education that its

               examination was conducted in accordance with
               Government Auditing Standards, issued by the
               Comptroller General of the United States; attestation
               standards established by the American Institute of
               Certified Public Accountants; and the Audit Guide, Audits
               of Federal Student Financial Assistance Programs at
               Participating Institutions and Institution Servicers, issued
               by the U.S. Department of Education, Office of the
               Inspector General, [2000 Revision, including all
               subsequent amendments] and accordingly, included
               examining, on a test basis, evidence about the
               Institution's compliance with those requirements.”

(Id.)

        478.   Weworski specifically understood and knew that Defendant Schools

would send its audit reports to the Department of Education and that the

Department of Education would rely on its audit reports to determine whether

Defendant Schools were eligible to participate in Title IV, HEA Programs. Indeed,

Weworski’s compliance audit report specifically noted that the “report is intended

solely for the information and use of the audit committee, management, and the

U.S. Department of Education.” (Id.)

        479.   In approximately April 2011, Weworksi, or someone acting on behalf of

Weworkski, asked to review Defendant Schools’ payroll records for all financial aid

and admissions personnel for the period January 1, 2010, to December 31, 2010.

Defendant Schools complied with this request and provided the requested payroll

information. On information, Relators believe and allege that Weworski, or someone



                                           133
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 134 of 163



acting on behalf of Weworksi, made similar requests for payroll records for the 2011

compliance audits.

      480.    The payroll information that Defendant Schools provided in response

to the request in 2010 disclosed that Defendant Schools were paying substantial

bonuses to employees whose primary responsibilities included recruiting students

and obtaining financial aid, including to ACs and FAOs. For example, the

documents identified specific ACs and FAOs at each of Defendant Schools’

campuses and showed that these employees received substantial bonus payments

on a regular basis on their 2010 paychecks. The reports were compiled summaries

of the employees’ paystubs throughout the year, separately listing regular pay,

bonus pay, taxes, and benefit payments for each 2010 paystub. The reports also

aggregated the payments by campus and by position. For example, the reports

showed that in 2010, ACs at Defendant Schools’ Fort Collins campus were paid

more than $135,000 in bonuses and the ACs at the San Diego campus were paid

more than $100,000 in bonuses. On information, Relators believe and allege that

Weworski obtained similar information for the 2011 audit year.

      481.    Even though Weworksi was required to obtain and review these

payroll records for the purpose of determining whether Defendant Schools were

paying bonuses to ACs, FAOs, and other employees in similar positions, Weworksi

told the Department of Education in its 2010 and 2011 audit reports that “the

Institution   complied,   in   all   material   respects,   with   the   aforementioned




                                          134
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 135 of 163



requirements[, which includes the Incentive Compensation Ban,] for the [relevant]

fiscal year[s].” (Id.)

       482.    Weworksi represented to the Department of Education that with

respect to “Institutional Eligibility” parameters, which includes compliance with the

Incentive Compensation Ban, it applied a “0%” “error rate” to the determination of

“a material instance of non-compliance.” (Id.) In other words, Weworksi told the

Department of Education that for violations of the Incentive Compensation Ban,

any single violation would have been reported. But Weworski reported none, even

though it certified to the Department of Education that it reviewed Defendant

Schools’ payroll records, which showed that Defendant Schools had paid large

bonuses to numerous employees engaged in recruiting students and securing

financial aid during the years audited.

       483.    On information, Relators believe and allege that Defendant Auditors

knowingly failed to perform the audits under the standards set forth in the Audit

Guide, the GASs, and the SSAEs, even though they certified to the Department of

Education they had done so, and particularly, knowingly failed to determine

whether Defendant Schools’ compensation practices for ACs, FAOs, and other

employees complied with all applicable legal requirements using the procedures

required by the Audit Guide, the GASs, and the SSAEs, and therefore, whether the

corresponding Required Management Assertions were true and correct.

       484.    Specifically, based on the information set forth above, Relators believe

and allege that Defendant Auditors knowingly failed to, among other things, (1) test


                                          135
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 136 of 163



payroll and other disbursement records to determine compliance with the Incentive

Compensation Ban, even though the payroll records disclosed that Defendant

Schools were not in compliance; (2) perform examination-level verifications of

Defendant Schools’ attestation that they did not violate the Incentive Compensation

Ban; (3) design their examinations to detect intentional noncompliance with the

Incentive Compensation Ban; (4) use due care to tailor the examination procedures

so that the compliance attestation engagement objectives were achieved, including

the objectives relating to the attestations about the Incentive Compensation Ban;

(5) design and perform examination procedures that were reasonably capable of

detecting significant illegal acts, including systematic and widespread violations of

the Incentive Compensation Ban; (6) take special precautions to detect fraud or

high risk areas, including with respect to the Incentive Compensation Ban; (7)

recognize basic weaknesses in internal control; (8) review, evaluate, and document

the institution’s methodologies for determining compliance with institutional

eligibility and participation criteria, particularly the methodologies relating to the

Incentive Compensation Ban; (9) exercise the proper degree of professional

skepticism to achieve reasonable assurance that material noncompliance would be

detected; and (10) guard against accepting explanations for audit exceptions

without competent evidence. Nevertheless, Defendant Auditors certified to the

Department of Education that they in fact had done these things as part of their

audits.




                                         136
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 137 of 163



      485.   Additionally, even though several (if not all) of Defendant Schools

displayed “high risk indicators” of fraud and abuse, on information, Relators believe

and allege that Defendant Auditors knowingly failed to identify or follow up on such

indicators and knowingly failed to notify the Department of Education, as required.

These high risk indicators of fraud included, among other things, (1) payroll records

that disclosed substantial bonus payments to employees engaged in recruiting

students and securing financial aid, (2) “[r]apid growth in a short period of time,”

which is listed in the Audit Guide as an example of a high risk indicator of fraud

and abuse (Audit Guide, Appendix B), (3) “use of high pressure recruitment tactics,”

which is also listed in the Audit Guide (id.), and (4) “high turnover of . . . staff,”

particularly ACs, which is also listed in the Audit Guide (id.).

      486.   On information, Relators believe and allege that Defendant Auditors

should have paid particular attention to Defendant Schools’ compensation practices

for ACs because Defendant Auditors knew that (1) Defendant Schools derived a

substantial portion of their revenues from Title IV, HEA programs; (2) a large

majority of students attending Defendant Schools paid for their education, at least

in part, with Title IV funding; (3) Defendant Schools expended large amounts on AC

compensation; and (4) a large proportion of Defendant Schools’ compensation for

ACs was denominated as “bonuses.”

      487.   On information, Relators believe and allege that Defendant Auditors

issued compliance audit reports knowing them to be false with respect to the audit

procedures they performed to determine Defendant Schools’ compliance with the


                                          137
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 138 of 163



Incentive Compensation Ban or in reckless disregard of the truth or falsity of the

information they provided to the United States on this subject.

      488.   Defendant Auditors made false certifications of compliance respecting

Defendant Schools’ compliance obligations while knowing that Defendant Schools

would submit such certifications to the Department of Education to obtain Title IV

funding and to remain eligible to receive Title IV funding. Defendant Auditors

intended for the Department of Education to rely on their audit opinions and

statements. As a result, Defendant Auditors caused the United States to pay Title

IV, HEA program funds to Defendant Schools by such false and fraudulent

compliance audit opinions.

      489.   Defendant Auditors were required to know every significant aspect of

Defendant Schools’ AC compensation practices under applicable audit standards

and guidelines. Nevertheless, on information, Relators believe and allege that

Defendant Auditors either failed to discover that Defendant Schools’ compensation

practices violated the Incentive Compensation Ban, even though they had a duty to

discover such facts and would have discovered such facts had they complied with

the Audit Guide, the GASs, and the SSAEs, or failed to disclose and make known to

the Department of Education that Defendant Schools’ compensation practices

violated the Incentive Compensation Ban.      Under either alternative, Defendant

Auditors facilitated Defendant Schools’ violation of the Incentive Compensation Ban

even though Defendant Auditors were specifically responsible for detecting and

disclosing to the Department of Education such violations.


                                        138
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 139 of 163



      490.   On information, Relators believe and allege that Defendant Auditors

received substantial compensation for preparing the compliance audits and

financial statement audit opinions for Defendant Schools. On information, Relators

believe and allege that Defendant Auditors realized that if they made known

Defendant Schools’ illegal compensation practices to the Department of Education

or even closely scrutinized such practices, as they were required to do, they were

likely to lose Defendant Schools’ business and the substantial compensation they

received from Defendant Schools.

      491.   As set forth above, each compliance audit opinion issued by Defendant

Auditors expressly stated and certified that Defendant Auditors had conducted

their audit work in accordance with applicable standards and guidelines, including

the Audit Guide, the GASs, and the SSAEs, even though Defendant Auditors knew

such certifications were false.

      492.   By issuing audit statements and opinions that failed to disclose that

Defendant Schools’ compensation practices violated the Incentive Compensation

Ban, Defendant Auditors facilitated the ongoing and long-term violation of the

Incentive Compensation Ban by Defendant Schools. Defendant Schools were

required to submit the audit reports from Defendant Auditors each year in order to

establish to the Department of Education that they had complied with all applicable

rules and regulations, including the Incentive Compensation Ban, and that

Defendant Schools would continue in compliance with such rules and regulations

going forward. Had Defendant Auditors disclosed Defendant Schools’ violations of


                                       139
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 140 of 163



the Incentive Compensation Ban, the Department of Education and ACCSC would

have taken action against Defendant Schools and prevented further violations of

the Incentive Compensation Ban. By failing to disclose Defendant Schools’

violations of the Incentive Compensation Ban, Defendant Auditors compounded the

damages to the Department of Education by permitting Defendant Schools’ to

remain eligible for Title IV, HEA programs year after year.

VII.   CLAIMS FOR RELIEF.

                                     CLAIM I

              VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

        (31 U.S.C. § 3729(a)(1) (1986) -- False Claims Regarding Compliance With
              Title IV -- Against Defendant Schools and Defendant Auditors)

       493.   Relators re-allege and incorporate herein paragraphs 1 through 492.

       494.   From July 1, 2002, to May 20, 2009, Defendants knowingly presented

or caused to be presented false or fraudulent claims to the United States for

payment, in violation of the FCA, 31 U.S.C. § 3729(a)(1).

       495.   Specifically, Defendant Schools knowingly submitted or caused to be

submitted false certifications regarding compliance with the requirements of Title

IV of the HEA, in, inter alia, their PPAs and annual financial and compliance

audits, as well as in student loan and grant applications, in order to obtain

eligibility to participate in Title IV, HEA programs and receive Title IV funding,

when in fact, Defendant Schools’ compensation practices did not comply with the

Title IV of the HEA and its associated safe harbor regulations. Additionally,

Defendant Schools knowingly submitted or caused to be submitted false


                                         140
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 141 of 163



certifications regarding compliance with the requirements of Title IV of the HEA

relating to the 90-10 Rule. In submitting or causing to be submitted such

certifications and applications, Defendant Schools acted with actual knowledge,

reckless disregard, or deliberate ignorance of the truth or falsity of the claims.

      496.   Defendant Schools made express representations in writing to the

Department of Education that they would not make incentive payments to their

admissions personnel based directly or indirectly on their success in securing

enrollments. These representations induced the Department of Education to make

students at Defendant Schools eligible for many forms of financial aid under Title

IV, HEA programs. These representations were material to the Department of

Education’s decision to make Defendant Schools eligible for these financial aid

programs. At the time Defendant Schools made these representations, they knew

that these representations were false, and would continue to be false, because

Defendant Schools were paying their admissions personnel incentive payments

based on their success in securing enrollments. Therefore, Defendant Schools

fraudulently induced the Department of Education to make Defendant Schools

eligible to participate in the Title IV, HEA programs, and each and every one of the

claims they submitted or caused a student to submit violated the FCA.

      497.   Even if Defendant Schools had not affirmed to the government that

they would comply with the Incentive Compensation Ban and 90-10 Rule, the mere

fact that such compliance was material to the government’s decision to make

Defendant Schools eligible for Title IV, HEA programs, combined with the fact that


                                          141
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 142 of 163



Defendant Schools, knowing that they were in violation of the Incentive

Compensation Ban and 90-10 Rule and therefore ineligible to receive such student

financial aid, submitted claims for student financial aid, caused students to submit

claims for student financial, and/or received such aid, makes Defendant Schools

liable under the FCA.

      498.   Defendant Barney established, directed, and controlled the policies,

practices, and procedures of Defendant Schools, including policies, practices, and

procedures relating to Defendant Schools’ submission of materially false

certifications and statements to the Department of Education concerning their

purported compliance with the Incentive Compensation Ban and Defendant Schools’

actual compensation practices, including the practices that violate the Incentive

Compensation Ban. Even though Defendant Barney knew that such compensation

practices violated the Incentive Compensation Ban, he directed or permitted

Defendant Schools to expressly certify to the Department of Education that they

were in compliance with the Incentive Compensation Ban and to represent to the

Department of Education that Defendant Schools would comply with the ban. As a

result, Defendant Barney knowingly caused Defendant Schools’ submission of false

claims to the Department of Education.

      499.   Additionally, Defendant Schools expressly promised the Department of

Education in writing that they would comply with all applicable regulations

concerning attendance-taking, refunds of unearned Title IV funds, and requiring

satisfactory academic progress of all students. Defendant Schools later expressly


                                         142
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 143 of 163



certified to the Department of Education that they had, in fact, complied with all

such applicable regulations. However, at the time Defendant Schools made such

promises, representations, and certifications to the Department of Education, they

knew that such promises, representations, and certifications were materially false

and that they did not intend to comply with such regulations. Defendant Schools

therefore fraudulently induced the Department of Education to make them eligible

to participate in the Title IV, HEA programs, and each and every one of the claims

they submitted or caused a student to submit violated the FCA. Further, because

Defendant Schools knew that compliance with such regulations was material to the

Department of Education’s decision to permit them and their students to participate

in Title IV, Defendant Schools’ knowledge they were not in compliance with such

regulations renders every request for Title IV funding that Defendant Schools and

their students submitted false and fraudulent.

      500.   Defendant Auditors made express representations to the Department

of Education that they performed their audits of Defendant Schools in accordance

with applicable standards and guidelines. These representations induced the

Department of Education to make students at Defendant Schools eligible for many

forms of financial aid. These representations were material to the Department of

Education’s determination that Defendant Schools were eligible to participate in

Title IV, HEA programs.        At the time Defendant Auditors made these

representations, they knew that these representations were false, and would

continue to be false, because Defendant Auditors did not perform the audit steps


                                        143
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 144 of 163



and procedures required under applicable standards and guidelines. Therefore,

Defendant Auditors fraudulently induced the Department of Education to make

Defendant Schools eligible to participate in the Title IV, HEA programs, and each of

the claims they submitted or caused a student to submit violated the FCA.

       501.   In submitting or causing to be submitted such claims, Defendants

acted with actual knowledge, reckless disregard, or deliberate ignorance of the truth

or falsity of the claims.

       502.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                     CLAIM II

              VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

       (31 U.S.C. § 3729(a)(1)(A) (2009) - False Claims Regarding Compliance With
             Title IV -- Against Defendant Schools and Defendant Auditors)

       503.   Relators re-allege and incorporate herein paragraphs 1 through 502.

       504.   From May 20, 2009 to at least 2011, Defendants knowingly presented

or caused to be presented false or fraudulent claims for payment to the United

States, in violation of the FCA, 31 U.S.C. § 3729(a)(1)(A). Specifically, Defendant

Schools knowingly submitted or caused to be submitted false certifications

regarding compliance with the requirements of Title IV of the HEA, in, inter alia,

their PPAs and annual financial and compliance audits, as well as in student loan

and grant applications, in order to obtain eligibility to participate in Title IV, HEA

programs and receive Title IV funding, when in fact, Defendant Schools’

compensation practices did not comply with the Title IV of the HEA and its


                                         144
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 145 of 163



associated safe harbor regulations. In submitting or causing to be submitted such

certifications and applications, Defendant Schools acted with actual knowledge,

reckless disregard, or deliberate ignorance of the truth or falsity of the claims.

      505.   Defendant Schools made express representations in writing to the

Department of Education that they would not make incentive payments to their

admissions personnel based directly or indirectly on their success in securing

enrollments. Additionally, Defendant Schools made specific representations

regarding compliance with the 90-10 Rule. These representations induced the

Department of Education to make students at Defendant Schools eligible for many

forms of financial aid under Title IV, HEA programs. These representations were

material to the Department of Education’s decision to make Defendant Schools

eligible for these financial aid programs. At the time Defendant Schools made these

representations, they knew that these representations were false, and would

continue to be false, because Defendant Schools were paying their admissions

personnel incentive payments based on their success in securing enrollments and

were knowingly violating the 90-10 Rule. Therefore, Defendant Schools fraudulently

induced the Department of Education to make Defendant Schools eligible to

participate in the Title IV, HEA programs, and each and every one of the claims

they submitted or caused a student to submit violated the FCA.

      506.   Even if Defendant Schools had not affirmed to the government that

they would comply with the Incentive Compensation Ban and 90-10 Rule, the mere

fact that such compliance was material to the government’s decision to make


                                          145
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 146 of 163



Defendant Schools eligible for Title IV, HEA programs, combined with the fact that

Defendant Schools, knowing that they were in violation of the Incentive

Compensation Ban and 90-10 Rule and therefore ineligible to receive such student

financial aid, submitted claims for student financial aid, caused students to submit

claims for student financial, and/or received such aid, makes Defendant Schools

liable under the FCA.

      507.   Defendant Barney established, directed, and controlled the policies,

practices, and procedures of Defendant Schools, including policies, practices, and

procedures relating to Defendant Schools’ submission of materially false

certifications and statements to the Department of Education concerning their

purported compliance with the Incentive Compensation Ban and Defendant Schools’

actual compensation practices, including the practices that violate the Incentive

Compensation Ban. Even though Defendant Barney knew that such compensation

practices violated the Incentive Compensation Ban, he directed or permitted

Defendant Schools to expressly certify to the Department of Education that they

were in compliance with the Incentive Compensation Ban and to represent to the

Department of Education that Defendant Schools would comply with the ban. As a

result, Defendant Barney knowingly caused Defendant Schools’ submission of false

claims to the Department of Education.

      508.   Additionally, Defendant Schools expressly promised the Department of

Education in writing that they would comply with all applicable regulations

concerning attendance-taking, refunds of unearned Title IV funds, and requiring


                                         146
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 147 of 163



satisfactory academic progress of all students. Defendant Schools later expressly

certified to the Department of Education that they had, in fact, complied with all

such applicable regulations. However, at the time Defendant Schools made such

promises, representations, and certifications to the Department of Education, they

knew that such promises, representations, and certifications were materially false

and that they did not intend to comply with such regulations. Defendant Schools

therefore fraudulently induced the Department of Education to make them eligible

to participate in the Title IV, HEA programs, and each and every one of the claims

they submitted or caused a student to submit violated the FCA. Further, because

Defendant Schools knew that compliance with such regulations was material to the

Department of Education’s decision to permit them and their students to participate

in Title IV, Defendant Schools’ knowledge they were not in compliance with such

regulations renders every request for Title IV funding that Defendant Schools and

their students submitted false and fraudulent.

      509.   Defendant Auditors made express representations to the Department

of Education that they performed their audits of Defendant Schools in accordance

with applicable standards and guidelines. These representations induced the

Department of Education to make students at Defendant Schools eligible for many

forms of financial aid. These representations were material to the Department of

Education’s determination that Defendant Schools were eligible to participate in

Title IV, HEA programs.        At the time Defendant Auditors made these

representations, they knew that these representations were false, and would


                                        147
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 148 of 163



continue to be false, because Defendant Auditors did not perform the audit steps

and procedures required under applicable standards and guidelines. Therefore,

Defendant Auditors fraudulently induced the Department of Education to make

Defendant Schools eligible to participate in the Title IV, HEA programs, and each

and every one of the claims they submitted or caused a student to submit violated

the FCA.

       510.   In submitting or causing to be submitted such claims, Defendants

acted with actual knowledge, reckless disregard, or deliberate ignorance of the truth

or falsity of the claims.

       511.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                    CLAIM III

              VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

        (31 U.S.C. § 3729(a)(1) (1986) - False Claims Regarding Compliance With
                  Accrediting Standards -- Against Defendant Schools)

       512.   Relators re-allege and incorporate herein paragraphs 1 through 511.

       513.   From July 1, 2002, to May 20, 2009, Defendant Schools knowingly

presented or caused to be presented false or fraudulent claims for payment to the

United States, in violation of the FCA, 31 U.S.C. § 3729(a)(1). Specifically,

Defendant Schools knowingly submitted or caused to be submitted false

certifications of accreditation by the ACCSC, Defendant Schools’ accrediting agency.

Defendant Schools knowingly provided false information to ACCSC, including false

Faculty Personnel Reports, other false information about faculty qualifications and


                                         148
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 149 of 163



admissions standards, false information about attendance-taking practices, and

false information about student academic performance practices, for the purpose of

causing and inducing ACCSC to determine that Defendant Schools met ACCSC’s

minimum accrediting standards and were therefore eligible for accreditation when

in fact Defendant Schools did not meet the minimum accrediting standards and

were not eligible for accreditation. Defendant Schools knew that ACCSC would

communicate such accreditation decision, which was based on false information, to

the Department of Education and that the Department of Education would rely on

the ACCSC’s accreditation to determine that Defendant Schools were eligible to

participate in Title IV, HEA programs. Defendant Schools knew that ACCSC’s

accreditation determination was (and is) material to the Department of Education’s

decision to make Defendant Schools eligible to participate in Title IV, HEA

programs. Therefore, Defendant Schools knowingly caused ACCSC to fraudulently

induce the Department of Education to make Defendant Schools eligible to

participate in the Title IV, HEA programs, and each and every one of the claims

Defendant Schools submitted or caused a student to submit violated the FCA.

      514.   Additionally, Defendant Schools knowingly submitted or caused to be

submitted false certifications regarding compliance with the requirements of Title

IV of the HEA, specifically the requirement that it meet the requirements

established by a nationally recognized accrediting agency, in their PPAs. Because

Defendant Schools knew that they did not meet the requirements established by the

ACCSC with respect to faculty qualifications, attendance, academic performance,


                                       149
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 150 of 163



and admissions standards, such certifications were knowingly false. Defendant

Schools knew that their certifications regarding compliance with the accrediting

standards were material to the Department of Education’s decision to make

Defendant Schools eligible to participate in Title IV, HEA programs. As a result,

each and every one of the claims Defendant Schools submitted or caused a student

to submit violated the FCA.

      515.   In submitting or causing to be submitted such claims, Defendant

Schools acted with actual knowledge, reckless disregard, or deliberate ignorance of

the truth or falsity of the claims.

      516.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                      CLAIM IV

             VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

       (31 U.S.C. § 3729(a)(1)(A) (2009) - False Claims Regarding Compliance With
                   Accrediting Standards -- Against Defendant Schools)

      517.   Relators re-allege and incorporate herein paragraphs 1 through 516.

      518.   From May 20, 2009 to at least 2011, Defendant Schools knowingly

presented or caused to be presented false or fraudulent claims for payment to the

United States, in violation of the FCA, 31 U.S.C. § 3729(a)(1)(A). Specifically,

Defendant Schools knowingly submitted or caused to be submitted false

certifications of accreditation by the ACCSC, Defendant Schools’ accrediting agency.

Defendant Schools knowingly provided false information to ACCSC, including false

Faculty Personnel Reports, other false information about faculty qualifications and


                                        150
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 151 of 163



admissions standards, false information about attendance-taking practices, and

false information about student academic performance practices, for the purpose of

causing and inducing ACCSC to determine that Defendant Schools met ACCSC’s

minimum accrediting standards and were therefore eligible for accreditation when

in fact Defendant Schools did not meet the minimum accrediting standards and

were not eligible for accreditation. Defendant Schools knew that ACCSC would

communicate such accreditation decision, which was based on false information, to

the Department of Education and that the Department of Education would rely on

the ACCSC’s accreditation to determine that Defendant Schools were eligible to

participate in Title IV, HEA programs. Defendant Schools knew that ACCSC’s

accreditation determination was (and is) material to the Department of Education’s

decision to make Defendant Schools eligible to participate in Title IV, HEA

programs. Therefore, Defendant Schools knowingly caused ACCSC to fraudulently

induce the Department of Education to make Defendant Schools eligible to

participate in the Title IV, HEA programs, and each and every one of the claims

Defendant Schools submitted or caused a student to submit violated the FCA.

      519.   Additionally, Defendant Schools knowingly submitted or caused to be

submitted false certifications regarding compliance with the requirements of Title

IV of the HEA, specifically the requirement that they meet the requirements

established by a nationally recognized accrediting agency, in their PPAs. Because

Defendant Schools knew that they did not meet the requirements established by the

ACCSC with respect to faculty qualifications, attendance, academic performance,


                                       151
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 152 of 163



and admissions standards, such certifications were knowingly false. Defendant

Schools knew that their certifications regarding compliance with the accrediting

standards were material to the Department of Education’s decision to make

Defendant Schools eligible to participate in Title IV, HEA programs. As a result,

each and every one of the claims Defendant Schools submitted or caused a student

to submit violated the FCA.

      520.   In submitting or causing to be submitted such claims, Defendant

Schools acted with actual knowledge, reckless disregard, or deliberate ignorance of

the truth or falsity of the claims.

      521.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                      CLAIM V

             VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

         (31 U.S.C. § 3729(a)(2) (1986) - False Statements and Records Regarding
          Compliance with Title IV -- Against Defendant Schools and Defendant
                                          Auditors)

      522.   Relators re-allege and incorporate herein paragraphs 1 through 521.

      523.   From July 1, 2002, to June 7, 2008, Defendants knowingly made, used,

or caused to be made or used false records or statements material to false or

fraudulent claims, in violation of 31 U.S.C. § 3729(a)(2).   Specifically, Defendant

Schools knowingly made, used, and caused to be made or used, false certifications

regarding compliance with the requirements of Title IV of the HEA, in, inter alia,

their PPAs and annual compliance audits, as well as in student loan and grant

applications, in order to obtain eligibility to participate in Title IV, HEA programs
                                        152
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 153 of 163



and to receive Title IV funding, when in fact, Defendant Schools’ compensation

practices did not comply with Title IV of the HEA and its associated safe harbor

regulations. Additionally, Defendant Schools knowingly submitted or caused to be

submitted false records regarding compliance with the requirements of Title IV of

the HEA relating to the 90-10 Rule.

      524.   Defendant    Barney   directed    Defendant    Schools’   submission   of

materially false certifications and statements to the Department of Education,

including those concerning their purported compliance with the Incentive

Compensation Ban and Defendant Schools’ actual compensation practices, including

the practices that violate the Incentive Compensation Ban. Even though Defendant

Barney   knew    that    such   compensation    practices   violated   the   Incentive

Compensation Ban, he directed or permitted Defendant Schools to expressly certify

to the Department of Education that they were in compliance with the Incentive

Compensation Ban and to represent to the Department of Education that

Defendant Schools would comply with the ban. As a result, Defendant Barney

knowingly caused Defendant Schools’ submission of false claims to the Department

of Education.

      525.   Additionally, Defendant Schools expressly certified to the Department

of Education that they were in compliance with all regulations relating to

attendance-taking, refunds of unearned Title IV funds, and requiring satisfactory

academic progress of all students. At the time Defendant Schools made such

certifications to the Department of Education, they knew that such certifications


                                        153
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 154 of 163



were materially false and that they did not intend to and were not then in

compliance with such regulations.

      526.   Defendant Auditors knowingly made, used, and caused to be made or

used, false certifications regarding Defendant Schools’ compliance with the

requirements of Title IV of the HEA in their annual audit reports for the purpose of

inducing the Department of Education to make Defendant Schools eligible to

participate in Title IV, HEA programs when in fact, Defendant Schools’

compensation practices did not comply with Title IV of the HEA and its associated

safe harbor regulations.

      527.   In making, using, or causing to be made or used such false records and

statements, Defendants acted with actual knowledge, reckless disregard, or

deliberate ignorance of the truth or falsity of the claims.

      528.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                      CLAIM VI

             VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

       (31 U.S.C. § 3729(a)(1)(B) (2009) - False Statements and Records Regarding
          Compliance with Title IV -- Against Defendant Schools and Defendant
                                         Auditors)

      529.   Relators re-allege and incorporate herein paragraphs 1 through 528.

      530.   From June 7, 2008 to at least 2011, Defendants knowingly made, used,

or caused to be made or used false records or statements material to false or

fraudulent claims, in violation of 31 U.S.C. § 3729(a)(1)(B). Specifically, Defendant

Schools knowingly made, used, and caused to be made or used, false certifications
                                          154
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 155 of 163



regarding compliance with the requirements of Title IV of the HEA, in, inter alia,

their PPAs and annual compliance audits, as well as in student loan and grant

applications, in order to obtain eligibility to participate in Title IV, HEA programs

and to receive Title IV funding, when in fact, Defendant Schools’ compensation

practices did not comply with Title IV of the HEA and its associated safe harbor

regulations. Additionally, Defendant Schools knowingly submitted or caused to be

submitted false records regarding compliance with the requirements of Title IV of

the HEA relating to the 90-10 Rule.

      531.   Defendant    Barney   directed    Defendant    Schools’   submission   of

materially false certifications and statements to the Department of Education,

including those concerning their purported compliance with the Incentive

Compensation Ban and Defendant Schools’ actual compensation practices, including

the practices that violate the Incentive Compensation Ban. Even though Defendant

Barney   knew    that    such   compensation    practices   violated   the   Incentive

Compensation Ban, he directed or permitted Defendant Schools to expressly certify

to the Department of Education that they were in compliance with the Incentive

Compensation Ban and to represent to the Department of Education that

Defendant Schools would comply with the ban.        As a result, Defendant Barney

knowingly caused Defendant Schools’ submission of false claims to the Department

of Education.

      532.   Additionally, Defendant Schools expressly certified to the Department

of Education that they were in compliance with all regulations relating to


                                        155
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 156 of 163



attendance-taking, refunds of unearned Title IV funds, and requiring satisfactory

academic progress of all students. At the time Defendant Schools made such

certifications to the Department of Education, they knew that such certifications

were materially false and that they did not intend to and were not then in

compliance with such regulations.

      533.   Defendant Auditors knowingly made, used, and caused to be made or

used, false certifications regarding Defendant Schools’ compliance with the

requirements of Title IV of the HEA in their annual audit reports for the purpose of

inducing the Department of Education to make Defendant Schools eligible to

participate in Title IV, HEA programs when in fact, Defendant Schools’

compensation practices did not comply with Title IV of the HEA and its associated

safe harbor regulations.

      534.   In making, using, or causing to be made or used such false records and

statements, Defendants acted with actual knowledge, reckless disregard, or

deliberate ignorance of the truth or falsity of the claims.

      535.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                      CLAIM VII

             VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

        (31 U.S.C. § 3729(a)(2) (1986) - False Statements and Records Regarding
         Compliance With Accrediting Standards -- Against Defendant Schools)

      536.   Relators re-allege and incorporate herein paragraphs 1 through 535.




                                          156
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 157 of 163



      537.   From July 1, 2002, to June 7, 2008, Defendant Schools knowingly

made, used, or caused to be made or used false records or statements material to

false or fraudulent claims, in violation of 31 U.S.C. § 3729(a)(2). Specifically,

Defendant Schools prepared and caused the preparation of false reports to the

ACCSC regarding the qualifications of Defendant Schools’ faculty and their

admissions standards. On information, Relators believe and allege that ACCSC

relied on these false reports about faculty qualifications and admissions standards

when it determined to accredit Defendant Schools. Defendant Schools knew that

ACCSC would consult these false reports to make its accreditation decision and that

ACCSC would communicate its accreditation decision based on these false reports

to the Department of Education. Defendant Schools also knew that the ACCSC’s

accreditation was a condition to Defendant Schools’ eligibility to participate in Title

IV, HEA programs and that the ACCSC’s accreditation was material to the

Department of Education’s decision to make Defendant Schools eligible to

participate in Title IV, HEA programs.

      538.   Additionally, Defendant Schools knowingly submitted or caused to be

submitted false records or statements regarding compliance with the requirements

of Title IV of the HEA, specifically the requirement that it meet the requirements

established by a nationally recognized accrediting agency, in their PPAs. Because

Defendant Schools knew that they did not meet the requirements established by the

ACCSC with respect to faculty qualifications, attendance, academic performance,

and admissions standards, such certifications were knowingly false. Defendant


                                         157
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 158 of 163



Schools knew that their certifications regarding compliance with the accrediting

standards were material to the Department of Education’s decision to make

Defendant Schools eligible to participate in Title IV, HEA programs. As a result,

each and every one of the claims Defendant Schools submitted or caused a student

to submit violated the FCA.

      539.   In making, using, or causing to be made or used such false statements

or records, Defendant Schools acted with actual knowledge, reckless disregard, or

deliberate ignorance of the truth or falsity of the claims.

      540.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

                                     CLAIM VIII

             VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

       (31 U.S.C. § 3729(a)(1)(B) (2009) - False Statements and Records Regarding
          Compliance With Accrediting Standards -- Against Defendant Schools)

      541.   Relators re-allege and incorporate herein paragraphs 1 through 540.

      542.   From June 7, 2008 to at least 2011, Defendant Schools knowingly

made, used, or caused to be made or used false records or statements material to

false or fraudulent claims, in violation of 31 U.S.C. § 3729(a)(1)(B). Specifically,

Defendant Schools prepared and caused the preparation of false reports to the

ACCSC regarding the qualifications of Defendant Schools’ faculty and their

admissions standards. On information, Relators believe and allege that ACCSC

relied on these false reports about faculty qualifications and admissions standards

when it determined to accredit Defendant Schools. Defendant Schools knew that


                                          158
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 159 of 163



ACCSC would consult these false reports to make its accreditation decision and that

ACCSC would communicate its accreditation decision based on these false reports

to the Department of Education. Defendant Schools also knew that the ACCSC’s

accreditation was a condition to Defendant Schools’ eligibility to participate in Title

IV, HEA programs and that the ACCSC’s accreditation was material to the

Department of Education’s decision to make Defendant Schools eligible to

participate in Title IV, HEA programs.

      543.   Additionally, Defendant Schools knowingly submitted or caused to be

submitted false records or statements regarding compliance with the requirements

of Title IV of the HEA, specifically the requirement that they meet the

requirements established by a nationally recognized accrediting agency, in their

PPAs. Because Defendant Schools knew that they did not meet the requirements

established by the ACCSC with respect to faculty qualifications, attendance,

academic performance, and admissions standards, such certifications were

knowingly false. Defendant Schools knew that their certifications regarding

compliance with the accrediting standards were material to the Department of

Education’s decision to make Defendant Schools eligible to participate in Title IV,

HEA programs. As a result, each and every one of the claims Defendant Schools

submitted or caused a student to submit violated the FCA.

      544.   In making, using, or causing to be made or used such false statements

or records, Defendant Schools acted with actual knowledge, reckless disregard, or

deliberate ignorance of the truth or falsity of the claims.


                                          159
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 160 of 163



      545.   By virtue of these false or fraudulent claims, the United States

suffered damages in an amount to be determined at trial.

VIII. PRAYERS FOR RELIEF

      WHEREFORE, Relators, on behalf of themselves and the United States,

demand and pray that judgment be entered in their favor against Defendants, as

follows:

      1.     On Claims I through VIII under the FCA, as amended, for triple the

amount of the United States’ damages plus interest and such civil penalties as are

allowable by law, together with the costs of this action and such other and further

relief as may be just and proper;

      2.     That judgment be entered in favor of Relators and the United States

and against the Defendants for actual damages, pre-judgment and post-judgment

interest, litigation costs, investigative costs, disgorgement of all profits, an

accounting, to the fullest extent as allowed by law, and for such further relief as

may be just and proper;

      3.     That Relators be awarded all reasonable attorneys’ fees and costs,

pursuant to 31 U.S.C. § 3730;

      4.     That to the extent the United States Government has intervened in

this action, the Relators be awarded an amount of at least 15% but not more than

25% of the proceeds of any award or the settlement of the intervened claims; and

      5.     That to the extent that the United States Government has not

intervened in this action, the Relators be awarded an amount that the Court


                                        160
      Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 161 of 163



decides is reasonable, which is not less than 25% nor more than 30% of the proceeds

of any award or settlement for those claims.

IX.     JURY TRIAL DEMAND

        1.    Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relators

demand a jury trial.




                                        161
   Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 162 of 163



DATED this 5th day of June 2015.



                                    /s/ Brandon J. Mark
                                    BRANDON J. MARK
                                    ALISSA M. MELLEM
                                    RUTH HACKFORD-PEER
                                    PARSONS BEHLE & LATIMER
                                    Attorneys for Relators




                                    162
    Case 2:15-cv-00119-JNP-EJF Document 175 Filed 06/05/15 Page 163 of 163



                          CERTIFICATE OF SERVICE

         I certify that on June 5, 2015, I caused the foregoing Third Amended

Complaint to be served on the following in the manner specified:

Gerald Ritzert                                 Antony L. Ryan
gritzert@ritzert-leyton.com                    aryan@cravath.com
Steven M. Gombos                               Samira Shah
sgombos@ritzert-leyton.com                     sshah@cravath.com
R. Willis Orton                                Thomas G. Rafferty
worton@kmclaw.com                              trafferty@cravath.com
Alexander Dushku                               James S. Jardine
adushku@kmclaw.com                             jjardine@rqn.com
(attorneys for defendants Center for           Mark W. Pugsley
Excellence in Higher Education, Inc.,          mpugsley@rqn.com
Stevens-Henager College, Inc.,                 (attorneys for defendant
CollegeAmerica Denver, Inc.,                   PricewaterhouseCoopers LLP via the
CollegeAmerica Arizona, Inc.,                  Court’s CM/ECF system pursuant to
California College of San Diego, Inc.,         LR 5.1(k))
and Carl Barney via the Court’s
CM/ECF system pursuant to LR                   Anna M. Pugsley
5.1(k))                                        anna.pugsley@usdoj.gov
                                               Jay D Majors
Eric G. Maxfield                               Jay.Majors@usdoj.gov
egmaxfield@hollandhart.com                     John W. Black
(attorneys for defendants Shaw,                john.w.black@usdoj.gov
Mumford & Co., P.C., and Shaw &                (via the Court’s CM/ECF system
Co., P.C. via the Court’s CM/ECF               pursuant to LR 5.1(k))
system pursuant to LR 5.1(k))




                                               /s/ Brandon J. Mark




                                         163
4837-3666-5124.v1
